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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

NATIONAL WILDLIFE FEDERATION,               )
                                            )
                   Plaintiff,               )
                                            )
      v.                                    )     Civil Action No. 1:19-cv-02416 (TSC)
                                            )
LOHR, et al.,                               )
                                            )
                   Defendants.              )
____________________________________________)



                  JOINT APPENDIX OF ADMINISTRATIVE RECORD

                                      VOLUME 2
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 HIGHLY ERODIBLE
LAND CONSERVATION
   AND WETLAND
  CONSERVATION

       Interim Rule
 Environmental Assessment
       August 2018
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   1. Introduction

The United States Department of Agriculture (USDA) is issuing an interim rule for the Highly
Erodible Land and Wetland Conservation Compliance provisions of the Food Security Act of
1985, as amended, hereafter referred to as the “conservation compliance provisions”. The Food
Security Act of 1985, as amended (the 1985 Act), requires producers participating in many
programs administered by USDA to abide by certain conditions on any land owned or farmed
that is highly erodible or wetland. Producers participating in these programs, and any person or
entity considered to be an "affiliated person" of the producer, are subject to these conservation
compliance provisions. The current regulations for conservation compliance are set forth in 7
CFR Part 12.

To be eligible for most programs administered by the Farm Service Agency (FSA), the Natural
Resources Conservation Service (NRCS), and the Risk Management Agency (RMA),
conservation compliance requires producers to apply a conservation system if they plant annually
tilled crops on highly erodible land and prohibits producers from planting an agricultural
commodity on a converted wetland or converting a wetland to make possible the production of
an agricultural commodity. Several USDA agencies administer portions of the conservation
compliance provisions. NRCS responsibilities include making technical determinations to
identify highly erodible land and wetland, determining whether certain technical exemptions
apply, and determining whether wetland conversion has occurred.

Conservation compliance does not apply to planting or production of perennial crops, structures
built to support livestock and poultry production, or other structures on highly erodible land or
wetland. Other Federal, State, and local laws that regulate activities in wetlands may apply
regardless of the conservation compliance provisions and participation in USDA programs.
Wetland determinations made for the purpose of conservation compliance are not necessarily
valid for Clean Water Act permitting or other laws regulating activities in wetlands.

Producers choose whether to comply with the conservation provisions based on their desire to
participate in covered USDA programs. NRCS helps producers comply by making highly
erodible land and wetland determinations. NRCS provides this technical assistance consistent
with the regulations in 7 CFR Part 12 and internal agency policy in the National Food Security
Act Manual (NFSAM).

To implement the wetland conservation components of the conservation compliance provisions
(the WC provisions), USDA includes in 7 CFR Part 12 definitions of terms; identification
procedures for highly erodible land, wetland, and converted wetland; and exemptions from
ineligibility for wetlands and converted wetlands. The last update to 7 CFR Part 12 was
completed in 2015, in accordance with the amendments made by Sections 2609 and 2611 of the
Agricultural Act of 2014 (2014 Act), which relinked eligibility for USDA crop insurance
premium subsidies with the conservation compliance provisions. With this interim rule, USDA
seeks to make minor changes to 7 CFR Part 12 to codify how NRCS makes technical
determinations for land subject to the conservation compliance provisions.


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The National Environmental Policy Act of 1969 (NEPA) requires that Federal agencies prepare
Environmental Impact Statements (EIS) for major federal actions significantly affecting the
quality of the human environment. In addition, the Council on Environmental Quality (CEQ)
regulations implementing NEPA (40 CFR Parts 1500-1508) require Federal agencies to prepare
Environmental Assessments (EAs) to assist in determining whether they need to prepare an EIS
for actions that have not been categorically excluded from the requirement.

The CEQ has defined "major federal action" to include activities over which Federal agencies
have control, including promulgation of regulations in which they exercise discretion. In the case
of the conservation compliance provisions, Congress has prescribed many requirements in
statute, and there is little discretion remaining for USDA to exercise. Many decisions that do
remain are administrative in nature and fall within a category of activities excluded from the
requirement to prepare an EIS. Despite this, USDA has decided to prepare this EA to review the
environmental impacts of the proposed clarifications in 7 CFR Part 12.

CEQ has indicated that because an EA is a concise document, the purpose of which is to
determine the need for an EIS, it should not contain long descriptions or detailed data which the
agency may have gathered. Rather, it should contain a brief discussion of the need for the
proposal, alternatives to the proposal, the environmental impacts of the proposed action and
alternatives, and a list of agencies and persons consulted.

USDA prepared EAs to analyze the environmental impacts of administering the conservation
compliance provisions in 1986, 1990, and 1996. The relevant portions of those EAs are
incorporated herein by reference. The 2015 update to 7 CFR Part 12 was determined not to
require analysis under NEPA because the changes were either mandated by Congress in the 2014
Act and USDA had no discretion over their implementation, or were administrative in nature and
fell within a category of activities excluded from the requirement to prepare an EIS.

Provision of financial assistance to producers under USDA programs are also discretionary
actions subject to NEPA. As such, FSA and NRCS comply with their NEPA implementing
regulations and policy when providing financial assistance, as well as other laws, regulations,
Executive Orders (EO) and policy for the protection of the environment. This includes the
Endangered Species Act, Clean Water Act, and EO 11990 on the Protection of Wetlands. FSA
and NRCS conduct site-specific environmental evaluations before providing financial assistance
to identify potential impacts to wetlands, plant and animal species of concern, and other
resources; and to document how compliance with NEPA and other requirements have been met.
If potential adverse impacts are anticipated, the agency identifies (in consultation with other
agencies as required by law) alternatives to avoid, minimize, or mitigate adverse impacts
whenever practicable. If no practicable alternatives exist or the producer will not agree to
implement such alternative, the agency will not provide the financial assistance.

Producers receiving USDA financial assistance for activities that would affect wetlands are
responsible for obtaining any necessary permits, such as those required under the Clean Water
Act, and applicable State and local laws. Wetlands are defined differently within various Federal
and State programs and for identification, delineation, and classification purposes. USDA’s


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identification of wetlands subject to site-specific review under NEPA and potentially under the
jurisdiction of other laws, includes areas that exhibit indicators of hydric soil, hydrophytic
vegetation, and wetland hydrology, regardless of their identification pursuant to the WC
provisions or the applicability of any exemptions from ineligibility.


   2. Need for Action
The proposed clarifications are needed to ensure that the regulations are consistent with the
current technical standards being applied by NRCS in making technical determinations. In
amending the regulations as proposed, USDA seeks to codify the technical determination
procedures it uses, for the purposes of providing the public with transparency, providing
certainty to USDA program participants, and improving the consistency of how the conservation
compliance provisions are implemented by USDA in all 50 States, including the Caribbean and
Pacific Island Areas. Publication of the interim rule will provide the public an opportunity to
review the clarifications and provide comments to help USDA better explain the wetland
identification procedures used by NRCS. This will result in improved communication, better
understanding by USDA program participants of the wetland determination process, and
transparency for the public.


   3. Alternatives
        A. No Action
Under the No Action Alternative, USDA would not update its regulations at 7 CFR Part 12.
NEPA regulations at 40 CFR 1502.14 require analysis of a no action alternative as a basis for
comparison against the proposed action.

Because the proposed changes to the interim rule would merely clarify some aspects of the
technical procedures already being used by USDA, the main difference between the No Action
and Proposed Action alternatives is that under the No Action Alternative, USDA would not
provide transparency to the public concerning the procedures it uses to make wetland
determinations, and the public would not have the opportunity to provide comment to help
USDA better explain the wetland identification process. Therefore, the No Action Alternative
would not meet the purposes of or need for the proposed action.


        B. Proposed Action Alternative – Amend the regulations
USDA proposes to make the following clarifying amendments to the regulations at 7 CFR Part
12:

   1. Precipitation data used in wetland determinations: The WC provisions define "wetland"
      in reference to normal circumstances, but wetlands are dynamic systems that can vary
      based on changing climatic conditions. NRCS uses a precipitation data set based on U.S.
      Climate Normals during the 1971-2000 period in reference to determining “normal
      circumstances”. NRCS believes the use of this specific precipitation dataset ensures the
      consistency of determinations over time and represents normal climatic conditions at



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   enactment of the 1985 Act, especially when evaluating the scope and effect of any
   drainage features that were installed prior to 1985. The current regulation does not
   identify the use of any particular precipitation dataset. In amending the interim rule,
   USDA proposes to identify the precipitation data set that has been used by NRCS for
   nearly 20 years.

2. Definitions of pothole, playa, pocosin and other terms: Due to their residual function,
   unique hydrology criteria are applied to depressional wetlands identified as potholes,
   playas, and pocosins that were manipulated prior to 1985, though such wetland landforms
   are not defined in regulation. Defining these terms will provide increased consistency in
   their identification and greater transparency and predictability for the public. USDA plans
   to put into regulation the definitions that were established in policy in 1996.

   USDA is also adding definitions of the terms “best drained condition”, “normal climatic
   conditions”, and “wetland hydrology” to clarify how these terms have long been used in
   policy, training, and application; and revising the definition of “wetland determination”
   to clarify how hydrology indicators are used in assigning WC provision labels of Prior
   Converted Cropland, Farmed Wetland, and Farmed Wetland Pasture.

3. Certification of wetland determinations: NRCS began making wetland determinations in
   1986, but the Food, Agriculture, Conservation, and Trade Act of 1990 (1990 Act)
   required NRCS to certify wetland determinations. The 1990 Act directs USDA to
   delineate wetlands on a map, provide notice to affected producers, certify each map as
   sufficient evidence to determine ineligibility, and provide producers an opportunity to
   appeal the mapped delineation prior to the certification becoming final. As stated in the
   1990 Act’s Conference Report, the certification process was “to provide farmers with
   certainty as to which of their lands are to be considered wetlands” for purposes of the WC
   provisions. These 1990 Act requirements were incorporated into the April 23, 1991
   version of 7 CFR Part 12. As required by The Federal Agriculture Improvement and
   Reform Act of 1996 (1996 Act), certified wetland determinations remain valid and in
   effect as long as the land is in agricultural use or until the producer makes a valid request
   for review of the determination.

   The 1996 interim rule at §12.3 identified that determinations completed after July 3,
   1996, are considered certified and that “Actions taken and determinations made prior to
   July 3, 1996, are subject to regulations set forth in this part as of July 2, 1996, except as
   otherwise provided in this part.” While the 1996 interim rule in §12.21(c) specified that
   wetland determinations made after July 3, 1996 would be considered certified, it did not
   specifically identify the certification status of pre-July 3, 1996 wetland determinations.
   However, under the pre-July 3, 1996 version of the regulations, a wetland determination
   was certified if it was delineated on a map, notice was provided to the producer that such
   determination was sufficient for determining ineligibility, and the producer was given an
   opportunity to appeal the determination. USDA is updating the rule to clarify that
   wetland determinations completed between November 28, 1990 and July 3, 1996 under
   the regulations in effect from April 23, 1991 through July 2, 1996 are certified if they
   meet the requirements for certification in the 1990 Act and associated regulation. This
   additional language in §12.21(c) is for clarification purposes, and does not change the


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       legal status of any wetland determination made between November 28, 1990 and July 3,
       1996, nor does NRCS have discretion to change certified wetland determinations except
       under the limited circumstances identified in the current regulations. Thus, the clarifying
       language in this rule does not change in any way how NRCS administers the certified
       wetland determination portion of the WC provision, the regulatory basis for certified
       wetland determinations, nor how such determinations are certified as a matter of law.

   4. Simplification of hydrology criteria: Current regulatory language provides hydrology
      criteria with reference to the "number of days" of inundation or soil saturation for the
      wetland types of farmed wetland, farmed wetland pasture, and prior converted cropland.
      The wetland scientific community has moved away from establishing any such "number
      of days" standard which cannot reasonably be applied over broad geographic regions.
      USDA proposes to provide greater technical detail on the indicators used to determine if
      hydrology criteria are met when assigning WC provision labels for Prior Converted
      Cropland, Farmed Wetland, and Farmed Wetland Pasture. As documenting a certain
      number of days of inundation or saturation is a difficult and seldom-used practical
      standard, this change is not expected to affect the scope of protection currently afforded
      to farmed wetlands and farmed wetland pasture.

   5. Wetland minimal effect exemption: The 1985 Act provides for an exemption for wetland
      conversions which have only a minimal effect on the functional hydrological and
      biological value of the wetland and other wetlands in the area. Current regulatory
      language requires the minimal effect determination be based upon a functional
      assessment made during an on-site evaluation, even for other wetlands in the area. This
      requirement is overly burdensome and on-site evaluations cannot always be made on
      property not controlled by the subject person. Removing this requirement will better
      allow USDA to provide this statutory exemption to USDA program participants, but is
      not expected to provide a substantially different decision than the current language, as
      effective functional assessments can also be conducted remotely.

   6. Other minor technical corrections.

        C. Alternatives considered but eliminated from detailed analysis
USDA considered an alternative of updating its regulations as proposed under Alternative B,
except the precipitation dataset used in making wetland determinations would change every 10
years to one based on the most recent 30-year U.S. Climate Normals dataset (currently 1981-
2010.) This alternative was eliminated from detailed analysis because it would not meet the need
for the proposed action to ensure that the regulations are consistent with the current technical
standards being applied by NRCS in making wetland determinations. It also would undermine
the purpose of the proposed action to provide certainty to producers and go against
Congressional intent to provide certainty as expressed in the Conference Manager’s Report for
the 1990 Act and strengthened in statutory language in the 1996 Act.




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   4. Affected Environment
The Affected Environment was described in the U.S. DEPARTMENT OF AGRICULTURE
ENVIRONMENTAL ASSESSMENT FOR THE WETLAND CONSERVATION
PROVISIONS OF THE FOOD SECURITY ACT 1985, completed in June 1986, and applicable
portions of the description there are incorporated herein by reference and updated below.

In 1991, NRCS’ National Resources Inventory (NRI) completed a wetlands survey that
confirmed wetland conversions had slowed compared to those occurring before the 1985 Act and
that agricultural activities seemingly had less impact on wetland conversions than expected
(Schnepf 2008.) The Wetland Reserve Program (now the Wetland Reserve Easement component
of the Agricultural Conservation Easement Program) authorized by Congress in 1990 and offered
nationwide by 1995 has helped to restore wetland hydrology to millions of acres of cropland.
The Conservation Reserve Program authorized in 1985 and first available in 1986 also helps
protect wetlands in agricultural landscapes. In fact, the period between 1997 and 2007 was the
first decade in modern history that saw a nationwide increase in palustrine and estuarine
wetlands (U.S. Department of Agriculture, 2015b.) Most of the gains were in the highly
agricultural central region of the U.S.

The 2010 NRI Summary Report included an analysis of data (Sucik and Marks 2014) showing
the status and recent trends of wetlands in each of NRCS’ four Regions (Figure 1). The NRI uses
a modified Cowardin (Cowardin et al., 1979) classification system to recognize five different
types of wetland and deepwater habitats; marine (oceans), lacustrine (lakes), riverine (rivers),
estuarine (saltwater marsh), and palustrine (freshwater marsh). The analysis combines these into
two major categories: palustrine and estuarine wetlands and other aquatic habitats. Palustrine and
estuarine wetlands comprise nearly 70% of wetlands in the U.S. outside of Alaska.




Figure 1. NRCS regional boundaries.


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The analysis shows the Northeast region of the U.S. experienced a gradual loss of over 100,000
acres of palustrine and estuarine wetlands between 1992 and 2010. Urban development was the
primary reason for wetland losses in the Northeast.

The Southeast Region had a modest gain in total wetland acres between 1992 and 2010, but there
was a reduction of more than 200,000 acres of palustrine and estuarine wetlands there according
to NRI data. Wetland losses in the Southeast are also driven primarily by urbanization as well as
rising sea levels. Despite the losses, the Southeast Region remains rich in wetlands. As of 2010,
the Southeast contained 17% of the land area in the conterminous U.S., but 43% of the nation’s
palustrine and estuarine wetlands.

The Central Region leads production of corn, soybeans, wheat, sorghum, and cotton. However,
despite increases in land values and demand for these commodity crops, the region has seen an
increase in palustrine and estuarine wetland acres since 1992.

Due to the West Region’s arid climate, only about 1% of the nation’s non-federal wetlands occur
there, after Alaska is excluded. NRI data show a modest, slow and steady increase in the
restoration and creation of palustrine and estuarine wetlands between 1992 and 2010.

About 70% of land in the U.S. is privately owned and many of the Nation’s remaining wetlands
occur on working lands devoted to the production of food, fiber, and forest products. Population
growth results in increased urbanization that contributes to the continued loss of agricultural and
forest lands and the wetlands they support. In addition, agricultural producers make economic
decisions regarding land use that continue to contribute to wetland conversion, often on lands not
subject to the WC provisions. Producers may decide the value of USDA benefits is less than the
value of economic returns they can expect from converting wetlands to commodity crop
production, especially when commodity prices are high. The WC provisions do not apply to
conversion activities conducted by non-USDA participants. Other agricultural activities that can
result in loss of wetlands and are exempt from the WC provisions include planting and
production of perennial crops such as blueberries and almonds, construction of structures such as
barns, installation of agricultural infrastructure, and creation of ponds for livestock water or
irrigation.

Climate plays an important role in the genesis and identification of wetlands. U.S. Climate
Normals are three-decade averages of climatological variables including temperature and
precipitation. This dataset contains daily and monthly normals of temperature, precipitation,
snowfall, heating and cooling degree days, frost/freeze dates, and growing degree days
calculated from observations at approximately 9,800 stations operated by the National Oceanic
and Atmospheric Administration’s (NOAA’s) National Weather Service. Every 10 years,
NOAA’s National Centers for Environmental Information (NCEI) updates the 30-year dataset.
The 1981–2010 U.S. Climate Normals dataset is the latest release of NCEI’s Climate Normals.
In the early 2020s, a dataset based on precipitation averages from the period 1991-2020 will
become available.




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Compared with the same calculations for 1971–2000, the 1981-2010 dataset shows fewer days
with snow on the ground and less total annual snowfall across much of the contiguous United
States; wetter conditions over much of the Great Plains, Midwest, and northern California; and
drier conditions over much of the Southeast and Pacific Northwest (Arguez, et al. 2012, Durre, et
al. 2013, Figure 2).




Figure 2. Percent difference between precipitation normals for 1981–2010 and comparable averages for the
1971–2000 period. Only stations with at least 25 years of complete monthly data in both time periods are
plotted. From: Arguez, et al. 2012.

NRCS Climate Analysis for Wetlands Tables, known as the WETS Tables, were developed to
help identify average climatic conditions which can affect the presence of wetland hydrology.
The WETS Tables define the normal range for monthly precipitation and growing season
required to assess the climatic characteristics for a geographic area over a representative period.


    5. Environmental Impacts

Under both the No Action and Proposed Action Alternatives, NRCS would continue to use its
existing technical procedures, therefore the environmental impacts described below are the same
for both Alternatives. USDA’s administration of the WC provisions would continue to
discourage agricultural producers from converting wetlands to commodity crop production.
However, eligibility for USDA benefits is only one of a producer’s considerations when deciding
whether to convert wetlands on land they farm or own to agricultural production or other uses
and compliance with the WC provisions remains voluntary.

Adding and modifying the definitions of terms in the regulations will not change the way USDA
identifies wetlands subject to the WC provisions, and therefore will not have any environmental
impact.

Removing the requirement to conduct an on-site functional assessment of wetlands in the area to
determine whether a minimal effect exemption applies is also not expected to result in


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substantive differences in the extent of wetlands subject to the WC provisions. The requirement
to evaluate the functional hydrological and biological value of wetlands in the area when
determining minimal effect is set in the U.S. Code. However, NRCS does not usually have
permission to make on-site visits to conduct functional assessments on wetlands in the
surrounding area of a wetland where a minimal effect exemption has been requested. As better
quality aerial imagery, Light Detection and Ranging (LiDAR) data, and other remote sensing
technology has become available, NRCS is able to complete accurate functional assessments
offsite. NRCS will continue to make an onsite visit of the subject land to conduct an onsite
functional assessment of the area where a minimal effect exemption has been requested.

Congress has made clear that USDA is to provide certainty to producers that the extent of
wetlands mapped under final certified wetland determinations will not change over time. As
stated in the 1990 Act Conference Manager’s Report, the purpose of certification of wetland
determinations “is to provide farmers with certainty as to which of their lands are considered
wetlands” for purposes of compliance with the WC provisions. The 1996 Farm Bill strengthened
statutory certainty for producers by ensuring that certified wetland determinations remain valid
and in effect as long as the land is used for agricultural purposes, unless the producer requests a
review from USDA. USDA clarified in the 1996 interim rule that a person may request review of
a certification only if a natural event alters the topography or hydrology of the subject land to the
extent that the final certification is no longer a reliable indication of site conditions, or if NRCS
concurs with an affected person that an error exists in the current wetland determination.
Because of the certification requirements in statute and regulation, USDA has no discretion to re-
determine certified wetland determinations (i.e., those conducted after November 28, 1990 that
meet the notification, provision of appeal rights, and mapping requirements) unless a violation of
the WC provisions has occurred, or the person requests review under the limited circumstances
allowed by regulation. The language in the interim rule on certification is simply a restatement of
the original regulatory provision and no change is being made to these determinations’
regulatory status as being certified or not certified.

Identifying a specific precipitation dataset based on the 1971-2000 U.S. Climate Normals used in
making decisions regarding the presence or absence of wetland hydrology will also meet
Congress’ intent to provide certainty for producers. If NRCS updated the precipitation dataset
used based on current U.S. Climate Normals, the total acres of wetlands identified as subject to
the WC provisions would change every 10 years. Areas previously identified as wetland might
no longer meet the criteria and vice versa. Under the 1981-2010 dataset, more acres of wetlands
would be identified than under the 1971-2000 dataset, due to an overall increase in precipitation.
However, the differences would not be evenly distributed nationwide. More acres would be
mapped in regions experiencing increases in precipitation, such as the Great Plains, Midwest,
Northern California and fewer acres would be mapped in those experiencing less precipitation
(Southeast and most of the arid West.) USDA program participants in areas experiencing a
decrease in precipitation since 1981 could request review of their certified wetland
determinations based on a decrease in hydrology, and new determinations would result in fewer
acres of wetlands subject to compliance and increases in wetlands converted to the production of
agricultural commodities. These changes would be most likely to result in the Southeast, which
is still experiencing loss of palustrine and estuarine wetlands and the arid West, where the extent
of wetlands is naturally limited and therefore disproportionately important to maintain.



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Future decadal updates of the U.S. Climate Normals would likely include periods of widespread
and severe drought, particularly in the West and Great Plains. If NRCS decided to continually
update to the current decadal dataset, such periods would result in fewer acres of wetland
identified as subject to the WC provisions.

The overall impact of maintaining use of the 1971-2000 dataset is expected to be negligible over
time. This is because NRCS must determine the hydrology conditions that existed under “normal
circumstances.” NRCS’s evaluation of normal circumstances includes not only normal climatic
conditions reflected in the precipitation data, but also drainage actions and other manipulations
that enabled agricultural use of wetlands before passage of the 1985 Act. Pre-1985 manipulations
are “grandfathered in” by the statute as part of normal circumstances. In other words, when
NRCS makes a certified wetland determination, the decision on a positive indicator for wetland
hydrology is often based on conditions that existed on the site on or before December 23, 1985,
after any hydrologic manipulations made before that date. December 23, 1985 falls near the
middle of the 1971-2000 precipitation dataset, which therefore represents the normal climatic
conditions at that time.

In addition, as discussed above, NRCS has no authority to change final certified wetland
determinations, except under limited circumstances. Changing the precipitation dataset used to
make wetland determinations over time could result in the same landform area extending across
field boundaries being assigned different wetland statuses (i.e. wetland or non-wetland) and
exemption labels, based on when the determination was made. The resulting certified wetland
delineation map would not be scientifically or politically defensible.

Since the 1996 interim rule, NRCS must also determine the number of days inundation or
saturation is or would be present under normal circumstances, to distinguish between wetlands
converted to commodity crop production before December 23, 1985 that had little or no
remaining hydrology (Prior Converted Cropland) and those that had sufficient hydrology
remaining to meet the definition of wetland (Farmed Wetland or Farmed Wetland Pasture.) In
practice, it is not possible to ascertain the number of days hydrology is present without the
installation of monitoring equipment and observation of data collected over several years of
normal climatic conditions. Therefore, NRCS almost always determines the presence or absence
of wetland hydrology under normal circumstances based on indicators, including remotely-
sensed data as described in NRCS’ Engineering Field Handbook Chapter 19, Hydrology Tools
for Wetland Delineation.

Remotely sensed data includes aerial photography, multi-spectral imagery (including infrared),
and other image sources. Such data is commonly used to help make wetland determinations on
cropland, as it provides a useful opportunity to assess site conditions over a period of time.
NRCS evaluates the images for signatures that indicate the presence of wetland conditions on the
ground. Wetness signatures in an image are evidence that wet conditions existed on or before the
date that the image was collected. A series of images, collected during years when precipitation
was normal or drier than normal, is used to determine whether wetland hydrology is present in
most years. WETS Table data, collected from a weather station near the wetland determination
site, is used to determine whether the image is reflective of normal climatic conditions. Because



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NRCS often must determine the wetland hydrology conditions that existed on or before
December 23, 1985, it needs to use climate data collected for enough years prior to that date to
ensure evaluation of images taken during normal or drier climatic periods. Sufficient years of
climate data prior to December 23, 1985 is provided by the 1971-2000 precipitation dataset, but
would not be by the current (1981-2010) or future datasets.

Because NRCS commonly uses the precipitation dataset to evaluate the presence of wetland
hydrology on crop and pasture land as indicated by signatures on a series of aerial images under
normal climatic conditions, continually updating to the current 30-year dataset would make it
more difficult for NRCS to render accurate certified wetland determinations based on the intent
of Congress to “grandfather in” hydrology manipulations resulting in conversions of wetlands
that were completed or commenced prior to December 23, 1985. Further, the current dataset in
use would continue to change over time, decreasing the certainty Congress intended to provide to
producers.

In summary, most of the changes to the current regulations as described in the proposed action
are administrative in nature and the remainder simply clarify some aspects of the technical
procedures already being used by NRCS. Therefore, the proposed action is not expected to
substantially change the extent of agricultural lands subject to the conservation compliance
provisions over time, and so will not have any significant direct, indirect, or cumulative impact
on the environment. In addition, Congress has prescribed many requirements USDA must follow
when implementing the conservation provisions, and USDA has no discretion to deviate from the
authority as provided by Congress. The proposed action is intended to provide transparency to
producers and stakeholder organizations about how NRCS determines, delineates, and certifies
wetlands located on subject land in a manner sufficient for making determinations of ineligibility
for certain USDA program benefits. Implementation of the proposed action will also allow
producers to understand whether their actions will result in ineligibility for USDA program
benefits by providing timely and scientifically-based wetland determinations.


   6. Persons and Agencies Consulted
Lee Davis, NRCS, Biologist, Ft. Worth, TX
Andree DuVarney, NRCS, National Environmental Coordinator (retired)
Karen Fullen, NRCS, Environmental Compliance Specialist, Portland, OR
Martha Joseph, NRCS, Special Assistant, Washington, DC
James Marron, NRCS, National Water & Climate Center, (retired)
Melissa Martin, NRCS, Science Advisor, Washington, DC
Norman Melvin, NRCS, Wetlands Team Leader, (retired)
Jason Outlaw, NRCS, National Leader for Wetland and Highly Erodible Land Conservation,
Washington, DC
Charile Rewa, NRCS, Conservation Effects Assessment Project Wildlife Component Leader,
Beltsville, MD
Don Riley, NRCS, Environmental Compliance Specialist, Greensboro, NC
Daria Scala, Ph.D, NRCS, Management Analyst, Washington, DC
Jason Steele, NRCS, Management Analyst, Washington, DC




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16 U.S. Code 3801-3824.

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                     FINDING OF NO SIGNIFICANT IMPACT
             FROM REVISING REGULATIONS IMPLEMENTATING THE
      HIGHLY ERODIBLE LAND CONSERVATION AND WETLAND CONSERVATION
          PROVISIONS OF THE FOOD SECURITY ACT OF 1985, AS AMENDED

The National Environmental Policy Act (NEPA) requires Federal. agencies to prepare an Environmental
Impact Statement (EIS) for major Federal actions significantly affecting the quality of the human
environment. The Natural Resources Conservation Service (NRCS) has completed an Environmental
Assessment (EA) of its promulgation of a revised regulation codifying how USDA determines,
delineates, and certifies wetlands located on subject land in a manner sufficient for making
determinations of ineligibility for certain USDA program benefits and making other minor administrative
changes. The NRCS Chief, the responsible Federal official, must determine if the proposed action,
Alternative B of the EA, constitutes a major Federal action significantly affecting the quality of the
human environment such that an EIS should be prepared.

In developing its proposed action, NRCS had to ensure the Highly Erodible Land Conservation (HELC)
and Wetland Conservation (WC) provisions would be implemented in a manner that achieves the
purposes of the provisions. As stated in the legislation, the purposes of the provisions are to remove
certain incentives for persons to produce agricultural commodities on highly erodible land or converted
wetland and to thereby—
         (1) Reduce soil loss due to wind and water erosion;
         (2) Protect the Nation's long-term capability to produce food and fiber;
         (3) Reduce sedimentation and improve water quality; and
         (4) Assist in preserving the values, acreage, and functions of the Nation's wetlands.

Because the proposed changes would merely codify some aspects of the technical procedures already
being used by USDA, they are not expected to substantively change the extent of wetlands subject to the
WC provisions. Continuing use of the 1971-2000 precipitation dataset may result in differences in acres
of wetlands subject to the WC provisions being identified, but because USDA is required by statute to
integrate hydrologic manipulations made before December 23, 1985 into its determination of wetland
hydrology, the differences are expected to be minimal.

The EA evaluated the impacts of the proposed action, which is to make the following clarifying
amendments to the regulations at 7 CFR Part 12:

    I. Precipitation data used in wetland determinations: The WC provisions define "wetland" in
        reference to normal circumstances, but wetlands are dynamic systems that can vary based on
        changing climatic conditions. NRCS uses a precipitation data set based on U.S. Climate Normals
        during the 1971-2000 period in reference to determining "normal circumstances". NRCS
        believes the use of this specific precipitation dataset ensures the consistency of determinations
        over time and represents normal climatic conditions at enactment of the 1985 Act, especially
        when evaluating the scope and effect of any drainage features that were installed prior to 1985.
        The current regulation does not identify the use of any particular precipitation dataset. In
        amending the interim rule, USDA proposes to identify the precipitation data set that has been
        used by NRCS for nearly 20 years.

       Definitions of pothole, playa, pocosin and other terms: Due to their residual function, unique
       hydrology criteria are applied to depressional wetlands identified as potholes, playas, and
       pocosins that were manipulated prior to 1985, though such wetland landforms are not defined in
       regulation. Defining these terms will provide increased consistency in their identification and
       greater transparency and predictability for the public. USDA plans to put into regulation the

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     definitions that were established in policy in 1996.

    USDA is also adding definitions of the terms "best drained condition", "normal climatic
    conditions", and "wetland hydrology" to clarify how these terms have long been used in policy,
    training, and application; and revising the definition of "wetland determination" to clarify how
    hydrology indicators are used in assigning WC provision labels of Prior Converted Cropland,
    Farmed Wetland, and Farmed Wetland Pasture.

3. Certification of wetland determinations: NRCS began making wetland determinations in 1986,
   but the Food, Agriculture, Conservation, and Trade Act of 1990 (1990 Act) required NRCS to
   certify wetland determinations. The 1990 Act directs USDA to delineate wetlands on a map,
   provide notice to affected producers, certify each map as sufficient evidence to determine
   ineligibility, and provide producers an opportunity to appeal the mapped delineation prior to the
   certification becoming final. As stated in the 1990 Act's Conference Report, the certification
   process was "to provide farmers with certainty as to which of their lands are to be considered
   wetlands" for purposes of the WC provisions. These 1990 Act requirements were incorporated
   into the April 23, 1991 version of 7 CFR Part 12. As required by The Federal Agriculture
   Improvement and Reform Act of 1996 (1996 Act), certified wetland determinations remain valid
   and in effect as long as the land is in agricultural use or until the producer makes a valid request
   for review of the determination.

    The 1996 interim rule at §12.3 identified that determinations completed after July 3, 1996, are
    considered certified and that "Actions taken and determinations made prior to July 3, 1996, are
    subject to regulations set forth in this part as of July 2, 1996, except as otherwise provided in this
    part." While the 1996 interim rule in §12.21(c) specified that wetland determinations made after
    July 3, 1996 would be considered certified, it did not specifically identify the certification status
    of pre-July 3, 1996 wetland determinations. However, under the pre-July 3, 1996 version of the
    regulations, a wetland determination was certified if it was delineated on a map, notice was
    provided to the producer that such determination was sufficient for determining ineligibility, and
    the producer was given an opportunity to appeal the determination. USDA is updating the rule
    to clarify that wetland determinations completed between November 28, 1990 and July 3, 1996
    under the regulations in effect from April 23, 1991 through July 2, 1996 are certified if they meet
    the requirements for certification in the 1990 Act and associated regulation. This additional
    language in §12.21(c) is for clarification purposes and does not change the legal status of any
    wetland determination made between November 28, 1990 and July 3, 1996, nor does NRCS
    have discretion to change certified wetland determinations except under the limited
    circumstances identified in the current regulations. Thus, the clarifying language in this rule does
    not change in any way how NRCS administers the certified wetland determination portion of the
    WC provision, the regulatory basis for certified wetland determinations, nor how such
    determinations are certified as a matter of law.

4. Simplification of hydrology criteria: Current regulatory language provides hydrology criteria
   with reference to the "number of days" of inundation or soil saturation for the wetland types of
   farmed wetland, farmed wetland pasture, and prior converted cropland. The wetland scientific
   community has moved away from establishing any such "number of days" standard which
   cannot reasonably be applied over broad geographic regions. USDA proposes to provide greater
   technical detail on the indicators used to determine if hydrology criteria are met when assigning
   WC provision labels for Prior Converted Cropland, Farmed Wetland, and Farmed Wetland
   Pasture. As documenting a certain number of days of inundation or saturation is a difficult and
   seldom-used practical standard, this change is not expected to affect the scope of protection
   currently afforded to farmed wetlands and farmed wetland pasture.

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    5. Wetland minimal effect exemption: The 1985 Act provides for an exemption for wetland
       conversions which have only a minimal effect on the functional hydrological and biological
       value of the wetland and other wetlands in the area. Current regulatory language requires the
       minimal effect determination be based upon a functional assessment made during an on-site
       evaluation, even for other wetlands in the area. This requirement is overly burdensome and on-
       site evaluations cannot always be. made on property not controlled by the subject person.
       Removing this requirement will better allow USDA to provide this statutory exemption to
       USDA program participants but is not expected to provide a substantially different decision than
       the current language, as effective functional assessments can also be conducted remotely.

    6. Other minor technical corrections.


The EA accompanying this statement has provided the analysis needed to assess the significance of the
impacts of the proposed action. I have determined, for the reasons outlined below, that there will be no
significant individual or cumulative impacts on the quality of the human environment as a result of
implementing the HELC and WC provisions or the clarifications to the HELC and WC provisions made
by the interim final rule, particularly when focusing on the significant adverse impacts which NEPA is
intended to help decisionmakers avoid and mitigate. Therefore, an EIS will not be prepared.

    1. The proposed action will not result in significant adverse effects on public health or safety. The
       application of the HELC and WC provisions is expected to discourage USDA program
       participants from converting sensitive lands to agricultural production which will tend to reduce
       soil loss from wind erosion that can result in airborne particulate matter and improve water
       quality.

   2. There is no evidence indicating there will be any significant adverse effects to historic or cultural
      resources, park lands, prime farmlands, wetlands, wild and scenic rivers, or ecologically critical
      areas from selection of the proposed action, particularly on a national basis. Implementation of
      the HELC and WC provisions are intended to benefit soil and water resources, including
      wetlands.

   3. The effects of the HELC and WC provisions on the quality of the human environment are not
      controversial. USDA is seeking comments from the public about these clarifications which will
      be considered prior to issuing a final rule. If necessary, a supplemental EA or EIS may be
      prepared to ensure compliance with NEPA.

   4. The proposed action is not considered highly uncertain and does not involve unique or unknown
      risks. USDA was first authorized to implement the HELC and WC provisions by The Food
      Security Act of 1985 (1985 Act.). National Resources Inventory data collected in 1991 showed
      the WC provisions slowed the conversion of wetlands to commodity crop production after the
      1985 Act as intended by Congress. The proposed action does not change the procedures by
      which USDA identifies wetlands subject to the WC provisions according to current internal
      agency policy; it merely codifies those procedures and discloses them for public comment in the
      regulations.

   5. The proposed action will not establish a precedent for future actions with significant adverse
      effects, nor does it represent a decision in principle about future considerations. The proposed
      action involves updating regulations to codify the wetland determination procedures used by
      NRCS and make minor administrative changes. Future updates to the regulations may result
      from changes Congress makes to the HELC and WC provisions or another decision by USDA

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         that further clarifications are needed.

     6. The proposed action will result in providing the public with transparency, providing certainty to
         USDA program participants, and improving the consistency of how the WC provisions are
         implemented by USDA in all 50 States, including the Caribbean and Pacific Island Areas.
         Publication of the interim rule will provide the public an opportunity to review the clarifications
        proposed and provide comments to help USDA better explain the wetland identification
        procedures used by NRCS. This will result in improved communication, better understanding by
        USDA program participants of compliance requirements, and transparency for the public. As
        discussed in the EA, most of the proposed clarifications is not expected to substantially change
        the extent of agricultural lands subject to the conservation compliance provisions overtime, and
        so will not have any significant direct, indirect, or cumulative impact on the environment,
        particularly when focusing on the significant adverse impacts that NEPA is intended to help
        decisionmakers avoid, minimize, or mitigate. As the EA also indicates, to the extent that public
        comments received on the interim rule indicate the proposed action may have potential to result
        in significant adverse effects to the quality of the human environment, a supplemental EA or EIS
        may be prepared.

    7. The proposed action will not adversely affect districts, sites, highways, structures, or objects
       listed in or eligible for listing in the National Register of Historic Places or cause loss or
       destruction of significant scientific, cultural, or historical resources. Historic properties are not
       affected by USDA's implementation of the HELCI and WC provisions. Conservation compliance
       is voluntary on the part of agricultural producers who wish to be eligible for USDA program
       benefits, and as such is not a federal action with the potential to affect historic properties.

    8. The proposed action will not adversely affect endangered or threatened species, marine
       mammals, or critical habitat to any significant degree. Species and habitat protected under the
       Endangered Species Act are not affected by USDA's implementation of the HELC and WC
       provisions. Conservation compliance is voluntary on the part of agricultural producers who wish
       to be eligible for USDA program benefits, and as such is not a federal action with the potential to
       affect protected species or habitat. The proposed action would indirectly, by continuing to
       discourage conversion of wetlands to commodity crop production, aid in the conservation of
       endangered and threatened species that use wetland habitats.

    9. The proposed action does not threaten the violation of Federal, State, or local requirements
       imposed for protection of the environment. Conservation compliance is voluntary on the part of
       agricultural producers who wish to be eligible for USDA program benefits and no federal action
       results from an agricultural producer's decision to comply. Compliance with other Federal, State,
       or local requirements remains the responsibility of individual agricultural producers.




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Leonard Jordan                                             Dale
Acting Chief, Natural Resources onservatiort Service
U.S. Department of Agriculture




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                                             (37) Palm Bay-Melbourne-Titusville,                    CFR 591.205 not located within another                FOR FURTHER INFORMATION CONTACT: For
                                           FL—consisting of the Palm Bay-                           locality pay area.                                    specific questions about this document,
                                           Melbourne-Titusville, FL MSA;                            [FR Doc. 2018–26519 Filed 12–3–18; 11:15 am]          please contact Jason Outlaw at (202)
                                             (38) Philadelphia-Reading-Camden,                      BILLING CODE 6325–39–P
                                                                                                                                                          720–7838 or Jason.outlaw@
                                           PA-NJ-DE-MD—consisting of the                                                                                  wdc.usda.gov.
                                           Philadelphia-Reading-Camden, PA-NJ-                                                                            SUPPLEMENTARY INFORMATION:
                                           DE-MD CSA, except for Joint Base                         DEPARTMENT OF AGRICULTURE
                                           McGuire-Dix-Lakehurst;                                                                                         Regulatory Certifications
                                             (39) Phoenix-Mesa-Scottsdale, AZ—                      Office of the Secretary                               Executive Order 12866
                                           consisting of the Phoenix-Mesa-
                                                                                                                                                            This rule is not a ‘‘significant
                                           Scottsdale, AZ MSA;                                      7 CFR Part 12                                         regulatory action’’ under Executive
                                             (40) Pittsburgh-New Castle-Weirton,                                                                          Order 12866.
                                                                                                    [NRCS–2018–0010]
                                           PA-OH-WV—consisting of the
                                           Pittsburgh-New Castle-Weirton, PA-OH-                    RIN 0578–AA65                                         Regulatory Flexibility Act
                                           WV CSA;                                                                                                          The Regulatory Flexibility Act is not
                                             (41) Portland-Vancouver-Salem, OR-                     Highly Erodible Land and Wetland                      applicable to this rule because USDA is
                                           WA—consisting of the Portland-                           Conservation                                          not required by 5 U.S.C. 533 or any
                                           Vancouver-Salem, OR-WA CSA;                              AGENCY: Office of the Secretary, USDA.                other provisions of law to publish a
                                             (42) Raleigh-Durham-Chapel Hill,                       ACTION: Interim rule with request for
                                                                                                                                                          notice of proposed rulemaking with
                                           NC—consisting of the Raleigh-Durham-                     comments.                                             respect to the subject matter of this rule.
                                           Chapel Hill, NC CSA and also including                                                                         Environmental Evaluation
                                           Cumberland County, NC, Hoke County,                      SUMMARY: The U.S. Department of
                                           NC, Robeson County, NC, Scotland                         Agriculture (USDA) is issuing an                         It has been determined through an
                                           County, NC, and Wayne County, NC;                        interim rule for the Highly Erodible                  environmental assessment that the
                                             (43) Richmond, VA—consisting of the                    Land and Wetland Conservation                         issuance of this interim final rule will
                                           Richmond, VA MSA and also including                      Compliance provisions of the Food                     not have a significant impact upon the
                                           Cumberland County, VA, King and                          Security Act of 1985, as amended. This                human environment. Copies of the
                                           Queen County, VA, and Louisa County,                     rulemaking clarifies how USDA                         environmental assessment may be
                                           VA;                                                      delineates, determines, and certifies                 obtained by contacting Karen Fullen at
                                                                                                    wetlands located on subject land in a                 (503) 273–2404 or Karen.fullen@
                                             (44) Sacramento-Roseville, CA-NV—
                                                                                                    manner sufficient for making                          por.usda.gov.
                                           consisting of the Sacramento-Roseville,
                                           CA CSA and also including Carson City,                   determinations of ineligibility for                   Executive Order 12372
                                           NV, and Douglas County, NV;                              certain USDA program benefits. USDA
                                                                                                    is seeking comments from the public                      Executive Order 12372,
                                             (45) San Antonio-New Braunfels-                                                                              ‘‘Intergovernmental Review of Federal
                                           Pearsall, TX—consisting of the San                       about these clarifications that will be
                                                                                                    considered prior to issuing a final rule.             Programs,’’ requires consultation with
                                           Antonio-New Braunfels-Pearsall, TX                                                                             State and local officials. The objectives
                                           CSA;                                                     DATES: Effective December 7, 2018.
                                                                                                                                                          of the Executive Order are to foster an
                                             (46) San Diego-Carlsbad, CA—                           Comments must be received February 5,                 intergovernmental partnership and a
                                           consisting of the San Diego-Carlsbad,                    2019.                                                 strengthened federalism, by relying on
                                           CA MSA;                                                  ADDRESSES: Comments should be                         State and local processes for State and
                                             (47) San Jose-San Francisco-Oakland,                   submitted, identified by Docket Number                local government coordination and
                                           CA—consisting of the San Jose-San                        NRCS–2018–0010, using any of the                      review of proposed Federal Financial
                                           Francisco-Oakland, CA CSA and also                       following methods:                                    assistance and direct Federal
                                           including Monterey County, CA;                              • Federal eRulemaking Portal: http://              development. This program is not
                                             (48) Seattle-Tacoma, WA—consisting                     www.regulations.gov. Follow the                       subject to Executive Order 12372, which
                                           of the Seattle-Tacoma, WA CSA and                        instructions for submitting comments.                 requires consultation with State and
                                           also including Whatcom County, WA;                          • Mail or hand-delivery: Public                    local officials.
                                                                                                    Comments Processing, Attention:
                                             (49) St. Louis-St. Charles-Farmington,                                                                       Executive Order 12988
                                                                                                    National Leader for Wetland and Highly
                                           MO-IL—consisting of the St. Louis-St.
                                                                                                    Erodible Land Conservation, USDA,                       This rule has been reviewed under
                                           Charles-Farmington, MO-IL CSA;
                                                                                                    Natural Resources Conservation Service,               Executive Order 12988, Civil Justice
                                             (50) Tucson-Nogales, AZ—consisting                     1400 Independence Avenue SW,                          Reform. This rule will not preempt State
                                           of the Tucson-Nogales, AZ CSA and also                   Washington, DC 20250.                                 or local laws, regulations, or policies
                                           including Cochise County, AZ;                               NRCS will post all comments on                     unless they present an irreconcilable
                                             (51) Virginia Beach-Norfolk, VA-NC—                    http://www.regulations.gov. In general,               conflict with this rule. Before any
                                           consisting of the Virginia Beach-                        personal information provided with                    judicial action may be brought regarding
                                           Norfolk, VA-NC CSA;                                      comments will be posted. If your                      the provisions of this rule, appeal
                                             (52) Washington-Baltimore-Arlington,                   comment includes your address, phone                  provisions of 7 CFR parts 11, 614, and
                                           DC-MD-VA-WV-PA—consisting of the                         number, email, or other personal                      780 must be exhausted.
                                           Washington-Baltimore-Arlington, DC-                      identifying information (PII), your
                                           MD-VA-WV-PA CSA and also including                       comments, including PII, may be                       Executive Order 13132
amozie on DSK3GDR082PROD with RULES




                                           Kent County, MD, Adams County, PA,                       available to the public. You may ask in                 This rule has been reviewed under
                                           York County, PA, King George County,                     your comment that your PII be withheld                Executive Order 13132, ‘‘Federalism.’’
                                           VA, and Morgan County, WV; and                           from public view, but this cannot be                  The policies contained in this rule do
                                             (53) Rest of U.S.—consisting of those                  guaranteed.                                           not have any substantial direct effect on
                                           portions of the United States and its                       This rule also may be accessed, and                States, on the relationship between the
                                           territories and possessions as listed in 5               comments submitted, via the internet.                 Federal Government and the States, or


                                      VerDate Sep<11>2014    15:58 Dec 06, 2018   Jkt 247001   PO 00000   Frm 00006   Fmt 4700   Sfmt 4700   E:\FR\FM\07DER1.SGM   07DER1
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                                           on the distribution of power and                         the use of the internet and other                     in greater detail the technical aspects of
                                           responsibilities among the various                       information technologies to provide                   the HELC provisions, including the
                                           levels of government, nor does this rule                 increased opportunities for citizen                   technical criteria for identification of
                                           impose substantial direct compliance                     access to Government information and                  highly erodible lands, criteria for highly
                                           costs on State and local governments;                    services, and for other purposes.                     erodible field determinations, and
                                           therefore, consultation with the States is               Discussion of Provisions                              requirements for the development of
                                           not required.                                                                                                  conservation plans and conservation
                                                                                                       Title XII of the Food Security Act of              systems. Subpart C describes in greater
                                           Executive Order 13175                                    1985, as amended (the 1985 Act),                      detail the technical aspects of the WC
                                              This rule has been reviewed in                        encourages participants in USDA                       provisions, including the criteria for
                                           accordance with Executive Order 13175,                   programs to adopt land management                     determining a wetland, the criteria for
                                           ‘‘Consultation and Coordination with                     measures by linking eligibility for USDA              determining a converted wetland, and
                                           Indian Tribal Governments.’’ Executive                   program benefits to farming practices on              the uses of wetlands and converted
                                           Order 13175 requires Federal agencies                    highly erodible land and wetlands. In                 wetlands that can be made without
                                           to consult and coordinate with Tribes                    particular, the highly erodible land                  losing program eligibility.
                                           on a government-to-government basis on                   conservation (HELC) provisions of the                    USDA policy guidance regarding
                                           policies that have Tribal implications,                  1985 Act provide that after December                  implementation of the HELC and WC
                                           including regulations, legislative                       23, 1985, a program participant is                    provisions is found in the current
                                           comments or proposed legislation, and                    ineligible for certain USDA program                   edition of the NRCS National Food
                                           other policy statements or actions that                  benefits for the production of an                     Security Act Manual (NFSAM),
                                           have substantial direct effects on one or                agricultural commodity on a field in                  including the procedures for how to
                                           more Indian Tribes, on the relationship                  which highly erodible land is                         delineate wetlands and make wetland
                                           between the Federal Government and                       predominant. Additionally, the wetland                determinations in accordance with
                                           Indian Tribes or on the distribution of                  conservation (WC) provisions of the                   Subpart C of 7 CFR part 12. This rule
                                           power and responsibilities between the                   1985 Act provide that after December                  provides transparency to USDA program
                                           Federal Government and Indian Tribes.                    23, 1985, a program participant is                    participants and stakeholders
                                              USDA has assessed the impact of this                  ineligible for certain USDA program                   concerning how USDA delineates,
                                           rule on Indian Tribes and determined                     benefits for the production of an                     determines, and certifies wetlands. It
                                           that this rule does not, to our                          agricultural commodity on a converted                 also allows program participants to
                                           knowledge, have Tribal implications                      wetland, or after November 28, 1990, for              better understand whether their actions
                                           that require Tribal consultation under                   the conversion of a wetland that makes                may result in ineligibility for USDA
                                           Executive Order 13175. If a Tribe                        the production of an agriculture                      program benefits. USDA requests public
                                           requests consultation, the Natural                       commodity possible. The Agricultural                  comment and will consider
                                           Resources Conservation Service (NRCS)                    Act of 2014 amended the 1985 Act to
                                                                                                                                                          incorporating such public comment into
                                           will work with the USDA Office of                        expand the HELC/WC requirements to
                                                                                                                                                          its policy guidance.
                                           Tribal Relations to ensure meaningful                    encompass crop insurance benefits, and
                                           consultation is provided.                                thus, producers obtaining Federally                   Wetland Determination Criteria—
                                                                                                    reinsured crop insurance must be in                   Policy and Regulatory Clarifications
                                           Unfunded Mandates Reform Act of 1995                     compliance with an NRCS-approved
                                                                                                                                                          The Complexity of Identification of
                                             Pursuant to Title II of the unfunded                   conservation plan for all highly erodible
                                                                                                                                                          Wetlands in the Agricultural Landscape
                                           Mandates Reform Act of 1995, Public                      land; not plant or produce an
                                           Law 104–4, the effects of this                           agricultural commodity on a wetland                      The complexity of making a wetland
                                           rulemaking action on State, local, and                   converted after February 7, 2014; and                 determination in highly altered
                                           Tribal governments, and the public have                  not have converted a wetland after                    agricultural landscapes requires
                                           been assessed. This action does not                      February 7, 2014, to make possible the                flexibility in the approach used to
                                           compel the expenditure of $100 million                   production of an agricultural                         identify wetlands. Since 1986, USDA
                                           or more by any State, local, or Tribal                   commodity. The 1985 Act, however,                     has provided the internal agency policy
                                           governments, or anyone in the private                    affords relief to program participants                on making HELC and WC
                                           sector; therefore, a statement under                     who meet certain conditions identified                determinations in the NFSAM. In
                                           Section 202 of the Unfunded Mandates                     under the 1985 Act by exempting such                  response to multiple statutory changes
                                           Reform Act of 1995 is not required.                      actions from the ineligibility provisions.            and changes to the science, those
                                                                                                       The USDA regulations implementing                  methods have evolved over the decades
                                           Federal Assistance Programs                              the HELC and WC provisions of the                     since passage of the WC provisions. The
                                             This rule has a potential impact on                    1985 Act are found at 7 CFR part 12.                  regulations and internal agency policy
                                           participants for many programs listed in                 The regulations at 7 CFR part 12 list                 have also been revised many times over
                                           the Catalog of Federal Domestic                          actions that may result in a                          this 33-year period. The purpose of this
                                           Assistance in the Agency Program Index                   determination of ineligibility, the                   interim rule, with request for comment,
                                           under the Department of Agriculture.                     program benefits that are at risk, and the            is to codify many technical portions of
                                                                                                    conditions under which these activities               the existing agency policy that have not
                                           Paperwork Reduction Act                                  can occur without losing program                      undergone public review and comment.
                                             Section 1246 of the Food Security Act                  eligibility. The regulations are divided
                                                                                                    into three subparts. Subpart A describes              Overview of Wetland Determination
                                           of 1985 provides that regulations issued
                                                                                                    the terms of ineligibility, USDA                      Procedures
                                           under Title XII are exempt from the
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                                           requirements of the Paperwork                            programs encompassed by its terms, the                  USDA developed the wetland
                                           Reduction Act (44 U.S.C. Chapter 35).                    list of exemptions from ineligibility, the            determination procedures from the
                                                                                                    agency responsibilities, and conditions               statutory framework for the WC
                                           E-Government Act Compliance                              that apply when persons adversely                     provisions. In particular, section 1201(a)
                                             USDA is committed to complying                         affected by an agency determination                   of the 1985 Act defines ‘‘wetland’’ as
                                           with the E-Government Act to promote                     request an appeal. Subpart B describes                follows:


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                                              (27) The term ‘‘wetland’’, except when                   • A Level 1 determination is the use               circumstances’’ as used in the statutory
                                           such term is part of the term ‘‘converted                of only off-site resources to confirm the             wetland definition is not defined in
                                           wetland’’, means land that—                              presence or absence of a prevalence of                § 12.2 (Definitions) of this part but is
                                              (A) has a predominance of hydric soils;               hydrophytic vegetation, a predominance                discussed in § 12.31(b) only as it relates
                                              (B) is inundated or saturated by surface or
                                                                                                    of hydric soil, and the occurrence of                 to a determination of hydrophytic
                                           groundwater at a frequency and duration
                                           sufficient to support a prevalence of                    wetland hydrology. Each of the three                  vegetation. In the FSA Procedures, the
                                           hydrophytic vegetation typically adapted for             factors is assessed independently of the              term is defined as it relates to the entire
                                           life in saturated soil conditions; and                   others. In some States, NRCS augments                 wetland identification process. The
                                              (C) under normal circumstances does                   the Corps Level 1 methods with State                  consideration of normal circumstances
                                           support a prevalence of such vegetation. For             Off-Site Methods (SOSM), tailored to                  includes assessing how disturbance
                                           purposes of this Act, and any other Act, this            unique wetland identification                         (e.g., tillage, mowing, grazing,
                                           term shall not include lands in Alaska                   challenges in the State. SOSM identify                application of herbicides, and drainage)
                                           identified as having high potential for                  additional off-site indicators and                    might alter the site conditions, and how
                                           agricultural development which have a                    processes that can be used to assist in               climate (e.g., dry season, wet season,
                                           predominance of permafrost soils.
                                                                                                    the determinations of hydrophytic                     snow pack, drought, and excessive
                                             Section 1201(b) of the 1985 Act                        vegetation, hydric soils, and wetland                 precipitation) might alter the site
                                           requires the Secretary to develop ‘‘(1)                  hydrology.                                            conditions. NRCS policy requires the
                                           criteria for the identification of hydric                   • A Level 2 determination is based on              consideration of normal circumstances
                                           soils and hydrophytic vegetation; and                    the use of on-site methods from the                   for each of the three wetland diagnostic
                                           (2) lists of such soils and such                         Corps Manual and field indicators from                factors.
                                           vegetation.’’                                            the regional supplements for each of the                 To determine normal circumstances,
                                             USDA then defined in the regulation                    three factors. As appropriate, the FSA                NRCS is required to determine if the
                                           that a wetland determination is ‘‘a                      Procedures augment the Corps methods.                 indicators (on-site or off-site) are
                                           decision regarding whether or not an                     If a Level 2 approach is used, SOSM                   reflective of normal climatic conditions.
                                           area is a wetland, including                             would not be used since SOSM are                      NRCS is identifying in part 12 the
                                           identification of wetland type and size.’’               designed to augment off-site methods.                 criteria that NRCS commonly uses to
                                           Thus, the term wetland determination                        • A Level 3 determination is a                     determine normal climatic conditions.
                                           for the WC provisions includes a basic                   combination of the use of on-site and                    The NRCS National Water and
                                           three-step process: (1) Wetland                          off-site indicators or methods among the              Climate Center compiles precipitation
                                           identification; (2) application of                       three factors, but not within a single                data using information from National
                                                                                                    factor. For example, a Level 3                        Oceanic and Atmospheric
                                           exemption criteria from § 12.5(b) of this
                                                                                                    determination might utilize off-site                  Administration weather stations and
                                           part, to determine the appropriate
                                                                                                    methods or indicators for soils, then                 publishes normal precipitation data that
                                           wetland conservation label; and (3)
                                                                                                    utilize on-site methods and indicators                encompass 30 years of weather data.
                                           determination of size of each area
                                                                                                    for vegetation and hydrology. If                      NRCS uses this weather data in Chapter
                                           delineated on the certified wetland
                                                                                                    applicable, SOSM would be limited to                  19 of the NRCS National Engineering
                                           determination map.
                                                                                                    the factor(s) where a decision is made                Field Handbook Climate Analysis for
                                             Step One—Wetland Identification.                                                                             Wetlands Tables (WETS). The tables can
                                                                                                    exclusively from off-site methods/
                                           During the first step of wetland                                                                               be updated to encompass the most
                                                                                                    resources, so in this example, SOSM
                                           identification, NRCS determines                                                                                recent 30-year cycle of data and are
                                                                                                    would be used for soils, but not for
                                           whether the site meets the 1985 Act’s                                                                          available in the Field Office Technical
                                                                                                    vegetation or hydrology.
                                           definition of wetland ‘‘under normal                                                                           Guide.
                                                                                                       The findings in Step 1 results are
                                           circumstances.’’ Normal circumstances                                                                             The agency is concerned that the
                                                                                                    recorded on a wetland identification
                                           are those conditions (vegetation, soils,                                                                       forward adjustment of precipitation data
                                                                                                    base map indicating the area(s) in
                                           and hydrology) that would occur in the                                                                         will result in unfair and inconsistent
                                                                                                    question as either wetland or non-
                                           absence of any post-1985 drainage                                                                              determinations and will fail to best
                                                                                                    wetland as defined in the 1985 Act.
                                           actions, without regard to whether the                      Step 2—Determination of Food                       represent conditions in or prior to 1985,
                                           vegetation has been removed or                           Security Act Exemptions/Labels. In this               a critical decision common to many
                                           significantly altered, and during the wet                step, NRCS utilizes the wetland/non-                  exemptions. To address this concern,
                                           portion of the growing season under                      wetland base map produced from Step                   NRCS is establishing a fixed
                                           normal climatic conditions.                              1 to assign WC labels. WC labels are                  precipitation data set. This data set will
                                             NRCS staff utilize four different                      based on exemptions to the WC                         provide continued certainty to
                                           sources of information when deciding                     provisions, as provided in § 12.5(b) of               agricultural producers, and the 1985
                                           whether an area would, under normal                      this part.                                            date of enactment of the WC provisions
                                           circumstances, meet the 1985 Act                            Step 3—Sizing of Wetlands. The last                falls near the mid-point of this data set.
                                           definition of wetland, including 7 CFR                   step is to determine the size of each area
                                           part 12, the 1987 Corps of Engineers                     delineated and assigned a WC label. The               Use of Corps Manual
                                           Wetland Delineation Manual (Corps                        delineations, WC labels, and sizes of                   NRCS utilizes parts of the 1987 Army
                                           Manual), the regional supplements to                     each delineation are documented on the                Corps of Engineers Wetland Delineation
                                           the Corps Manual, and the Food                           certified wetland determination map                   Manual and approved regional
                                           Security Act Wetland Identification                      provided to the program participant.                  supplements, subject to agency-defined
                                           Procedures (FSA Procedures) located in                                                                         variances required to implement the
                                           the NFSAM, Part 514. The FSA                             Determining Normal Precipitation                      1985 Act provisions. NRCS has received
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                                           Procedures are not stand-alone                             In Step 1 (wetland identification) of               questions about the basis for its use of
                                           procedures, but rather, they supplement                  the wetland determination process,                    the 1987 Corps Manual.
                                           the Corps methods when identifying                       NRCS applies the FSA Procedures to                      In 1980, the Environmental Protection
                                           wetlands for Food Security Act                           determine if a site ‘‘under normal                    Agency (EPA) issued interim guidance
                                           purposes. The Corps Manual provides                      circumstances’’ meets the 1985 Act                    for identifying wetlands under Section
                                           for three levels:                                        wetland definition. ‘‘Normal                          404 of the Clean Water Act. In 1980 and


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                                           1982, the Army Corps of Engineers and                      To avoid confusion, NRCS clearly                    and approach by NRCS to make a
                                           EPA published a joint rule and provided                  informs the program participant that the              decision on wetland hydrology will
                                           their definition of a wetland as:                        determinations are for purposes of the                improve transparency and
                                              ‘‘Those areas that are inundated or                   WC provisions only, and that the                      understanding by program participants
                                           saturated by surface or ground water at                  producer should contact the Army                      and the general public.
                                           a frequency and duration sufficient to                   Corps of Engineers for clarification
                                                                                                                                                          Best Drained Condition
                                           support, and that under normal                           about whether a particular activity will
                                           circumstances do support, a prevalence                   require a Clean Water Act Section 404                    The term ‘‘best drained condition’’ is
                                           of vegetation typically adapted for life                 permit.                                               introduced and defined to provide
                                           in saturated soil conditions. Wetlands                                                                         clarity regarding a long-standing and
                                                                                                    Definition of Pothole, Playa, and                     practiced statutory concept that is
                                           generally include swamps, marshes,                       Pocosin
                                           bogs, and similar areas.’’ (33 CFR                                                                             fundamental to the identification of
                                           Section 328.3)                                              Current language in 7 CFR part 12                  wetlands that experienced drainage
                                                                                                    distinguishes farmed wetland hydrology                manipulations prior to enactment of the
                                              This definition was used by the Corps                 criteria on whether the area is a pothole,            1985 Act, and to meet congressional
                                           and EPA as they developed and                            playa, or pocosin. These three                        intent to provide certainty to persons
                                           published the Technical Report Y–87–1                    landforms are not defined in the                      concerning the status of such land and
                                           Corps of Engineers Wetlands                              regulation. Since it is a critical                    its future use. This long-standing
                                           Delineation Manual and Wetland                           determination about the scope of the                  concept provides that a person has the
                                           Identification and Delineation Manual                    restrictions to which a producer will be              statutory right to maintain hydrologic
                                           (EPA 1988 Manual).                                       subject, there is a need for a regulatory             conditions on wetlands that were
                                              In the 1985 Act, Congress defined                     definition to provide consistency in the              converted to crop production prior to
                                           wetlands subject to the WC provisions                    determination of the presence of these                the 1985 Act, and are not abandoned, to
                                           as:                                                      special land forms. NRCS has                          the extent that those conditions existed
                                           land that has a predominance of hydric soils             longstanding definitions in policy,                   on or before December 23, 1985.
                                           and that is inundated or saturated by surface            located in the appendix to the NFSAM;
                                           or groundwater at a frequency and duration                                                                     Wetland Hydrology
                                                                                                    however, the appendix was not
                                           sufficient to support, and that under normal             transferred to the current electronic                   The definition of wetland requires the
                                           circumstances does support, a prevalence of              policy document storage system. NRCS                  presence of hydrology sufficient to
                                           hydrophytic vegetation typically adapted for             is amending § 12.2 to add these                       support a prevalence of hydrophytic
                                           life in saturated soil conditions.                                                                             vegetation. Hydrology, as it relates to
                                                                                                    definitions to the WC regulation.
                                           In the Urgent Supplemental                                                                                     the definition of ‘‘wetland’’ contained in
                                                                                                    Hydrology Criteria for Farmed Wetland,                § 12.2, is further referenced throughout
                                           Appropriation Act, 1986, Congress                        Farmed Wetland Pasture, and Prior
                                           added the following to the wetland                                                                             part 12 as a diagnostic factor for which
                                                                                                    Converted Cropland                                    consideration is required during the
                                           definition:
                                                                                                       The prior hydrologic criteria for                  identification of wetlands. To provide
                                           this term shall not include lands in Alaska
                                                                                                    farmed wetland and farmed wetland                     clarification concerning this
                                           identified as having high potential for
                                           agricultural development which have a                    pasture was based strictly on the                     requirement, the definition of wetland
                                           predominance of permafrost soils.                        quantification of the number of days                  hydrology and its related identification
                                                                                                    that the wetland experienced                          procedures are being incorporated into
                                              The 1985 Act definition represents                    inundation or saturation during the                   part 12, with associated reference to the
                                           the first time that Congress defined the                 growing season. Further, for farmed                   underlying considerations of ‘‘best
                                           term ‘‘wetland.’’ Also, for the first time               wetland, these criteria differed                      drained condition’’ and the
                                           in Federal law, Congress also provided                   depending on the landscape position of                determination of normal climatic
                                           a definition for the terms ‘‘hydric soil’’               the wetland, with playa, pothole, and                 conditions in § 12.31.
                                           and ‘‘hydrophytic vegetation.’’ These                    pocosin requiring 7 days of inundation
                                           three congressional definitions in the                   or 14 of saturation, and all other                    Tract Versus Field
                                           1985 Act only differ slightly from what                  landscape positions requiring 15                        Wetland determinations can be
                                           is used by the Corps and EPA for                         consecutive days of inundation.                       conducted on different areas of an
                                           Section 404 of the Clean Water Act. The                     Quantification of a number-based                   agricultural operation. In some cases,
                                           Manager’s Report to the 1990 Act                         hydrologic criteria is both inefficient               the wetland determinations are
                                           acknowledges that NRCS used wetland                      and cost prohibitive, and if practiced,               conducted on a farm tract, while in
                                           delineation methodology that had been                    requires the installation of monitoring               other instances only specific farm fields
                                           developed in consultation with other                     equipment. For this reason, other                     or areas within a field are assessed. The
                                           Federal and State agencies.                              Federal agencies with responsibilities                USDA program participant initiates the
                                              Since the WC provisions contain                       for wetland conservation or regulation                wetland determination with a request
                                           specific definitions, exemptions, and                    either did not adopt or have since                    submitted to the Farm Service Agency
                                           guidance for its implementation, where                   abandoned such an approach in favor of                on an AD–1026. If an activity that could
                                           these provisions differ from those in the                one that uses more readily observable                 potentially result in a determination of
                                           Corps Manual, NRCS identifies these                      and easily quantifiable criteria. The                 ineligibility is planned, the program
                                           differences in the FSA procedures.                       agency has itself moved from a number-                participant identifies the location of the
                                           Thus, NRCS adopted the use of the                        based approach to such an approach,                   activity on a map. NRCS will conduct
                                           Corps methods, but not in their entirety.                with criteria that are based on                       wetland determinations on a field or
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                                           Where needed to address differences in                   observable conditions resulting from                  sub-field basis except when the
                                           the two laws, and where needed to                        such inundation or saturation and is                  producer requests a determination for
                                           address unique challenges of                             therefore more consistent with the                    their entire farm tract. To clarify that
                                           delineating wetlands on agricultural                     agency’s statutory definition of                      NRCS will conduct a wetland
                                           lands, NRCS provides variances to the                    ‘‘wetland.’’ Codifying this indicator-                determination only on the area specified
                                           Corps methods.                                           based approach as the current science                 by the USDA program participant,


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                                           NRCS is replacing the term ‘‘tract’’ with                such determination. The Managers find that            focused upon the certification process
                                           the term ‘‘field or sub-field’’ in 7 CFR                 this process is adequate for certification of         for NRCS wetland determinations
                                           12.30(c), so that it is clear that all                   any new maps delineated after the date of             because of the certainty that such
                                                                                                    enactment of this Act. For maps completed
                                           wetland determinations will be done on                   prior to the date of enactment of this Act, the
                                                                                                                                                          determinations provide to program
                                           a field or sub-field basis and will be                   Managers intend for producers to be notified          participants regarding future business
                                           considered certified wetland                             that their maps are to be certified and that          decisions. Through this rulemaking,
                                           determinations.                                          they have some appropriate time for appeal.           USDA is adding further guidance in the
                                                                                                    In this circumstance, producers who had not           WC regulation to improve clarity on the
                                           Wetland Minimal Effect Determinations                    already been mailed their maps should be              statutory concept of certification,
                                             Part 12 provides for a minimal effect                  given a map for their review.                         particularly for those certified
                                           exemption for wetland conversions that                     The changes made to 7 CFR part 12                   determinations issued between 1990
                                           have only a minimal effect on the                        in 1991 included the following                        and 1996.
                                           functional hydrological and biological                   incorporation of certification at
                                           value of the wetland and other wetlands                                                                        List of Subjects in 7 CFR Part 12
                                                                                                    § 12.30(c) (1991):
                                           in the area. Current regulatory language                                                                         Administrative practice and
                                                                                                      SCS determinations of wetland status and
                                           requires that the minimal effect                         any applicable exemptions granted under               procedure, Coastal zone, Crop
                                           determination be based upon a                            this part shall be delineated on a map of the         insurance, Flood plains, Loan
                                           functional assessment made during an                     farm or tract. Notification of the wetland            programs—agriculture, Price support
                                           on-site evaluation of all wetlands in the                determination, a copy of the wetland                  programs, Reporting and recordkeeping
                                           area. This requirement is overly                         delineation and the SCS appeal procedures             requirements, Soil conservation.
                                           burdensome, and on-site evaluations                      shall be provided to each person who                    For the reasons explained above,
                                           can seldom be made on property not                       completes a Form AD–1026. The wetland
                                                                                                    determination and wetland delineation shall
                                                                                                                                                          USDA amends 7 CFR part 12 as follows:
                                           controlled by the subject person.
                                                                                                    be certified as final by the SCS official 45
                                           Removing the on-site requirement will                    days after providing the person notice or, if         PART 12—HIGHLY ERODIBLE LAND
                                           better allow USDA to provide this                        appeal is filed with SCS, after a final appeal        CONSERVATION AND WETLAND
                                           statutory exemption to USDA program                      decision is made by SCS.                              CONSERVATION
                                           participants, and such removal will not
                                           provide a substantially different                           By statute, as clarified in the 1990               ■ 1. The authority citation for part 12
                                           decision as would otherwise occur,                       Conference Managers Report,                           continues to read as follows:
                                           especially considering that assessments                  determinations made pursuant to the
                                                                                                    1991 rule are certified determinations                  Authority: 16 U.S.C. 3801, 3811–12,
                                           can be conducted remotely based on a                                                                           3812a, 3813–3814, and 3821–3824.
                                           general knowledge of wetland                             when the producer was provided a copy
                                                                                                    of the determination and had been                     ■ 2. Amend § 12.2(a) as follows:
                                           conditions in the area.                                                                                        ■ a. Add definitions, for ‘‘Best drained
                                                                                                    provided appeal rights. The producer
                                           Wetland Determination Certification                      was not required to appeal the                        condition’’, ‘‘Normal climatic
                                                                                                    determination for the determination to                conditions’’, ‘‘Playa’’, ‘‘Pocosin’’, and
                                             NRCS began making wetland                                                                                    ‘‘Pothole’’, in alphabetical order;
                                           determinations subsequent to the                         become certified. In June of 1991, USDA
                                                                                                    issued a revised CPA–026 form that                    ■ b. Revise paragraphs (4), (5), and (8)
                                           enactment of the 1985 Act and the                                                                              of the definition for ‘‘Wetland
                                           interim final rule for 7 CFR part 12                     included certification language in the
                                                                                                    agency signature block and contained                  determination’’; and
                                           promulgated in 1986. These wetland                                                                             ■ c. Add the definition of ‘‘Wetland
                                           determinations were completed                            the applicable appeal rights on the back
                                                                                                    side of the person copy.                              hydrology’’, in alphabetic order.
                                           utilizing soil surveys, U.S. Fish and                                                                             The additions and revision read as
                                           Wildlife Service National Wetland                           The certification provisions were
                                                                                                    further strengthened in the 1996 Farm                 follows:
                                           Inventory maps, and USDA aerial
                                           imagery or site visits. Producers were                   Bill, due in part to a moratorium that                § 12.2   Definitions.
                                           provided appeal rights with these                        had been placed on wetland
                                                                                                                                                             (a) * * *
                                           determinations. In the 1990 Farm Bill,                   determinations by the Secretary of
                                                                                                                                                             Best drained condition means the
                                           the concept of certification of wetland                  Agriculture in 1995. In response to these
                                                                                                                                                          hydrologic conditions with respect to
                                           determinations was incorporated into                     changes, in the 1996 interim final rule
                                                                                                                                                          depth, duration, frequency, and timing
                                           the WC provisions. In particular, as                     USDA identified that all wetland
                                                                                                                                                          of soil saturation or inundation resulting
                                           described in the Manager’s Report to the                 determinations made after its effective
                                                                                                                                                          from drainage manipulations that
                                           1990 Farm Bill:                                          date of July 3, 1996, would be
                                                                                                                                                          occurred prior to December 23, 1985,
                                                                                                    considered a certified wetland
                                             [T]he certification process is to provide                                                                    and that exist during the wet portion of
                                                                                                    determination. A final certification
                                           farmers with certainty as to which of their                                                                    the growing season during normal
                                           lands are to be considered wetlands for
                                                                                                    remains valid and in effect as long as
                                                                                                                                                          climatic conditions.
                                           purposes of Swampbuster. The Managers                    the area is devoted to an agricultural use
                                                                                                    or until such time as the person,                     *      *    *     *     *
                                           note that the current USDA wetland
                                           delineation process involves the use of                  affected by the review, requests review                  Normal climatic conditions means the
                                           substantial materials to make an initial                 of the certification if ‘‘a natural event             normal range of hydrologic inputs on a
                                           determination in the field office, developed             alters the topography or hydrology of                 site as determined by the bounds
                                           in consultation with other appropriate                   the subject land to the extent that the               provided in the Climate Analysis for
                                           Federal and State agencies. Wetlands                     final certification is no longer a reliable           Wetlands Tables or methods posted in
                                           identified in this process are delineated on             indication of site conditions, or if NRCS             the Field Office Technical Guide.
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                                           maps which are then mailed to producers for                                                                    *      *    *     *     *
                                           review. If the producer finds such map to be
                                                                                                    concurs with an affected person that an
                                           in error, and the USDA agrees that an error              error exists in the current wetland                      Playa means a usually dry and nearly
                                           has been made, then the map is corrected. If             determination.’’ 7 CFR 12.30(c)(6).                   level lake plain that occupies the lowest
                                           the USDA does not agree that there is an                    NRCS, program participants, farm                   parts of closed depressions (basins).
                                           error in the map, and the producer continues             organizations, conservation                           Temporary inundation occurs primarily
                                           to believe so, then the producer may appeal              organizations, and others have long                   in response to precipitation-runoff


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                                           events. Playas may or may not be                         conducted under a period of normal                    been produced at least once before
                                           characterized by high water table and                    climatic conditions or drier;                         December 23, 1985, and as of December
                                           saline conditions. They occur primarily                     (B) The presence of one primary or                 23, 1985, the converted wetland did not
                                           in the Southern Great Plains.                            two secondary wetland hydrology                       support woody vegetation and did not
                                              Pocosin means a wet area on nearly                    indicators contained in the applicable                meet the hydrologic criteria for farmed
                                           level interstream divides in the Atlantic                regional supplement to the Corps of                   wetland.
                                           Coastal Plain. Soils are generally organic               Engineers Wetland Delineation Manual                  *     *     *    *     *
                                           but may include some areas of high                       is observed;                                            Wetland hydrology means inundation
                                           organic mineral soils.                                      (C) The presence of conditions                     or saturation by surface or groundwater
                                              Pothole means a closed depression,                    resulting from inundation or saturation               during a growing season at a frequency
                                           generally circular, elliptical, or linear in             during the growing season is observed                 and duration sufficient to support a
                                           shape, occurring in glacial outwash                      on aerial imagery, and the imagery is                 prevalence of hydrophytic vegetation.
                                           plains, moraines, till plains, and glacial               determined to represent hydrologic                    *     *     *    *     *
                                           lake plains.                                             conditions that would be expected to
                                                                                                                                                          ■ 3. Amend § 12.21 by revising
                                           *       *     *     *    *                               occur under normal or drier than
                                                                                                    normal climatic conditions (that is, not              paragraph (c) to read as follows:
                                              Wetland determination * * *
                                              (4) Farmed wetland is a wetland that                  abnormally wet); or                                   § 12.21 Identification of highly erodible
                                           prior to December 23, 1985, was                             (D) The use of analytic techniques,                lands criteria.
                                           manipulated and used to produce an                       such as the use of drainage equations or              *      *     *     *     *
                                           agricultural commodity, and on                           the evaluation of monitoring data,                       (c) Potentially highly erodible.
                                           December 23, 1985, did not support                       demonstrate that the wetland would                    Whenever a soil map unit description
                                           woody vegetation, and met the                            experience inundation or saturation                   contains a range of a slope length and
                                           following hydrologic criteria:                           during the growing season in most years               steepness characteristics that produce a
                                              (i) If not a playa, pocosin, or pothole,              (50-percent chance or more).                          range of LS values that result in RKLS/
                                           experienced inundation for 15                               (5) Farmed-wetland pasture is                      T quotients both above and below 8, the
                                           consecutive days or more during the                      wetland that was manipulated and                      soil map unit will be entered on the list
                                           growing season or 10 percent of the                      managed for pasture or hayland prior to               of highly erodible soil map units as
                                           growing season, whichever is less, in                    December 23, 1985, and on December                    ‘‘potentially highly erodible.’’ The final
                                           most years (50 percent chance or more),                  23, 1985, experienced inundation or                   determination of erodibility for an
                                           as determined by having met any of the                   ponding for 7 or more consecutive days                individual field containing these soil
                                           following hydrologic indicators:                         during the growing season in most years               map unit delineations will be made by
                                              (A) Inundation is directly observed                   (50-percent chance or more) or                        an on-site investigation, or by use of
                                           during a site visit conducted under a                    saturation for 14 or more consecutive                 Light Detection and Ranging or other
                                           period of normal climatic conditions or                  days during the growing season in most                elevation data of an adequate resolution
                                           drier;                                                   years (50-percent chance or more) as                  to make slope length and steepness
                                              (B) The presence of any indicator                     determined by having met any of the                   measurements. In any case where a
                                           from Group B (Evidence of Recent                         following hydrologic indicators:                      person disagrees with an off-site
                                           Inundation) of the wetland hydrology                        (i) Inundation or saturation is directly           determination on potentially highly
                                           indicators contained in the applicable                   observed during a site visit conducted                erodible soils, a determination will be
                                           regional supplement to the Corps of                      under a period of normal climatic                     made on-site.
                                           Engineers Wetland Delineation Manual                     conditions or drier;
                                                                                                                                                          ■ 4. Amend § 12.30 by revising
                                           is observed;                                                (ii) The presence of one primary or
                                                                                                                                                          paragraph (c)(1), and adding paragraph
                                              (C) The presence of conditions                        two secondary wetland hydrology
                                                                                                                                                          (c)(7), to read as follows:
                                           resulting from inundation during the                     indicators contained in the applicable
                                           growing season is observed on aerial                     regional supplement to the Corps of                   § 12.30 NRCS responsibilities regarding
                                           imagery, and the imagery is determined                   Engineers Wetland Delineation Manual                  wetlands.
                                           to represent normal or drier than normal                 is observed;                                            (c) * * *
                                           climatic conditions (that is, not                           (iii) The presence of conditions                     (1) Certification of a wetland
                                           abnormally wet); or                                      resulting from inundation or saturation               determination means that the wetland
                                              (D) The use of analytic techniques,                   during the growing season is observed                 determination is of sufficient quality to
                                           such as the use of drainage equations or                 on aerial imagery, and the imagery is                 make a determination of ineligibility for
                                           the evaluation of monitoring data,                       determined to represent hydrologic                    program benefits under § 12.4. In order
                                           demonstrate that the wetland would                       conditions that would be expected to                  for a map to be of sufficient quality to
                                           experience inundation during the                         occur under normal, or drier than                     determine ineligibility for program
                                           growing season in most years (50-                        normal climatic conditions (that is, not              benefits, the map document must be
                                           percent chance or more).                                 abnormally wet); or                                   legible to the extent that areas that are
                                              (ii) If a playa, pocosin, or pothole                     (iv) The use of analytic techniques,               determined wetland can be discerned in
                                           experienced ponding for 7 or more                        such as the use of drainage equations or              relation to other ground features. NRCS
                                           consecutive days during the growing                      the evaluation of monitoring data,                    may certify a wetland determination
                                           season in most years (50-percent chance                  demonstrate that the wetland would                    without making a field investigation.
                                           of more) or saturation for 14 or more                    experience inundation or saturation                   NRCS will notify the person affected by
                                           consecutive days during the growing                      during the growing season in most years               the certification and provide an
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                                           season in most years (50-percent chance                  (50-percent chance or more).                          opportunity to appeal the certification
                                           or more) as determined by having met                     *       *    *    *     *                             prior to the certification becoming final.
                                           any of the following hydrologic                             (8) Prior-converted cropland is a                  All wetland determinations made after
                                           indicators:                                              converted wetland where the                           July 3, 1996, will be done on a field or
                                              (A) Inundation or saturation is                       conversion occurred prior to December                 sub-field basis and will be considered
                                           directly observed during a site visit                    23, 1985, an agricultural commodity had               certified wetland determinations.


                                      VerDate Sep<11>2014    15:58 Dec 06, 2018   Jkt 247001   PO 00000   Frm 00011   Fmt 4700   Sfmt 4700   E:\FR\FM\07DER1.SGM   07DER1
                                                            Case 1:19-cv-02416-TSC                         Document 35-2                     Filed 06/18/21          Page 27 of 248                     001428
                                           63052              Federal Register / Vol. 83, No. 235 / Friday, December 7, 2018 / Rules and Regulations

                                           Determinations made after November                       2000 for determining normal climatic                    Dated: November 28, 2018.
                                           28, 1990, and before July 3, 1996, are                   conditions.                                           Stephen L. Censky,
                                           considered certified if the determination                                                                      Deputy Secretary.
                                           was issued on the June 1991 version of                   *      *      *      *       *
                                                                                                                                                          [FR Doc. 2018–26521 Filed 12–6–18; 8:45 am]
                                           form NRCS–CPA–026 or SCS–CPA–026,                           (e)(1) Minimal effect determination.               BILLING CODE 3410–16–P
                                           the person was notified that the                         For the purposes of § 12.5(b)(1)(v),
                                           determination had been certified, and                    NRCS shall determine whether the
                                           the map document was of sufficient                       effect of any action of a person                      DEPARTMENT OF AGRICULTURE
                                           quality to determine ineligibility for                   associated with the conversion of a
                                           program benefits. If issued on a different               wetland, the conversion of wetland and                Food Safety and Inspection Service
                                           version of the form, a determination will
                                                                                                    the production of an agricultural
                                           be considered certified if there is other                                                                      9 CFR Parts 317 and 381
                                                                                                    commodity on converted wetland, or
                                           documentation that the person was
                                           notified of the certification, provided                  the combined effect of the production of              [Docket No. FSIS–2018–0049]
                                           appeal rights, and the map document                      an agricultural commodity on a wetland
                                                                                                                                                          RIN 0583–AD77
                                           was of sufficient quality to make the                    converted by someone else has a
                                           determination.                                           minimal effect on the functions and                   Uniform Compliance Date for Food
                                                                                                    values of wetlands in the area. Such                  Labeling Regulations
                                           *      *    *     *     *
                                                                                                    determination shall be based upon a
                                              (7) The wetland determination                                                                               AGENCY: Food Safety and Inspection
                                                                                                    functional assessment of functions and
                                           process for wetland conservation                         values of the subject wetland and other               Service, USDA.
                                           compliance includes three distinct                       related wetlands in the area. The                     ACTION: Final rule.
                                           steps. In Step 1, wetland identification,                assessment of functions and values of
                                           it is determined if the area of interest                                                                       SUMMARY: The Food Safety and
                                                                                                    the subject wetland will be made                      Inspection Service (FSIS) is establishing
                                           supports a prevalence of hydrophytic                     through an on-site evaluation. Such an
                                           vegetation, a predominance of hydric                                                                           January 1, 2022, as the uniform
                                                                                                    assessment of related wetlands in the                 compliance date for new meat and
                                           soils, and wetland hydrology under
                                                                                                    area may be made based on a general                   poultry product labeling regulations that
                                           normal circumstances. In Step 2,
                                           determination of wetland type, it is                     knowledge of wetland conditions in the                will be issued between January 1, 2019,
                                           determined if any exemptions apply                       area. A request for such determination                and December 31, 2020. FSIS
                                           from § 12.5(b). The findings are reflected               will be made prior to the beginning of                periodically announces uniform
                                           in the assignment of an appropriate                      activities that would convert the                     compliance dates for new meat and
                                           wetland conservation compliance label.                   wetland. If a person has converted a                  poultry product labeling regulations to
                                           In Step 3, sizing of the wetland, the                    wetland and then seeks a determination                minimize the economic impact of label
                                           boundary of each wetland type                            that the effect of such conversion on                 changes.
                                           determined in Step 2 is delineated on                    wetland was minimal, the burden will                  DATES: This rule is effective December 7,
                                           the certified wetland determination                      be upon the person to demonstrate to                  2018. Comments on this final rule must
                                           map.                                                     the satisfaction of NRCS that the effect              be received on or before January 7, 2019.
                                                                                                    was minimal.                                          ADDRESSES: FSIS invites interested
                                           ■ 5. Amend § 12.31 by revising the
                                                                                                                                                          persons to submit comments on this
                                           section heading, redesignating                              (2) Scope of minimal-effect                        final rule. Comments may be submitted
                                           paragraphs (c) through (e) as paragraphs                 determination. The production of an                   by one of the following methods:
                                           (d) through (f), adding a new paragraph                  agricultural commodity on any portion                    • Federal eRulemaking Portal: This
                                           (c), and revising newly redesignated                     of a converted wetland in conformance                 website provides the ability to type
                                           paragraph (e) to read as follows:                        with a minimal-effect determination by                short comments directly into the
                                           § 12.31   Wetland identification procedures.             NRCS is exempt under § 12.5(b)(1)(v).                 comment field on this web page or
                                                                                                    However, any additional action of a                   attach a file for lengthier comments. Go
                                              (c) Wetland Hydrology. (1) Wetland                    person that will change the functions                 to http://www.regulations.gov. Follow
                                           Hydrology consists of inundation or                      and values of a wetland for which a                   the on-line instructions at that site for
                                           saturation by surface or groundwater                     minimal-effect determination has been                 submitting comments.
                                           during a growing season at a frequency                   made shall be reported to NRCS for a                     • Mail, including CD–ROMs, etc.:
                                           and duration sufficient to support a                     determination of whether the effect                   Send to Docket Clerk, U.S. Department
                                           prevalence of hydrophytic vegetation.                                                                          of Agriculture, Food Safety and
                                                                                                    continues to be minimal. The loss of a
                                              (2) When a wetland is affected by                     minimal-effect determination will cause               Inspection Service, 1400 Independence
                                           drainage manipulations that occurred                                                                           Avenue SW, Mailstop 3758, Room 6065,
                                                                                                    a person who produces an agricultural
                                           prior to December 23, 1985, wetland                                                                            Washington, DC 20250–3700.
                                                                                                    commodity on the converted wetland                       • Hand- or courier-delivered
                                           hydrology shall be identified on the                     after such change in status to be
                                           basis of the best-drained condition                                                                            submittals: Deliver to 1400
                                                                                                    ineligible, under § 12.4, for certain                 Independence Avenue SW, Room 6065,
                                           resulting from such drainage                             program benefits. In situations where
                                           manipulations.                                                                                                 Washington, DC 20250–3700.
                                                                                                    the wetland values, acreage, and                         Instructions: All items submitted by
                                              (3) The determination of wetland                      functions are replaced by the                         mail or electronic mail must include the
                                           hydrology will be made in accordance                     restoration, enhancement, or creation of              Agency name and docket number FSIS–
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                                           with the current Federal wetland                         a wetland in accordance with a                        2018–0049. Comments received in
                                           delineation methodology in use by                        mitigation plan approved by NRCS, the                 response to this docket will be made
                                           NRCS at the time of the determination.                   exemption provided by the                             available for public inspection and
                                              (4) When making a decision on                         determination will be effective after                 posted without change, including any
                                           wetland hydrology, NRCS will utilize a                   NRCS determines that all practices in a               personal information, to http://
                                           fixed precipitation date range of 1971–                  mitigation plan are being implemented.                www.regulations.gov.


                                      VerDate Sep<11>2014    15:58 Dec 06, 2018   Jkt 247001   PO 00000   Frm 00012   Fmt 4700   Sfmt 4700   E:\FR\FM\07DER1.SGM   07DER1
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        Comment on FR Doc # 2018-26521


The is a Comment on the Natural Resources Conservation
Service (NRCS) Rule: Highly Erodible Land and Wetland
Conservation                                                       ID: NRCS-2018-0010-0036
                                                                Tracking Number: 1k3-982n-f952
For related information, Open Docket Folder

                                                                Document Information
                                                               Date Posted:
 Comment                                                       Feb 5, 2019
                                                               RIN:
 See attached file(s)                                          0578-AA65

                                                               Show More Details

 Attachments (1)
                                                                Submitter Information
                                                               Submitter Name:
          Docket NRCS-2018-0010 02042019                       BLAKE RODERICK
          View Attachment:
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February 4, 2019

Public Comments Processing
Attention: National Leader for Wetland and Highly Erodible Land Conservation
USDA, Natural Resources Conservation Service
1400 Independence Avenue SW
Washington, DC 20250

Attention: Docket ID No. NRCS-2018-0010

RE:     Highly Erodible Land and Wetland Conservation,
        83 Fed. Reg. 63,046 (Dec. 7, 2018)

To Whom It May Concern:

        The Pike-Scott Farm Bureau appreciates this opportunity to offer comments on the U.S.
Department of Agriculture’s (“USDA”) interim final rule amending its Highly Erodible Land and
Wetland Conservation regulations at 7 C.F.R. part 12 (collectively, the “conservation
compliance” program). The revisions were published in the Federal Register on December 7,
2018 at 83 Fed. Reg. 63,046 and were made effective that same day. The stated purpose of
these revisions is to “codify many technical portions of the existing agency policy that have not
undergone public review and comment.” 83 Fed. Reg. at 63,047.
        We are extremely troubled by this rulemaking due to the fundamental lack of
transparency and due process it affords farmers and ranchers. Highly Erodible Land and
Wetland Conservation regulations are not incentive programs; rather, they are
compliance regulations that not only impact participation in farm programs but also
directly influence the ability of farmers and ranchers to secure vital operating loans.
        The Pike-Scott Farm Bureau represents the interests of its 2,200 members in west-
central Illinois. We have as borders the Mississippi and Illinois rivers with thousands of acres of
river valley land in addition of hill ground with many acres of highly erodible land.
        We have been involved in the issue of Swampbuster since its roll-out in 1986. Over
those 35-years, we have represented the interests of our members in disputes over the
application and administration of USDA rules on many occasions.
        The Pike-Scott County Farm Bureau has driven much of the standing policy of the Illinois
Farm Bureau and American Farm Bureau Federation on wetlands and conservation from our
experiences with working with USDA agencies overseeing Swampbuster and HEL regulations
over the years.
         The Pike-Scott Farm Bureau is concerned with this Interim Rule because it makes
program participation significantly more difficult and fails to provide the notice and opportunity to
participate in the process due regulated entities.




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was minimal” in the case of an already-converted wetland. 7 C.F.R. § 12.31(e)(1); see also id. §
12.5(b)(7). When the determination is USDA’s duty in the first instance, and USDA retains
access to the relevant technical information and applicable guidance, USDA must set the
specific criteria required to claim that a wetland conversion was minimal instead of requiring
landowners to attempt to prove the same “to the satisfaction of the NRCS.”
        Second, the statute requires the Secretary to “identify by regulation categorical minimal
effect exemptions on a regional basis.” 16 U.S.C. § 3822(d). But USDA’s regulations
impermissibly delegate this authority to the states. Most states have not identified or adopted
the required categorical exemptions and even if they have made a recommendation, USDA has
not adopted any categorical exemptions in its rules. USDA should take this authority back and
promulgate clear standards for minimal-effect exemptions.
        Third, although the “Scope of minimal-effect determination” subsection contains a
passing reference to mitigation of wetland conversion, 7 C.F.R. § 12.31(e)(2), we remind USDA
that § 12.5(4) is a wholly distinct and fully self-executing mitigation exception, which largely
tracks the statutory language regarding the ability of farmers to offset the values, acreage, and
functions affected by conversion, 16 U.S.C. § 3822(f)(2). Indeed, in recent farm bills Congress
specifically set aside USDA money to be used in mitigation activities, indicating that Congress
wanted more farmers to be able to take advantage of the program. See Pub. L. No. 113-79, §
2609, 128 Stat. 649, 761 (2014); Pub. L. No. 115-334, § 2103 (2018). USDA should similarly
encourage mitigation efforts, and in doing so, amend its regulations generally not to require
more than a one-to-one ratio for mitigation; functional capacity should be the benchmark. See
16 U.S.C. §§ 3822(f)(2)(D), (E).
        The minimal effect exemption provisions have not been fully implemented by the USDA
in accordance with the statute. The elimination of required on-site visits for area wetlands
evaluations falls far short of meeting the statutory requirements for the exemption. To comply
with the statute, USDA should evaluate the applicability of the exemption before the wetland
delineation instead of placing the burden on the farmer to request and satisfy the NRCS with
indeterminate criteria. The rules should also establish clear criteria of what will be considered
during a minimal effect analysis in order to give fair notice and allow farmer participation in the
process.

VI. Conclusion
        USDA has an opportunity to both clarify the Interim Rule and promulgate new rules that
could provide much needed transparency and certainty for the farmers regulated by the
conservation compliance program. USDA should not go partway and stop. Instead, USDA
should take a hard look at the discretion it has arrogated to itself, determine whether it accords
with the statute, and promulgate new rules that are consistent with Congressional intent and
that provide clear, reasonable requirements for farmers.

Respectfully submitted,


Blake E. Roderick, Executive Director
Pike-Scott Farm Bureau




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        Comment on FR Doc # 2018-26521


The is a Comment on the Natural Resources Conservation
Service (NRCS) Rule: Highly Erodible Land and Wetland
Conservation                                                               ID: NRCS-2018-0010-0049
                                                                        Tracking Number: 1k3-9838-qlif
For related information, Open Docket Folder

                                                                        Document Information
                                                                       Date Posted:
 Comment                                                               Feb 5, 2019
                                                                       RIN:
 Docket Number NRCS-2018-0010; Comments on the                         0578-AA65
 Natural Resources Conservation Services Interim Rule and
 Environmental Assessment for the Highly Erodible Land and             Show More Details
 Wetland Conservation Compliance Provisions
 at 7 C.F.R. part 12.
                                                                        Submitter Information
 The National Wildlife Federation (NWF) submits the
                                                                       Submitter Name:
 attached comments on the Natural Resources Conservation
                                                                       Jan Goldman-Carter
 Services
 (NRCS) interim rule and Environmental Assessment (EA) for
 the Highly Erodible Land and Wetland Conservation
 Compliance provisions of the Food Security Act of 1985,
 which amended the wetland conservation provisions at 7
 C.F.R.
 part 12. The interim rule implements several significant
 changes to the wetland conservation provisions.

 As discussed below, although the interim rule purports to
 provide clarity and transparency to NRCSs implementation
 of
 the wetlands compliance provisions, in reality the rule
 further obfuscates the wetlands determination process and
 thwarts
 Congresss intent in enacting the 1996 Farm Bill. In addition,
 in several crucial respects, NRCSs EA does not adequately
 assess a full range of reasonable alternatives, nor does it
 take the requisite hard look at the impacts of its action, as
 mandated by the National Environmental Policy Act (NEPA),
 42 U.S.C. 4321-4370m. To the contrary, the document
 reads as a justification for a decision already made, in
 violation of NEPA. Further, the significant impacts that this
 interim
 rule will have on wetlands and the wildlife that depend on
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February 5, 2019
Public Comments Processing
Attention: National Leader for Wetland and Highly Erodible Land Conservation
U.S. Department of Agriculture
Natural Resources Conservation Service
1400 Independence Avenue SW
Washington, DC 20250

Re:     Docket Number NRCS-2018-0010; Comments on the Natural Resources
        Conservation Service’s Interim Rule and Environmental Assessment for the Highly
        Erodible Land and Wetland Conservation Compliance Provisions
        at 7 C.F.R. part 12.

       The National Wildlife Federation (“NWF”) submits the following comments on the
Natural Resources Conservation Service’s (“NRCS”) interim rule and Environmental
Assessment (“EA”) for the Highly Erodible Land and Wetland Conservation Compliance
provisions of the Food Security Act of 1985, which amended the wetland conservation
provisions at 7 C.F.R. part 12. The interim rule implements several significant changes to the
wetland conservation provisions.

        As discussed below, although the interim rule purports to provide “clarity” and
“transparency” to NRCS’s implementation of the wetlands compliance provisions, in reality the
rule further obfuscates the wetlands determination process and thwarts Congress’s intent in
enacting the 1996 Farm Bill. In addition, in several crucial respects, NRCS’s EA does not
adequately assess a full range of reasonable alternatives, nor does it take the requisite “hard
look” at the impacts of its action, as mandated by the National Environmental Policy Act
(“NEPA”), 42 U.S.C. §§ 4321-4370m. To the contrary, the document reads as a justification for
a decision already made, in violation of NEPA. Further, the significant impacts that this interim
rule will have on wetlands and the wildlife that depend on them—including several species listed
as threatened or endangered under the Endangered Species Act (“ESA”)—require in-depth
analysis in an Environmental Impact Statement (“EIS”).

       Given these concerns, we urge NRCS to withdraw the interim final rule and instead
propose a rule that promotes accurate wetland determinations that include all seasonal wetlands
and one that is subject to robust environmental review and public comment.


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                                        BACKGROUND

A.     Statutory Background

        The Administrative Procedure Act (“APA”) permits judicial review of “final” agency
action. See 5 U.S.C. § 704. Under the APA, a court must “hold unlawful and set aside agency
action, findings, and conclusions” that are “arbitrary, capricious, an abuse of discretion, or
otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A), in excess of statutory authority, id.
§ 706(2)(C), or “without observance of procedure required by law,” id. § 706(2)(D). To avoid
judicial reversal of their actions, agencies must demonstrate that they have “examine[d] the
relevant data and articulate[d] a satisfactory explanation for its action including a rational
connection between the facts found and the choice made.” Alpharma, Inc. v. Leavitt, 460 F.3d 1,
6 (D.C. Cir. 2006).

       1.      NEPA

        Congress enacted NEPA more than four decades ago “[t]o declare a national policy
which will encourage productive and enjoyable harmony between man and his environment; to
promote efforts which will prevent or eliminate damage to the environment . . . .” 42 U.S.C. §
4321. In light of this mandate, the Supreme Court has reasoned that NEPA is “intended to reduce
or eliminate environmental damage and to promote ‘the understanding of the ecological systems
and natural resources important to’ the United States.” Dep’t of Transp. v. Pub. Citizen, 541 U.S.
752, 756 (2004) (quoting 42 U.S.C. § 4321).

        In achieving NEPA’s substantive goals, Congress created two specific mechanisms
whereby federal agencies must evaluate the environmental and related impacts of a particular
federal action—an EA and an EIS. See 42 U.S.C. § 4332(c). These procedural mechanisms are
designed to inject environmental considerations “in the agency decisionmaking process itself,”
and to “‘help public officials make decisions that are based on understanding of environmental
consequences, and take actions that protect, restore, and enhance the environment.’” Pub.
Citizen, 541 U.S. at 768-69 (emphasis added) (quoting 40 C.F.R. § 1500.1(c)). Therefore,
“NEPA’s core focus [is] on improving agency decisionmaking,” Pub. Citizen, 541 U.S. at 769
n.2, and specifically on ensuring that agencies take a “hard look” at potential environmental
impacts and environmentally enhancing alternatives “as part of the agency’s process of deciding
whether to pursue a particular federal action.” Baltimore Gas and Elec. Co. v. Natural Res. Def.
Council, 462 U.S. 87, 100 (1983).

       The alternatives analysis “is the heart” of an EIS or EA. 40 C.F.R. § 1502.14. NEPA’s
implementing regulations require that the decisionmaking agency “present the environmental
impacts of the proposal and the alternatives in comparative form, thus sharply defining the issues
and providing a clear basis for choice among options by the decisionmaker and the public.” Id.
Importantly, the NEPA process “shall serve as the means of assessing the environmental impact
of proposed agency actions, rather than justifying decisions already made.” 40 C.F.R. §
1502.2(g) (emphasis added); see also id. § 1502.5 (requiring that NEPA review “shall be
prepared early enough so that it can serve practically as an important contribution to the



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decisionmaking process and will not be used to rationalize or justify decisions already made”
(emphases added)).

         An EIS must be prepared by an agency for every “major Federal action significantly
affecting the quality of the human environment.” 42 U.S.C. § 4332(c). Under NEPA’s
implementing regulations, “significance” requires consideration of both context and intensity.
“Context” considerations include the affected region, interests, and locality, varying with the
setting of the action, and include both short and long-term effects. “Intensity” refers to the
severity of impact, including impacts that may be both beneficial and adverse; unique
characteristics of the geographic area, such as proximity to wetlands, wild and scenic rivers, or
ecologically critical areas; the degree to which the effects on the quality of the human
environment are likely to be highly controversial; the degree to which the action may establish a
precedent for future actions with significant effects or represents a decision in principle about a
future consideration; whether the action is related to other actions with individually insignificant
but cumulatively significant impacts; the degree to which the action may adversely affect an
endangered or threatened species or its habitat that has been determined to be critical under the
Endangered Species Act; and whether the action threatens a violation of federal law imposed for
the protection of the environment. See 40 C.F.R. § 1508.27. Where an action is not expected to
result in a significant environmental impact, the agency must still prepare an EA and a FONSI.
Id. §§ 1508.9, 1501.3.

       2.      ESA

        The ESA “represent[s] the most comprehensive legislation for the preservation of
endangered species ever enacted by any nation.” Tenn. Valley Auth. v. Hill, 437 U.S. 153, 180
(1978). Section 9 of the ESA prohibits any “person” from “taking” any member of an
endangered or threatened species. 16 U.S.C. § 1538(a). Pursuant to Section 7 of the ESA, before
undertaking any action that may have direct or indirect effects on any listed species, an action
agency must engage in consultation with the FWS in order to evaluate the impact of the proposed
action. See id. § 1536(a). The FWS has defined the term “action” for the purposes of Section 7
broadly to mean “all activities or programs of any kind authorized, funded, or carried out, in
whole or in part, by Federal agencies,” 50 C.F.R. § 402.02, “in which there is discretionary
federal involvement or control.” Id. § 402.03. An agency may only avoid this consultation
requirement for a proposed action if it determines that its action will have “no effect” on
threatened or endangered species or critical habitat. Id. § 402.14(a). 1



1
  The term “take” is defined broadly to include “harass, harm, pursue, hunt, shoot, wound, kill,
trap, capture, or collect.” Id. § 1532(19). FWS has further defined “harass” to include “an
intentional or negligent act or omission which creates the likelihood of injury to wildlife by
annoying it to such an extent as to significantly disrupt normal behavioral patterns, including
breeding, feeding, or sheltering.” 50 C.F.R. § 17.3. In addition, “harm” is defined to “include
significant habitat modification or degradation where it actually kills or injures wildlife by
significantly impairing essential behavioral patterns, including breeding, feeding or sheltering.”
Id.


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B.     Factual Background

       1.      Brief History of Wetland Conservation in the Farm Bill

        Wetlands are among “the most dynamic habitats in the world,” and “provide essential
ecological functions and values that significantly benefit society.” U.S. Dep’t of Agric. Off. Of
the Inspector Gen., NRCS: Wetland Conservation Provisions in the Prairie Pothole Region 1
(Jan. 2017) (Attach. A). These functions include nutrient cycling, water filtration and
purification, nutrient sinks, and water storage. Id. Despite the myriad benefits and significant
economic value of wetlands, over half of the wetlands that existed in the coterminous United
States in 1600—approximately 221 million acres—were drained or filled for development or
agriculture by 1984. Id. By 2004, only an estimated 107.7 million acres of wetlands remained in
the coterminous United States. Id.

        Serious concerns over the continued destruction and degradation of wetland habitat due
to agricultural practices led Congress to take definitive action to protect agricultural wetlands in
the Food Security Act of 1985 (“Food Security Act”). See Food Security Act of 1985, sec. 1221,
Pub. L. 99-198, 99 Stat 1354 (Dec. 23, 1985). These “wetland conservation provisions,” as
amended, make participation in, or payments from, most United States Department of
Agriculture (“USDA”) benefit programs contingent upon the conservation of wetlands. 16
U.S.C. § 3822; see also Megan Stubbs, Cong. Res. Serv., Conservation Compliance and U.S.
Farm Policy 5-6 (2016) (“As it exists today, conservation compliance applies to most farm
program payments, loans, or other benefits administered by . . . NRCS”). Accordingly, producers
who fill wetlands for agricultural production may not participate in, or receive payments from,
these USDA programs. Attach. A at 2. 2

        Congress renewed protections for agricultural wetlands in subsequent “Farm Bills”
passed in 1990, 1996, 2002, 2008, 2014, and 2018, affirming the importance of wetland
conservation to the administration of USDA benefits, and repeatedly expressing Congress’s
intent to continue and improve the conservation program. Attach. A at 6; Agriculture
Improvement Act of 2018, Pub. L. 115-334, § 2102, 132 Stat. 4490, 4530 (codified at 16 U.S.C.
§ 3822) [hereinafter “2018 Farm Bill]. Particularly relevant here, NRCS is responsible for
making the technical determinations required to administer the wetland conservation provisions
and ensure compliance, including whether land is a wetland, whether certain technical
exemptions apply, and whether an improper wetland conversion has occurred. 3



2
 Benefits affected by conservation compliance include Marketing Assistance Loans, ad hoc
disaster assistance programs, Emergency Assistance for Livestock, Honey Bees, and Farm-raised
Fish, Livestock Indemnity Program, Farm Services Agency Farm Operating Loans, Emergency
Disaster Loans, Federal crop insurance premium subsidies, and the Watershed Protection and
Flood Prevention program. See Megan Stubbs, supra, at 6.
3
 A second agency within the USDA, the Farm Services Agency, makes determinations
concerning producers’ eligibility for Farm Bill programs administered by USDA. Attach. A at 2.


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       2.      Brief History of Wetland Determinations under the Wetland Conservation
               Provisions, as Amended

        After the enactment of the Food Security Act, state-level NRCS offices developed
mapping conventions for off-site wetlands determinations on agricultural lands. See Comm. On
Characterization of Wetlands, Nat’l Res. Council, Wetlands: Characteristics and Boundaries
193 (1995). To improve the administration of the wetland conservation program, Congress
amended the 1985 Food Security Act in 1990. The amendments directed NRCS to create wetland
delineation maps, and establish a certification and appeals process. Food, Agriculture,
Conservation, and Trade Act of 1990, § 1422, Pub. L. 101-624, 104 Stat. 3359 (Nov. 28, 1990)
(“1990 Farm Bill”). Controversy and issues with inaccurate determinations continued, see
Jeffrey A. Zinn & Claudia Copeland, CRS Issue Brief for Congress: Wetland Issues 9 (Sept. 1,
2000), so in 1996, Congress again amended the wetland conservation provisions to combine the
delineation and certification processes, requiring that NRCS to “delineate, determine, and certify
all wetlands located on subject land on a farm.” See Federal Agriculture Improvement and
Reform Act of 1996 (1996 Farm Bill), Pub. L. 104-127, § 322(a), 110 Stat. 888 (Apr. 4, 1996)
(codified as amended at 16 U.S.C. § 3822) (“1996 Farm Bill”) (emphasis added). Critically,
Congress intended for the 1996 Farm Bill to require greater methodological rigor and substantive
accuracy in wetlands certifications in order to correct NRCS’s prior failure to accurately identify
wetlands. See, e.g., NRCS, Wetland Information for USDA Participants Fact Sheet (undated)
(acknowledging that the 1996 Farm Bill was enacted because “Congress decided that the
inventory maps” NRCS used to make the wetlands determinations prior to 1996, “while
providing good information, were not completely accurate”); see also Attach. A at 3, n.23
(same).

        Pursuant to the 1996 Farm Bill, NRCS increased the rigor of its wetlands certification
process. With respect to wetlands determinations made between 1990 and 1996, NRCS’s
published policy was that such determinations were only considered certified if they met both
“the procedural (appeal rights) and quality mandates as provided in 7 CFR Section 12.” See §
514.1(A) (5th ed. 2010) (emphasis added). However, pre-1996 wetland determinations were
often based solely on the wetland inventory maps that Congress had rejected as insufficient to
determine eligibility for benefits under the Farm Bill. See Attach. A at 4 n.24. Thus, NRCS
circulated several fact sheets alerting producers that “most wetland determinations completed
prior to July 3, 1996 [were] not considered certified and therefore may not be valid for
determining compliance with wetland conservation provisions.” NRCS, Wetland Information for
USDA Participants Fact Sheet (undated); see also Attach. A at 3 n.23 (reporting same). The
agency has never previously proposed to accept as certified wetland determinations made prior
to 1996. In fact, Congress specifically rejected proposed amendments to both the 2014 and 2018
Farm Bills that would have allowed the certification of pre-1996 wetland determinations. See
Steve Davies, Farmers, Enviros Alarmed by USDA’s New Wetlands Rules, AgriPulse, Jan. 23,
2019, available at www.agri-pulse.com/articles/11831-producers-enviros-keep-close-eye-on-
swampbuster-changes (Attach. B).

        In 2013, the Secretary of Agriculture signed a Decision Memorandum (“2013
Memorandum”) prepared by NRCS that proposed changes to the agency’s wetland determination
policy. USDA, Summary of Proposed Wetland Conservation Compliance Changes and

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Clarifications (Feb. 12, 2013) (Attach. C). One such change was to permit the NRCS to accept
pre-1996 determinations as certified, even without evidence that the delineation maps met the
quality mandates required by the 1996 regulations and set forth in the Food Security Act Manual
(“FSA Manual”). The document allowed the NRCS to begin implementing the proposed changes
and clarifications “through a combination of rulemaking and preamble discussion, public notice,
and administrative updates to the [FSA Manual].” Attach. A at 4. Shortly thereafter, the NRCS
held a summit with agency officials from the four prairie pothole region states and the Regional
Conservationist, and through meeting notes distributed to all attendees “instructed the States to
implement [the changes in the 2013 Memorandum] while the new regulations and policies were
developed.” Id. at 4-5 (emphasis added). The notes also specifically instructed states to not issue
any written guidance. Id. at 5.

        Shortly after the passage of the 2014 Farm Bill, the NRCS abandoned its efforts to
implement the policies recommended by the 2013 Memorandum through rulemaking and public
notice, citing the controversy that would arise should the agency “make any changes other than
those needed to recouple federal crop insurance benefits to conservation compliance in order to
not place in jeopardy the alliance between environmental and agricultural interests to support the
statutory change.” Attach. A at 4. However, the NRCS officials in the prairie pothole states
continued to follow the 2013 Memorandum. Id. at 9. Other states were not aware of, and
therefore did not follow, the policy change. Id. at 9. Farm Services Agency officials were also
unaware of the shift, and were reportedly “shocked that NRCS would use the determinations
from the 1990s, as they regarded the older maps as of poor quality and not certified.” Id. at 9-10.

        In sum, NRCS’s published policy with respect to wetland determinations issued between
1990 and 1996 remained consistent until 2013, when it issued secret instructions to staff in
Minnesota, South Dakota, North Dakota, and Iowa—i.e., the “prairie pothole” states—to begin
accepting as certified wetland determinations made during that interim, even without evidence
that procedural appeal rights and quality mandates had been met. Attach. A at 4.

        In March 2014, the Office of the Inspector General received a complaint alleging that the
wetland determinations resulting from the 2013 change in policy were “unethical,” “fraudulent,”
“illegal,” and “against the appeals of the National Appeals Division.” Attach. A at 7. The OIG
Report, issued in January 2017, concluded that the agency’s shift in the implementation of its
policy merely replaced its backlog of pending determinations with inaccurate determinations,
and recommended that NRCS issue “official guidance reinforcing current rules and clarifying
procedures for making wetlands determinations and certifications.” Attach. A at 10. However,
far from rectifying the inconsistencies in policy, two days after the report was published, NRCS
issued an “Amendment” to the National Food Security Act Manual formalizing, without
explanation, the post-2013 approach to addressing pre-1996 determinations and applying that
policy nationwide. See Memorandum from NRCS Headquarters, to NRCS State Conservationists
and Directors (Jan. 19, 2017) (Attach. D). In short, rather than correcting its failure to rigorously
evaluate wetlands certifications in the prairie pothole states, NRCS adopted a manual change that
expanded its unlawful and inaccurate wetlands certification process nationwide. 4


4
 NRCS’s use of a manual update to implement this change was also unlawful. NRCS itself had
previously recognized that this change would require rulemaking, in part because of the intensely
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       3. Interim Rule

        Now, with today’s truncated regulatory process, NRCS seeks to make official what it has
been attempting to do in secret for the past five years—accept inaccurate wetland determinations
as sufficient for the purposes of the wetland conservation program. Based upon the information
available, NRCS’s interim rule is contrary to the very purposes of the wetland conservation
provisions, and threatens to hasten the destruction and degradation of agricultural wetlands. By
proceeding to issue its interim rule without preparing an EIS or engaging in the required Section
7 consultation under the ESA, the agency has enacted this policy in violation of those vitally
important federal environmental statutes and will risk incurring serious legal liability.

        Shortly before issuing its interim rule—which became effective immediately on
publication, see 16 U.S.C. § 3846(b)(2) (providing that interim rules implementing the wetland
conservation program are “effective on publication with an opportunity for notice and
comment”)—NRCS notified selected stakeholders of its intent to implement significant changes
to the wetland conservation provisions by way of an email inviting their participation in a
stakeholder meeting scheduled to take place only one week after the email was received. The
invitation did not contain any draft language that would have been useful to developing robust
comments and fostering meaningful public participation before the publication of the interim
rule. However, in a presentation accompanying the emailed invitation, NRCS summarized the
changes that it would be proposing. Several of those changes—particularly those proposing to
allow producers to rely on pre-1996 “official” determinations to demonstrate compliance with
the wetland conservation provisions, see Attach. E at 16-19—are precisely the changes that
NRCS issued as secret instructions in 2013, see Attach. A at 4-5, 9; Attach. C.

        NWF attended the stakeholder meeting and submitted written comments, which are
incorporated by reference herein. See Attach. F (“NWF’s Preliminary Comments”). On January
7, 2019, NRCS published its proposed changes to the wetland conservation provisions as an
interim rule, effective upon publication, with a request for comments. See Highly Erodible Land
and Wetland Conservation, 83 Fed. Reg. 63,046 (Dec. 7, 2018). The interim rule was
accompanied by an EA. There is no indication that NRCS ever consulted with the U.S. Fish and
Wildlife Service under the ESA, either formally or informally. Nor does the interim rule candidly
state how NRCS will treat pre-1996 “official” determinations. This is particularly concerning
because the 2013 internal memorandum originally proposing these changes noted that
“[a]dministrative guidance will be developed” to allow producers “to either accept their [pre-
1996] determination as certified or request a new certified determination.” Attach. C at 3. The
interim rule fails to foreclose this possibility, apparently leaving NRCS with the option of
formalizing through administrative guidance a highly controversial change in policy that the
agency itself previously stated would require a rulemaking proceeding, that is in direct


controversial nature of the agency’s action. See Attach. A at 4 (noting that the USDA Secretary
signed a Decision Memorandum in 2013 (Attach. C) allowing the agency to proceed with a
rulemaking to implement the same changes NRCS now proposes to make with its interim rule,
but the agency abandoned the effort in 2014, deeming it “too controversial”); see also Attach. C
at 1-3 (acknowledging changes that must be made via rulemaking—these very same changes
NRCS now proposes to implement in its interim rule).
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contravention to Congress’s longstanding and well-documented intent to improve the accuracy
of wetland determinations, and even worse, without the robust public participation and review
that should accompany such a significant shift in agency policy and practice.

       NWF reminds NRCS that even though comments may be submitted post-promulgation,
NRCS still “must respond in a reasoned manner” to comments that “raise significant problems.”
Am. Coll. Of Emergency Physicians v. Price, 264 F. Supp. 3d 83, 94 (D.D.C. 2017) (quoting City
of Waukesha v. EPA, 320 F.3d 228, 257 (D.C. Cir. 2003)) (discussing agency’s obligation to
respond to comments on interim rules). Should NRCS fail to do so, its action will be arbitrary
and capricious. Id.

       NRCS’s duty to meaningfully respond to comments is only heightened by the fact that,
based upon the information presently available, the proposed regulatory changes to the wetland
conservation program suffer from several serious substantive and procedural flaws. First,
NRCS’s proposal is contrary to Congressional intent, and thus, is arbitrary and capricious.
Second, as discussed infra, Parts II and III, NRCS has failed to comply with NEPA and the ESA.

                                          DISCUSSION

I.     NRCS’s Proposed Regulatory Action Suffers from Serious Substantive Deficiencies
       that Must be Corrected.

       A.      NRCS Must Clarify its Policy Regarding Pre-1996 “Official”
               Determinations.

        NRCS’s administration of the wetland conservation provisions has long been mired in
controversy. As a result, NRCS has a well-documented history of subverting both congressional
intent and public participation in its implementation of the certification procedures for wetlands
determinations. See, e.g., Attach. A at 8-9 (describing how NRCS implemented a policy that
significantly altered the administration of the wetland conservation provisions through unwritten
instructions that were not subjected to public review and comment); Attach. C. In response to a
growing backlog of wetland certification requests, in 2013, NRCS began to explore ways to
accept as certified pre-1996 wetlands determinations for which appeal rights were not given,
without any supporting evidence of their accuracy. Despite its determination that such a change
could only be made by regulation, NRCS issued a secret memorandum to staff in the prairie
pothole states that directed the offices to implement the changes in secret. See Attach. A. at 9.
After the OIG found that NRCS’s actions amounted to a significant change in policy that was
never subjected to public review, and further, merely “replaced [the] backlog of pending
determinations with inaccurate determinations,” Attach. A at 10, NRCS initiated several actions,
including amending the FSA Manual and promulgating this interim rule, under the pretext of
providing “clarity” to the certification process. However, as demonstrated below, NRCS’s
interim rule disingenuously fails to provide clarity on the very issue that provided the impetus for
this rulemaking, namely, the status of pre-1996 official determinations that were not certified.

        As an initial matter, any action to accept as certified the very pre-1996 inventory maps
that inspired Congress to amend the wetland conservation provisions to strengthen the

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certification procedures is contrary to the clearly-expressed intent of Congress and as such, must
fail. In the 1996 Farm Bill, Congress recognized that the “inventory maps” NRCS had been
relying upon to make wetlands determinations, “while providing good information, were not
completely accurate,” see, e.g., NRCS, Wetland Information for USDA Participants Fact Sheet
(undated) (Attach. G); see also Attach. A at 3 n.23, and that as a result, the administration of the
wetland conservation program was becoming increasingly controversial. Accordingly, the 1996
Farm Bill amended the wetland conservation provisions to require that all determinations be
certified. See Federal Agriculture Improvement and Reform Act of 1996 (1996 Farm Bill), Pub.
L. 104-127, § 322(a), 110 Stat. 888 (Apr. 4, 1996) (codified as amended at 16 U.S.C. § 3822). To
make these new certified determinations, after 1996 NRCS relied on a “system of internal
controls,” set forth in the FSA Manual that ensured the quality and accuracy of wetland
determinations, including the use of new technologies and both off-site and on-site evaluations.
Attach. A at 6-7. Congress also provided that only those actions taken based on previous
certified determinations would be exempt from adverse agency action under a safe harbor
provision. See 16 U.S.C. § 3822(a)(6). Actions taken based upon a previous “final” or “official”
determination were not so exempted. 5 The legislative history of the 1996 Farm Bill reveals that
this omission was intentional. By providing a “safe harbor” only to those producers that had
relied on a “certified” wetland determination, Congress balanced its concern about inaccurate
wetland determinations with the producers’ interest in certainty. 6 142 Cong. Rec. S4420. Thus,
as NRCS has repeatedly stated in various fora over the years, 7 with the amendments to the
wetland conservation provisions in the 1996 Farm Bill, Congress clearly intended that previous
determinations be replaced with accurate certified wetland determinations.

       Most significantly, Congress not only considered, but expressly rejected amendments to
both the 2014 and the 2018 Farm Bills that would have allowed NRCS to consider pre-1996
determinations as certified. See Attach. B. “Congress’ rejection of the very language that would


5
  NRCS itself also conducted “many internal studies” that revealed that pre-1996 determinations
were not sufficiently accurate to be considered certified, i.e., they failed to comply with the
statutory requirement that wetland delineation maps be “sufficient for the purpose of making
determinations of ineligibility for program benefits.” Attach. A at 3. Additionally, NRCS
expressed concern that producer files lacked evidence that producers had been notified of their
appeal rights, which was a required element of “certification.” Id.
6
  Moreover, the legislative history reveals that the USDA itself requested that the statutory
language be altered to exempt only previous certified wetland determinations from review. 142
Cong. Rec. S4420. NRCS cannot now seek to change the meaning of the statute it helped write.
7
  See, e.g., NRCS, USDA, 1996 Farm Bill Summary: Conservation Provisions 3 (April 1996)
(reporting that the 1996 Farm Bill “[r]equires wetland determinations to be certified by [the]
NRCS. Previous wetland determinations will be certified to verify their accuracy”); NRCS,
USDA, Wetland Information for USDA Participants: Fact Sheet (Standardized Brochures,
various states) (undated) (reporting that “[i]n the 1996 Farm Bill, Congress decided that the
inventory maps . . . were not completely accurate and since then these inventory maps have been
in the process of being replaced by certified wetland determinations”).


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have achieved the result [NRCS] urges weighs heavily against the [NRCS’s] interpretation.”
Hamdan v. Rumsfeld, 548 U.S. 557, 579 (2006).

         As discussed in detail in NWF’s Preliminary Comments, many organizations,
individuals, and even agency staff have long expressed concerns about the impacts of
implementing such a policy nationwide—chiefly, the continued loss and degradation of
agricultural wetlands that Congress had sought to prevent in enacting the wetland conservation
provisions. See Attach. F. Now, under the guise of “transparency,” NRCS’s interim rule only
further muddies the waters. Due to the timing and substance of the interim rule, it is clearly a
direct response to the highly critical OIG Report released in January 2017, in which the OIG
identified significant problems with NRCS’s implementation of the wetland conservation
provisions. 8 Yet, neither the interim rule, nor the EA accompanying it, even mention the OIG
Report or its findings. Nor does the rule clarify how NRCS will treat pre-1996 “official”
determinations that lack documentation of appeal rights or supporting documentation of their
accuracy—the precise policy that was at issue in the OIG Report. It is disingenuous for NRCS to
claim that its interim rule provides “transparency,” see 83 Fed. Reg. at 63,047, when it utterly
fails to address the very concerns that inspired the agency to issue it.

        To the contrary, those concerns are only amplified by the text of the interim rule, or more
precisely, what the text leaves open. The interim rule restates NRCS’s established policy that
pre-1996 determinations are considered certified if “the person was notified that the
determination had been certified, and the map document was of sufficient quality to determine
ineligibility for program benefits.” 83 Fed. Reg. at 63,052. However, it does not require that the
producer have been given notice of his appeal rights when he was issued the determination.
Moreover, it defines “sufficient quality to determine ineligibility for program benefits” to require
that the map document “be legible to the extent that areas that are determined wetland[s] can be
discerned in relation to other ground features.” Id. Thus, nothing in the interim rule restricts
NRCS from issuing guidance permitting the agency to accept as certified the very pre-1996
determinations both Congress and the agency rejected as too inaccurate to determine eligibility
for benefits, as long as the map documents are “legible” and the producer was belatedly issued
appeal rights. 9 See id. at 63,051-52.


8
   Specifically, the OIG found that “NRCS made significant changes in its process for wetland
determinations that allowed producers to drain and farm more wetlands” by accepting as
certified the very pre-1996 wetland inventory maps as certified wetlands determinations that had
inspired Congress to amend the wetland conservation provisions in the 1996 Farm Bill, and that
“[t]he process for making this change was not carried out in a transparent manner.” Attach. A at
i.
9
  In fact, at another point, the interim rule reveals that NRCS anticipates reviewing and certifying
previously issued wetland determinations. Indeed, when setting forth the procedures for
identifying the presence of wetland hydrology—one of the three essential characteristics of a
wetland—the rule provides that the “determination of wetland hydrology will be made in
accordance with the current Federal wetland delineation methodology in use by NRCS at the
time of the determination.” 83 Fed. Reg. at 63,052. Determinations issued after 1996 are
considered “certified” and are not subject to review. See 16 U.S.C. § 3822; 7 C.F.R. §
                                                10
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         NRCS’s initial proposal for the interim rule renders NRCS’s failure to explicitly address
its treatment of pre-1996 “official” determinations particularly glaring. NRCS initially proposed
amending the regulations to allow producers to rely on “official” determinations issued between
1985 and 1990 for a two-year “sunset clause,” provided the producer doesn’t drain “obvious
wetlands.” Attach. E at 16. The proposal also recommended that for “official” determinations
made between 1991 and 1996 for which documentation of appeal rights could not be produced,
NRCS allow producers to “self-certify” that they had received appeal rights, after which the
official determination would be considered certified. See id. at 18-19. Even where the producer
did not certify that it had received appeal rights, NRCS proposed to accept the official
determination as certified without any supporting evidence of its accuracy, unless the producer
requested a new determination. See id. at 18-19.

        Now, in the interim rule, NRCS omits any reference to these recommendations, and
instead adopts vague language that, far from offering “clarity,” see 83 Fed. Reg. at 63,050,
leaves open an avenue for the agency to adopt, without any public involvement, the precise
practice that was soundly criticized by the OIG—i.e., accepting as certified the very pre-1996
determinations that inspired Congress to amend the Food Security Act to add increasingly
stringent requirements for accuracy. As explained in NWF’s Preliminary Comments, see Attach.
F, to the extent that NRCS is considering implementing changes that would allow the agency to
accept as certified pre-1996 wetland determinations without additional evidence of their
accuracy or that appeal rights were given at the time the determination was made (e.g., by
augmenting the interim rule with additional administrative guidance), such a policy would
contravene Congress’ clear intent, and as such, would necessarily fail. See Amalgamated Transit
Union v. Skinner, 894 F.2d 1362, 1368 (D.C. Cir. 1990) (providing that Congress’ “intention is
the law and must be given effect” (quotation omitted)). Such a policy would also represent a
significant reversal of prior agency practice, see Attach. A at 6, 10, and accordingly, could not be
implemented without a robust explanation to ensure that there is a “rational connection between
the facts found and the choice made.” Motor Veh. Mfrs. Ass'n v. State Farm Mut. Auto. Ins. Co.,
463 U.S. 29, 43 (1983); Fed. Commc’ns Comm’n v. Fox Television Stations, Inc., 556 U.S. 502,
515 (2009) (providing that while agencies are free to change their existing policies, they must, at
a minimum “display awareness that it is changing position” and “show that there are good
reasons for the new policy”). Significantly, such an explanation is decidedly lacking here.

        To the contrary, NRCS insists that its policy regarding pre-1996 determinations has
remained consistent since 2010. See Attach. D at 2; EA at 5 (insisting that “the clarifying
language in th[e] [interim] rule does not change in any way how NRCS administers the certified
wetland determination portion of the [wetland conservation] provision, the regulatory basis for
certified wetland determinations, nor how such determinations are considered certified as a
matter of law”). However, the OIG unequivocally determined that NRCS in fact implemented a


12.30(c)(1). Pre-1996 determinations that were “certified” remain so, and are also not subject to
review. See 16 U.S.C. § 3822(a)(4). Thus, the only time NRCS would need to apply the “wetland
delineation methodology in use . . . at the time of the determination,” 83 Fed. Reg. at 63,052, is
where the agency reviews wetland determinations, and the only wetland determinations
theoretically subject to review are the “official” determinations issued prior to 1996.
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significant change in its certification procedures in the prairie pothole states in 2013. See Attach.
A at 6 (finding that “NRCS Changed its Wetland Determination Process Contradicting Its Prior
Implementation of Policy and Practice); id. at 10 (finding that “[b]y making this change in the
implementation of policy, NRCS replaced its backlog of pending determinations with inaccurate
determinations”). In the interim rule, NRCS failed to even acknowledge this finding, and thus,
failed to fulfill its basic obligation under administrative law principles to “display awareness that
it is changing position.” Fox Television, 556 U.S. at 515.

        Relatedly, even while NRCS continued to insist that its practices regarding the
certification status of pre-1996 wetland determinations has remained consistent, the agency
paradoxically conceded that the rule was needed to “improv[e] the consistency of how the
conservation compliance provisions are implemented.” EA at 3. NRCS thus reaffirmed its
previous statements that there has been “inconsistent application of wetland certification policy”
that has yet to be resolved. See Attach. A at 19. However, the interim rule fails to elaborate not
only on what the inconsistent policy applications have been, but also on how the interim rule will
resolve them. As a result, the interim rule omits what is arguably its most essential piece—i.e.,
an explicit policy regarding the certification status of pre-1996 wetland determinations to be
uniformly applied across states—particularly considering the interim rule’s express purposes to
provide clarity and improve consistency. This is particularly troubling in light of the fact that the
“considerable confusion” surrounding the certification of pre-1996 wetland maps served as the
major impetus for this rulemaking effort. See Attach. D at 2. Thus, the interim rule represents at
best, an arbitrary and capricious failure to acknowledge and correct the rampant inconsistencies
that have plagued NRCS’s implementation of the wetland conservation provisions, see Encino
Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2126 (2016) (providing that unexplained
inconsistencies in agency position are arbitrary and capricious and therefore unlawful), and at
worst, a deliberate attempt to further conceal NRCS’s practices from the public eye.

        In sum, although purporting to provide clarity regarding NRCS’s treatments of pre-1996
determinations, the 2019 Interim Rule continues to obscure a fundamental piece of the agency’s
implementation of the wetland conservation provisions—namely, how NRCS plans to comply
with its statutory duty to ensure the accuracy of wetland determinations. While NWF is generally
supportive of efforts to provide transparency to the public concerning the procedures it uses to
make wetlands determinations, when placed within the context of NRCS’s past actions
concerning wetlands compliance, the interim rule fails to achieve this goal. To the contrary, the
interim rule only further obfuscates NRCS’s policies for certifying wetlands determinations.
Particularly in light of NRCS’s well-documented history of attempting to do in secret what
would be “too controversial” to do through an open, procedurally valid administrative process,
see Attach. A at 4 (reporting that NRCS declined to move forward with implementing the 2013
Memorandum through a rulemaking after deeming the proposed changes “too controversial”),
NRCS must explicitly clarify how it will treat pre-1996 “official” determinations that do not
meet procedural or quality mandates. Moreover, to the extent that NRCS’s proposed policy
regarding such determinations alters its currently stated policy, NRCS must provide the public an
opportunity to comment. See 5 U.S.C. § 553; Nat'l Family Planning & Reprod. Health Ass'n v.
Sullivan, 979 F.2d 227, 237 (D.C. Cir. 1992) (providing that regardless of an agency’s
characterization, rules that “effect[] a change in existing law or policy” constitute legislative
rules that must go through notice and comment rulemaking (quotation omitted)).

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       B.      NRCS Must Replace Pre-1996 Official Determinations With New Certified
               Determinations Using Current Wetland Delineation Methodologies.

        In the 2017 Amendment to the FSA Manual, NRCS declared for the first time that pre-
1996 wetland determinations would be reviewed according to the Federal wetland delineation
methodology in use by NRCS at the time of the determination.” 2017 Amendment at 2. This
change appears to have been carried over into the interim rule, where it is buried in the provision
regarding the determination of wetland hydrology. Specifically, NRCS provides that the
“determination of wetland hydrology will be made in accordance with the current Federal
wetland delineation methodology in use by NRCS at the time of the determination.” 83 Fed. Reg.
at 63,052 (emphasis added). This provision is contrary to the plain language and Congressional
intent of the 1996 Farm Bill, and must be omitted from the final rule.

        As discussed above, NRCS cannot, consistent with the 1996 Farm Bill, accept as certified
the very pre-1996 wetland maps that inspired Congress to amend the Farm Bill to strengthen the
wetland determination and certification procedures. To the contrary, such wetland determinations
are only considered “certified” if they met the procedural and quality mandates when they were
issued. With the 1996 Farm Bill amendments, Congress balanced its concern with providing
certainty to producers with its desire to ensure the accuracy of determinations by providing a
“safe harbor” only to those producers that took an action relying on a previously issued certified
determination. See 142 Cong. Rec. S4420. NRCS itself supported this legislative change. Id.
Thus, it is no surprise that NRCS’s own statements in various fora over the years evince its
understanding that, with the amendments to the wetland conservation provisions in the 1996
Farm Bill, Congress clearly intended that previous determinations be replaced with accurate
certified wetland determinations. 10

        Accordingly, NRCS’s assertion that determinations made prior to 1996 are subject to the
statutory and regulatory provisions in place at the time has no foundation in the statute. Congress
knows how to exempt actions taken before a certain date from amended provisions—the 1996
Farm Bill is replete with examples. NRCS cannot read into the statute what is not there.

        The Farm Bill dictates that where the determination is considered certified, NRCS lacks
the discretion to review it regardless of when it was issued. See 16 U.S.C. § 3822(a)(6).
However, where the pre-1996 determination is not considered certified, consistent with
Congress’s intent in amending the Farm Bill to ensure the accuracy of wetlands determinations,
NRCS must issue a new determination that complies with the quality mandates that are presently


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   See, e.g., NRCS, USDA, 1996 Farm Bill Summary: Conservation Provisions 3 (April 1996)
(reporting that the 1996 Farm Bill “[r]equires wetland determinations to be certified by [the]
NRCS. Previous wetland determinations will be certified to verify their accuracy”); NRCS,
USDA, Wetland Information for USDA Participants: Fact Sheet (Standardized Brochures,
various states) (undated) (reporting that “[i]n the 1996 Farm Bill, Congress decided that the
inventory maps . . . were not completely accurate and since then these inventory maps have been
in the process of being replaced by certified wetland determinations”).


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in force. There are simply no circumstances, consistent with the statute, under which NRCS
could use outdated wetland delineation methods to review and certify an old determination.
NRCS must remove the provision from its final interim rule, and instead make clear that
determinations of wetland hydrology will be made in accordance with the wetland delineation
methodology currently in use by NRCS.

        Moreover, any attempt to review wetland determinations using outdated methodologies
represents a significant—and as yet unexplained—departure from past practice. Although NRCS
considers the interim rule to be a mere clarification of existing policy, NRCS’s own
contemporaneous statements made when promulgating its own regulations implementing the
1996 Farm Bill demonstrate that the agency understood its statutory mandate to require a review
of previous wetland determinations to ensure their “accuracy.” See, e.g., 61 Fed. Reg. at 47,025
(noting that NRCS was “considering establishing a specific time frame for completing the
evaluation of existing wetland determinations”); see also NRCS, USDA, 1996 Farm Bill
Summary: Conservation Provisions 3 (April 1996) (reporting that the 1996 Farm Bill “[r]equires
wetland determinations to be certified by [the] NRCS. Previous wetland determinations will be
certified to verify their accuracy”). Thus, at the bare minimum, NRCS must offer a robust
explanation for its actions to ensure that there is a “rational connection between the facts found
and the choice made.” State Farm, 463 U.S. 29, 43 (1983); Fox Television Stations, Inc., 556
U.S. at 515 (providing that while agencies are free to change their existing policies, they must, at
a minimum “display awareness that it is changing position” and “show that there are good
reasons for the new policy”).

       C.      Although The Interim Rule And EA Fail To Provide The Public With
               Sufficient Information To Offer Meaningful Comment, NWF Makes The
               Following General Comments Based On The Information That Is Available.

        As discussed below, NRCS’s EA fails to provide the public with the environmental
information necessary to weigh in with their views and inform the agency decisionmaking
process. See Ctr. for Biological Diversity v. Gould (“Gould”), 150 F. Supp. 3d 1170, 1183 (E.D.
Cal. 2015) (holding that the Forest Service failed to provide adequate pre-decisional opportunity
for public comment when its EA failed to include information vital to understanding the
agency’s action, such as the maps the Service relied upon, and the analysis underlying the
agency action). Had NRCS issued a legally adequate NEPA document that objectively
considered alternatives and analyzed and disclosed the environmental consequences of the
interim rule, NWF “would have been able to submit a more complete comment.” Id. at 1082.
Consequently, in accordance with the basic NEPA principles regarding public participation and
informed decisionmaking, and for the additional reasons set forth below, NRCS must withdraw
its EA to correct the serious flaws in its analysis.

         Moreover, as discussed above and outlined in more detail below, NRCS’s interim rule
fails to effectuate Congress’s intent to preserve agricultural wetlands by, e.g., permitting the
certification of inaccurate pre-1996 wetland determinations, failing to require the use of best
available methods for wetland delineation, and redefining terms to allow for the manipulation of
wetland determinations. This failure is particularly concerning because the interim rule is



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already effective. Thus, the agency must immediately withdraw the interim rule and correct the
serious deficiencies highlighted by these comments.

       NWF nevertheless offers the following preliminary substantive comments on the EA and
interim rule:

           •   Interim Rule Amendments to 7 C.F.R. §§ 12.2(a), .31(c); Best Drained
               Condition: NWF appreciates the clarification by rule of this longstanding concept
               that has been difficult to consistently apply in the field. The agency’s codification
               of this term should also set a standard for credible and consistent documented
               evidence of the on-going (not abandoned) best drained condition prior to
               December 23, 1985 that is providing the basis for wetland determinations. As the
               agency recognizes in its interim rule preamble, “best drained condition” is
               “fundamental to the identification of wetlands that experienced drainage
               manipulations prior to enactment of the 1985 Act, and to meet congressional
               intent to provide certainty to persons concerning the status of such land and its
               future use.” 83 Fed. Reg. at 63049. It is important, then, that this “best drained
               condition” be based on sound documentation and not be subject to manipulation
               based on weak or non-existent documentation.

           •   Interim Rule Amendments to 7 C.F.R. § 12.2(a)(4)(i), (ii), (iii); Hydrology
               Criteria for Farmed Wetland, Farmed Wetland Pasture, and Prior
               Converted Cropland: As explained in the interim rule, “[t]he prior hydrologic
               criteria for farmed wetland and farmed wetland pasture was based strictly on the
               quantification of the number of days that the wetland experienced inundation or
               saturation during the growing season,” and “differed depending on the landscape
               position of the wetland.” 83 Fed. Reg. at 63,049. Citing administrative
               difficulties, NRCS now proposes to adopt an approach that “uses more readily
               observable and easily quantifiable criteria.” Id. However, this indicator approach
               is scientifically sound and consistent with the statutory definition of wetland only
               if in practice, determinations are capturing the full range of relevant “observable
               conditions resulting from inundation or saturation,” id., during both the growing
               season, and the wet portion of the growing season to capture actual wetland
               hydrology. Given the facts that (1) NRCS is moving away from on-site
               determinations in favor of off-site determinations, and (2) those off-site
               determinations are based largely on mid-summer aerial imagery taken during the
               dry portion of the growing season, many indicators of inundation will be missed,
               resulting in wetland determinations that omit many farmed wetlands. Indeed, an
               analysis of U.S. Fish and Wildlife Service waterfowl and pond surveys conducted
               in May and July each year from 1974-2003 found that the number of wetland
               basins containing water is 73% lower in July than in May. See NWF & The Izaak
               Walton League, Wetland Conservation in the Farm Bill 3 (undated) (Attach. H);
               see also Letter from Dan Ashe, Director, FWS, to Dave White, Chief, NRCS
               (June 21, 2012) (Attach. I) (reporting that “[t]he magnitude of difference between
               May and July surface hydrology is profound,” and that the “long-term data set
               [collected by FWS] illustrated that in the [Prairie Pothole Region] portion of the

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         Dakotas, the number of basins with water declined on average by more than 70%
         between May and July” (emphasis added)). Accordingly, by using mid-summer
         imagery, NRCS risks omitting seasonal wetlands from wetland determinations,
         robbing the wetlands of statutory protections. NRCS should revise these indicator
         requirements to require the use of on-site wetland determinations and/or the best
         available off-site wetland delineation methods (e.g., the use of spring imagery,
         LiDAR, hydric soils mapping, and precipitation data that reflects the wet portion
         of the growing season), as determined by rigorous quality control studies, to
         ensure that off-site methods are not omitting seasonal wetlands on the landscape.

     •   Interim Rule Amendment at 7 C.F.R. § 12.30(c); Replacing the Term
         “Tract” with the Term “Field or Sub-field”: NRCS states in the rule preamble
         that NRCS will conduct wetland determinations on a field or sub-field basis
         except when the producer requests a determination for their entire farm tract. 83
         Fed. Reg. 63049-50. Yet the interim final rule then “clarif[ies]” that “[a]ll
         wetland determinations made after July 3, 1996, will be done on a field or sub-
         field basis and will be considered certified wetland determinations.” Id. at 63051-
         52. NRCS’s existing practice is to conduct wetland determinations on a field or
         sub-field basis, except when the producer requests a determination for their entire
         farm tract. Thus, limiting tract-wide determinations is in fact, inconsistent with
         current practice. Moreover, limiting such determinations is inefficient, and opens
         the door to piecemealing of wetland determinations and manipulation of the
         wetland determination and wetland conservation compliance enforcement
         operations. Rather than preclude a producer from requesting a determination on a
         tract-basis, NRCS should revise the interim rule to continue to allow producers
         the option of requesting a determination for the entire tract to improve efficiency,
         and to reduce delays and backlogs for the agency.

     •   Interim Rule Amendments to 7 C.F.R. § 12.31(c)(4); Determining Normal
         Precipitation: NWF is concerned that NRCS’s only stated rationale for the use of
         this fixed dataset is to provide “continued certainty” to producers. NWF questions
         the use of this fixed precipitation dataset on several fronts:

            o First, the criteria set forth in the interim rule establish wetland
              identification procedures for current and future wetland determinations.
              Specifically, they establish criteria for use in determining whether wetland
              hydrology exists under normal circumstances, including under the normal
              climatic conditions existing at the time of the wetland determination, not
              necessarily as of December 23, 1985. Thus, for new wetland
              determinations related to new wetland conversion activities, the 30-year
              precipitation dataset that reflects current conditions would seem to be the
              appropriate dataset to employ. Presumably, NRCS keeps these WETS
              tables for such purposes. Even for new wetland determinations related to
              activities planned on fields or tracts that may have been subject to some
              previous agricultural activity and/or drainage manipulation, NWF
              questions the wisdom in using outdated precipitation data to determine

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                current normal climatic conditions, particularly where the full impacts of
                using the static dataset as opposed to the new dataset have not been fully
                analyzed or disclosed. See also infra at Section II.E.

            o At a minimum, if NRCS relies on the outdated 1971-2000 precipitation
              data to determine wetland hydrology under normal climatic conditions, the
              agency should limit its use to only those situations where the producer can
              demonstrate the existence of special circumstances, such as where the use
              of the new dataset would create a demonstrably unfair result.

            o In addition, at a minimum, for NRCS to reject current best available
              precipitation data in determining wetland hydrology under normal climatic
              conditions, NRCS must conduct a robust and objective environmental
              analysis of the potential loss of seasonal wetlands resulting from the use of
              this outdated precipitation data alone, and in combination with the other
              methods set forth in this interim rule that also skew wetland
              determinations toward the omission of seasonal wetlands (e.g., by relying
              on off-site determinations and imagery taken in mid-summer, when
              wetlands are driest, rather than in spring, see Attach. H at 3 (noting that
              “the number of wetland basins containing water is 73% lower in July than
              in May”)). See also infra at Section II.E.

     •   Interim Rule Amendment at 7 C.F.R. § 12.31(e); Removal of the On-Site
         Determination Requirement for Minimal Effect Determinations: The interim
         final rule removes the requirement of on-site evaluation as overly burdensome
         and that removing the requirement will “better allow USDA to provide this
         statutory exemption to USDA program participants” and will “not provide a
         substantially different decision” given that “assessments can be conducted
         remotely based on a general knowledge of wetland conditions in the area.” 83
         Fed. Reg. at 63,050. NWF offers the following comments on this rule provision:

            o We do strongly support the rule’s codification of the requirement that a
              request for a minimal effect determination must be made prior to the
              beginning of wetland conversion activities, and that, in the event of a
              request for an after-the-fact minimal effect determination, the burden will
              be upon the person to demonstrate to the satisfaction of NRCS that the
              effect was minimal.

            o The minimal effect exemption is, by statute and regulation, limited to
              situations where, based the individual or cumulative effect of a wetland
              conversion for crop production has a minimal effect on the functions and
              values of wetlands in the area, “based on a functional assessment of
              functions and values of the subject wetland and other related wetlands in
              the area.” The agency has a statutory duty to apply the minimal effect
              exemption narrowly and consistent with the wetland conservation
              objectives of the conservation title. The agency may not justify the

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                       removal of the on-site evaluation requirement simply to make it easier to
                       offer this exemption to USDA program participants.

                   o NRCS recognizes that this is to be a science based determination and
                     continues to require an on-site functional assessment of the subject
                     wetland. While we do not oppose the use of off-site methods to support a
                     functional assessment of functions and values of wetlands in the area, our
                     concern is with the very loose standard for the off-site assessment of
                     wetlands in the area: “Such an assessment of related wetlands in the area
                     may be made based on a general knowledge of wetland conditions in the
                     area.” The final rule with respect to minimal effects must require the use
                     of the best available aerial photos, spatial analysis, and other specific
                     hydrological and biological data available for all wetlands in the area.

                   o With respect to the producer’s burden of proof in the event of a request for
                     an after-the-fact minimal effect determination, we urge NRCS to be clear
                     that NRCS will hold the producer (and the agency) to the standard that any
                     determination of minimal effect must be based on a thorough on-site
                     evaluation coupled with the best available aerial photos, spatial analysis,
                     and other specific hydrological and biological data available for all
                     wetlands in the area.

         Of course, without the necessary environmental information regarding the changes to
agency policy implemented by this regulatory process, NWF cannot offer fully informed
comments. NRCS must immediately take steps to provide such information to the public to
facilitate a fully informed decisionmaking process that complies with the agency’s obligations
under NEPA and the APA.

II.      Violations of NEPA

        NRCS has chosen to utilize an EA to consider and analyze the environmental impacts of,
and reasonable alternatives to, the agency’s decision to accept as certified wetlands
determinations that for nearly two decades the agency deemed unacceptable for the purposes of
determining eligibility for program benefits. However, its EA suffers from the same defect as its
interim rule in that the EA presents an entirely disingenuous discussion of the purported benefits
of the interim rule, and even more troubling, entirely omits a robust discussion of the topics that
an EA is required to discuss, namely, alternatives to the proposed action, and the impacts of the
proposed action.

        A.     NRCS Must Prepare An EIS.

        NRCS should have prepared an EIS, because many of the NEPA “significance” factors
are implicated by this federal action. Thus, NRCS’s decision to prepare an EA here, in lieu of an
EIS, is contrary to NEPA and its implementing regulations.




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        As pertinent case law explains, an EIS must be completed here to fulfill NRCS’s NEPA
obligations. Indeed, several of the NEPA “significance” factors are triggered by the proposed
action, although the presence of only one significance factor requires preparation of an EIS. See
Pub. Citizen v. Dept. of Transp., 316 F.3d 1002, 1023 (9th Cir. 2003) (“If the agency’s action is
environmentally ‘significant’ according to any of these criteria [set forth in 40 C.F.R. § 1508.27],
then DOT erred in failing to prepare an EIS.”); Humane Soc’y of the U.S. v. Johanns, 520 F.
Supp. 2d 8, 20 (D.D.C. 2007) (explaining that “courts have found that the presence of one or
more of [the CEQ significance] factors should result in an agency decision to prepare an EIS”
(citations omitted)); Fund For Animals v. Norton, 281 F. Supp. 2d 209, 218 (D.D.C. 2003)
(same).

        As an initial matter, the EA does not even mention the significance factors, much less set
forth any analysis of whether they are implicated by the proposed action. However, the following
significance factors are triggered here, thus requiring preparation of an EIS:

    •   40 C.F.R. § 1508.27(b)(3) – This factor is triggered where the proposed action will
        affect “[u]nique characteristics of the geographic area such as proximity to historic or
        cultural resources, park lands, prime farmlands, wetlands, wild and scenic rivers, or
        ecologically critical areas.” (emphasis added). The interim rule indisputably will impact
        wetlands. In fact, NRCS acknowledges that its decision to use a static decadal
        precipitation dataset will impact the number of wetland acres that are identified as
        subject to the wetland compliance provisions. Moreover, the OIG Report documented
        the significant local effects that NRCS’s change in policy is having on agricultural
        wetlands. See Anderson v. Evans, 314 F.3d at 1019–20 (holding that “local effects are a
        basis for a finding that there will be a significant impact” where there are substantial
        questions as to the effects of the proposed actions on local resources). Yet, NRCS never
        addresses this—or indeed, any—significance factor, and thus does not explain why the
        interim rule’s acknowledged impacts to wetlands will ostensibly be insignificant. Given
        Congress’ findings as to the importance of wetlands to the nation, and its clearly
        expressed intent to preserve agricultural wetlands, and further, in light of the dramatic
        impacts that NRCS’s changes to their wetland conservation policies have actually had
        on agricultural wetlands, this significance factor is triggered and therefore warrants a
        fuller analysis in an EIS.

    •   40 C.F.R. § 1508.27(b)(4) – This factor addresses “[t]he degree to which the effects on
        the quality of the human environment are likely to be highly controversial.” The OIG
        Report notes that NRCS originally sought to make the changes implemented by the
        interim rule in 2013. However, the changes were deemed “too controversial,” and NRCS
        instead attempted to implement the changes behind closed doors. Thus, NRCS has
        conceded that this is a controversial activity within the meaning of NEPA. Moreover, as
        demonstrated by the long and complicated history of the implementation of the wetland
        conservation provisions, there are significant scientific, legal, and practical controversies
        implicated by the program, particularly over the methodologies used to delineate
        wetlands. This point is only reinforced by NRCS’s well-documented history of
        attempting to shroud its administration of the program in secrecy. Accordingly, this
        action is highly controversial as defined by NEPA and therefore requires consideration

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    in an EIS.

•   40 C.F.R. § 1508.27(b)(5) – This factor addresses “[t]he degree to which the possible
    effects on the human environment are highly uncertain or involve unique or unknown
    risks.” NRCS has failed to identify the environmental impacts of its action on
    agricultural wetlands and the species that depend on them. Courts have found that in
    such cases, “uncertainty as to the impact of a proposed action” on local resources is “a
    basis for a finding that there will be a significant impact” and setting aside a FONSI. See
    Anderson v. Evans, 314 F.3d at 1018–21. As demonstrated by the OIG, NRCS’s wetland
    conservation policies are already impacting agricultural wetlands. Moreover, because
    many of the policies implemented by the interim rule are ill-defined, their precise effects
    remain unknown. Thus, this significance factor is triggered and warrants a fuller analysis
    in an EIS.

•   40 C.F.R. § 1508.27(b)(6) – This factor addresses “[t]he degree to which the action may
    establish a precedent for future actions with significant effects or represents a decision in
    principle about a future consideration.” With this interim rule, NRCS proposes
    significant changes to its administration of the wetland conservation provisions that
    represent significant departures from prior policy. This dramatic shift in legal
    interpretation and management approach cannot avoid scrutiny in an EIS and is precisely
    the type of activity triggering the precedent-setting significance factor.

•   40 C.F.R. § 1508.27(b)(7) – This factor addresses “[w]hether the action is related to
    other actions with individually insignificant but cumulatively significant impacts.” In
    particular, “[s]ignificance exists if it is reasonable to anticipate a cumulatively significant
    impact on the environment.” Taken as a whole, the interim rule imposes several changes
    to NRCS’s wetlands identification policies that, when considered cumulatively with
    existing practices, result in the exclusion of seasonal wetlands in wetlands
    determinations. For example, the interim rule provides that NRCS will use a decadal
    precipitation dataset that is widely acknowledged to be “dry.” When considered
    cumulatively with the fact that NRCS’s practice is to use aerial imagery from the dry
    season—i.e., after seasonal wetlands have already dried—NRCS’s proposal threatens to
    have cumulatively significant impacts on whether seasonal wetlands are identified as
    subject to wetlands conservation compliance. Additionally, the interim rule provides that
    NRCS will now conduct wetland determinations on a field basis, which allows for the
    piecemealing of wetland determinations and opens the door for manipulation of wetland
    determinations. These cumulatively significant impacts were never even mentioned in
    the EA. Thus, this significance factor is triggered and must be analyzed in an EIS.

•   40 C.F.R. § 1508.27(b)(9) – This factor addresses “[t]he degree to which the action may
    adversely affect an endangered or threatened species or its habitat that has been
    determined to be critical under the [ESA].” As set forth below, the interim rule will
    indisputably impact endangered and threatened species that rely upon affected wetlands
    for various biological functions. These impacts have never been analyzed in a NEPA
    process, nor has NRCS undergone consultation as required under the ESA. Accordingly,
    NRCS must immediately initiate consultation with FWS, and must analyze the interim

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        rule’s impacts on endangered and threatened species in an EIS.

    •   40 C.F.R. § 1508.27(b)(10) – This factor addresses “[w]hether the action threatens a
        violation of Federal, State, or local law or requirements imposed for the protection of the
        environment.” NRCS never considered whether the interim rule and the policies it
        implements are consistent with the Farm Bill. Thus, NRCS unlawfully failed to analyze
        several critical issues. See ONDA, 625 F.3d at 1109 (“[C]onsiderations made relevant by
        the substantive statute driving the proposed action must be addressed in NEPA
        analysis.”). In enacting the wetland conservation provisions of the Farm Bill, Congress
        recognized that “[w]etlands are a priceless resource whose contributions have long gone
        unrecognized,” H. Rep. 99-271 at 86, and sought “to discourage the draining of wetlands
        or ‘swampbusting’ for the purpose of growing agricultural commodities,” id. at 78. Yet,
        NRCS never assessed whether implementing policies that in fact lessen the rigor of the
        methods used to make wetlands determinations is an appropriate implementation of a
        statute that aims to preserve agricultural wetlands. Nor did NRCS consider whether those
        policies are consistent with its own regulations, which declare as a central purpose of the
        wetlands conservation program, to “remove certain incentives for persons to produce
        agricultural commodities on . . . converted wetland and to thereby [a]ssist in preserving
        the functions and values of the Nation’s wetlands.” 7 C.F.R. § 12.1. NRCS cannot avoid
        grappling with its legal duties under the Farm Bill and its implementing regulations. To
        the contrary, a full and fair discussion of alternatives to the interim rule and their impacts
        would only serve to better inform the agency’s administration of the wetlands
        conservation program, and is precisely why an EIS must be prepared. In addition,
        because NRCS has failed to initiate consultation under section 7 of the ESA where this
        action so clearly “may affect” endangered or threatened, an EIS is required because the
        action threatens a substantial violation of the ESA and its implementing regulations.

        In short, an EIS is required when even one of these factors is implicated. Because at least
seven significance factors are triggered here, it is wholly inconsistent with NEPA and its
regulations for NRCS to prepare only an EA under the circumstances, and therefore it would be a
patent NEPA violation if NRCS refuses to prepare an EIS here. For all of these reasons, an EIS is
required for this action.

        B.     NRCS’s Characterization Of The Changes Set Forth In Its Interim Rule As
               Merely Administrative Is Contrary to the Evidence And Cannot Be Cited To
               Avoid Its Obligations Under NEPA.

        NRCS suggests that even an EA is unnecessary in this case, as “Congress has prescribed
many requirements [of the wetlands compliance provisions] in statute, and there is little
discretion remaining for [NRCS] to exercise.” EA at 2. Thus, according to NRCS, “[m]any
decisions that remain are administrative in nature and fall within a category of activities excluded
from the requirement to prepare an EIS.” Id. NRCS concludes that “despite this, [the agency] has
decided to prepare this EA to review the environmental impacts of the proposed clarifications” in
the interim rule. Id. (emphasis added)




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         NEPA compliance is not a favor to the public, nor is it a tool to justify a decision already
made. It is an indispensable, statutorily required component of agency decisionmaking that both
informs the public and forces the agency to take a hard look at the environmental consequences
of its action. As set forth below, NRCS’s EA fails at both counts. However, that failure begins
with NRCS’s characterization of its action as merely “administrative” and as such, exempt from
a full environmental review. This characterization is demonstrably false. As discussed above and
conclusively established in the OIG Report, NRCS made significant changes in its wetlands
determination policy in response to a growing backlog of determination requests. These changes
have led to significant impacts on agricultural wetlands, as exhaustively detailed in the OIG
Report. Thus, it is indisputable that NRCS has taken a “major federal action” because it
“adopt[ed] . . . new . . . procedures” for making and evaluating wetland determinations. See 40
C.F.R § 1508.18(a), (b); see also Comm. for Auto Responsibility v. Solomon, 603 F.2d 992,
1002-03 (D.C. Cir. 1979) (“The duty to prepare an EIS normally is triggered when there is a
proposal to change the status quo.” (footnote omitted)).

        Yet, neither the interim rule, nor the EA, even acknowledge that NRCS significantly
changed its policy. To the contrary, NRCS has steadfastly refused to acknowledge the OIG’s
findings, instead insisting that subsequent actions that were taken in direct response to the OIG
Report were intended to “clarify” existing policy with regard to the certification issue. This is
particularly disingenuous in light of the fact that NRCS’s subsequent actions have uniformly
been taken to make permanent the very changes that the OIG Report faulted NRCS for making
outside of the lawful rulemaking process—indeed, the very changes that NRCS itself
acknowledged could not be made without an explicit regulatory amendment. NRCS cannot
continue to turn a blind eye to the impacts of its own actions and avoid public scrutiny by
attempting to mischaracterize such major policy changes as mere “clarifications” of existing
policy. Cf. CropLife Am. v. EPA, 329 F.3d 876, 883 (D.C. Cir. 2003) (noting that “the agency's
characterization of its own action is not controlling if it self-servingly disclaims any intention to
create a rule with the ‘force of law,’ but the record indicates otherwise” (citations omitted)).

        The same is true for other major policy changes set forth in the interim rule. For example,
in the interim rule, NRCS takes a discretionary action to use a static precipitation dataset in
reference to determining “normal circumstances.” The EA concedes that this decision will
impact the number of wetland acres that are identified as subject to the wetland conservation
provisions. The draining of agricultural wetlands that would otherwise have been identified—or
not—had the dataset shifted forward will unquestionably result in ecological, aesthetic, cultural,
economic, and social effects on the natural and physical environment. Id. §§ 1508.14, 1508.27.
Thus, it defies logic to characterize this decision as administrative in nature. Rather, by making
this discretionary decision in accordance with its statutory mandate to administer the wetland
conservation provisions, NRCS took a major federal action that will have significant impacts on
the environment, and that accordingly, must be subjected to a full NEPA analysis.

       C.      The Purpose And Need Statement Mischaracterizes The Proposed Action
               And Impermissibly Constrains The Range Of Reasonable Alternatives

       Irrespective of whether an EIS or EA is appropriate under the circumstances, NRCS’s
analysis of alternatives in the EA does not satisfy NEPA or its implementing regulations. An EA

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must “briefly specify the underlying purpose and need to which the agency is responding in
proposing the alternatives.” 40 C.F.R. § 1508.9(b). The goals of the action necessarily dictates
the range of “reasonable” alternatives that the agency must consider in evaluating the
environmental impacts of a proposed action. See Citizens Against Burlington, Inc. v. Busey, 938
F.2d 190, 195 (D.C. Cir. 1991). Therefore, an agency cannot define its objectives in
unreasonably narrow terms. See, e.g., Colo. Envtl. Coal. v. Dombeck, 185 F.3d 1162, 1175 (10th
Cir. 1999) (providing that “the statements of purpose and need drafted to guide the
environmental review process” may not be “unreasonably narrow”).

        NRCS defined the need for the action in the EA: “The proposed clarifications are needed
to ensure that the regulations are consistent with the current technical standards being applied by
NRCS in making technical determinations.” EA at 3. NRCS reported that the purposes of the
proposed action were to “provid[e] the public with transparency, provid[e] certainty to USDA
program participants, and improv[e] the consistency of how the conservation compliance
provisions are implemented” across the country. Id. NRCS thus framed the purpose and need for
the interim rule as merely codifying NRCS’s existing policies. However, this characterization is
contrary to the overwhelming evidence demonstrating that the interim rule constitutes a major
policy change that will impact NRCS’s effectiveness in fulfilling its statutory mandate to
preserve agricultural wetlands. Because the purpose and need statement inaccurately describes
the action and ignores the facts before the agency, it is arbitrary and capricious.

        The purpose and need statement is also flawed in that it impermissibly constrains the
range of reasonable alternatives. While NRCS enjoys “considerable discretion” in defining the
purpose and need of a project, it cannot define its objectives in “unreasonably narrow terms,”
such that only one alternative would accomplish its goals and the EA becomes a foreordained
formality. See Nat'l Parks & Conservation Ass'n v. Bureau of Land Mgmt., 606 F.3d 1058, 1070
(9th Cir. 2010); Davis v. Mineta, 302 F.3d 1104, 1118–20 (10th Cir. 2002). In formulating the
purpose and need statement, NRCS was obliged to consider the statutory context of its action.
See League of Wilderness Defenders v. U.S. Forest Serv., 689 F.3d 1060, 1070 (9th Cir. 2012);
Citizens Against Burlington, 938 F.2d at 196 (stating that “an agency should always consider the
views of Congress, expressed, to the extent that the agency can determine them, in the agency's
statutory authorization to act, as well as in other congressional directives”); City of New York v.
U.S. Dep't of Transp., 715 F.2d 732, 743 (2d Cir. 1983) (“Frequently, a pertinent guide for
identifying an appropriate definition of an agency’s objective will be the legislative grant of
power underlying the proposed action.”).

        The conservation compliance provisions and their implementing regulations have as their
goal “to remove certain incentives for persons to produce agricultural commodities on . . .
converted wetland and to thereby . . . [a]ssist in preserving the functions and values of the
Nation’s wetlands.” 7 C.F.R. § 12.1(b)(4). Accordingly, NRCS’s consideration of the interim
rule must include an evaluation of whether the regulatory and policy changes will better achieve
this goal. Yet, NRCS framed the purpose and need so narrowly as to exclude consideration of
any policies except for those it identified as the “current technical standards.” In so doing, NRCS
ensured that the changes implemented by the interim rule were the only solution to the various
technical and practical challenges faced by the agency in administering the wetlands
conservation provisions, thus rendering a regional project a “foregone conclusion” in violation of

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NEPA. See New Mexico ex rel. Richardson v. Bureau of Land Mgmt., 565 F.3d 683, 710-11
(10th Cir. 2009).

       D.      NRCS Unlawfully Avoided its Obligation to Consider a Full Range of
               Alternatives Under NEPA

        NEPA requires that NRCS “[r]igorously explore and objectively evaluate all reasonable
alternatives” to the proposed action, including a “no action” alternative. 40 C.F.R. § 1502.14(a)
(emphasis added); see also id. § 1508.9(b); Custer Cty. Action Ass’n v. Garvey, 256 F.3d 1024,
1039 (10th Cir. 2001). Because NEPA’s overriding purpose is to “help public officials make
decisions that are based on understanding of environmental consequences, and take actions that
protect, restore, and enhance the environment,” 40 C.F.R. § 1500.1, NEPA’s implementing
regulations, which are binding on all federal agencies, provide that the consideration of
alternatives for reducing adverse impacts “is the heart” of an EIS or EA. 40 C.F.R. § 1502.14.
Accordingly, EAs “should present the environmental impacts of the proposal and the alternatives
in comparative form, thus sharply defining the issues and providing a clear basis for choice
among options by the decisionmaker and the public.” Id.

               1.     The EA Fails to Include a True “No Action” Alternative.

       The EA purported to consider two alternatives: a No Action Alternative, under which
NRCS would not update its regulations; and the Proposed Action Alternative, under which
NRCS would make the proposed changes set forth in the interim rule. EA at 2. According to
NRCS, the interim rule “merely clarifies some aspects of the technical procedures already being
used by [NRCS].” NRCS therefore maintains that there is no practical difference between the No
Action Alternative and the Proposed Action Alternative.

        A no action alternative “allows policymakers and the public to compare the
environmental consequences of the status quo to the consequences of the proposed action.” Ctr.
for Biological Diversity v. U.S. Dept. of Interior, 623 F.3d 633, 642 (9th Cir. 2010). Where the
agency is proposing changes to an ongoing management program, “‘no action’ is ‘no change’
from current management direction or level of management intensity.” Forty Most Asked
Questions Concerning CEQ’s National Environmental Policy Act Regulations, 46 Fed. Reg.
18,026, 18,027 (Mar. 23, 1981).

        Applying those principles here, it is clear that NRCS’s No Action Alternative is
inconsistent with NEPA and cannot be sustained. “To fulfill NEPA's goal of providing the public
with information to assess the impact of a proposed action, the “no action” alternative should be
based on the status quo.” Ctr. for Biological Diversity v. U.S. Bureau of Land Mgmt., 746 F.
Supp. 2d 1055, 1091 (N.D. Cal 2009). According to NRCS, the status quo is the interim rule
because the interim rule merely “clarifies” existing policy and does not change the agency’s
procedures. However, as demonstrated above, this assertion is directly contradicted by the
agency’s own statements in the 2013 Memorandum, where it acknowledged that many of the
interim rule’s proposed changes required the agency to undergo a rulemaking. See generally
Attach B. Moreover, the OIG determined that NRCS did change its policy with respect to its
policy regarding the certification of pre-1996 wetlands determinations, the precise contours of

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which remain a central issue. Such significant changes cannot fairly be characterized as mere
codifications of existing agency policy, and cannot possibly reflect the status quo. Rather, the
true status quo—i.e., the alternative that represents “no change” from NRCS’s longstanding
practices with respect to its administration of the wetlands conservation provisions—is NRCS’s
administration of the wetlands conservation program as it existed prior to the adoption of any of
the changes developed over the course of this regulatory process. See 46 Fed. Reg. at 18,027
(providing that the no action alternative is properly construed as one under which the agency
continues its course of action “until that action is changed”).

         As a practical matter, NRCS’s characterization of its No Action Alternative skews the
agency’s entire analysis of alternatives. The “no action” alternative “serves as a benchmark” for
comparing the other alternatives. Theodore Roosevelt Conservation P’ship v. Salazar, 744 F.
Supp. 2d 151, 160 (D.D.C. 2010), aff'd, 661 F.3d 66 (D.C. Cir. 2011); see also Ctr. for
Biological Diversity, 623 F.3d at 642 (providing that the no action alternative is intended to
“provide a baseline against which the action alternative” is evaluated). Without “[accurate
baseline] data, an agency cannot carefully consider information about significant environment
impacts . . . resulting in an arbitrary and capricious decision.” N. Plains Res. Council, Inc. v.
Surface Transp. Bd., 668 F.3d 1067, 1085 (9th Cir. 2011); see also Friends of Yosemite Valley v.
Kempthorne, 520 F.3d 1024, 1038 (9th Cir. 2008) (holding an agency’s no action alternative
invalid because it improperly defined the baseline). This is precisely what occurred here, where
NRCS’s No Action Alternative “assume[d] the existence of the very plan being proposed.”
Friends of Yosemite Valley v. Scarlett, 439 F. Supp. 2d 1074, 1105 (E.D. Cal. 2006), aff’d,
Friends of Yosemite Valley, 520 F.3d at 1037-38. To establish as the baseline the existence of the
very rule being analyzed “is logically untenable” and renders the no action alternative
“meaningless.” Id. Thus, NRCS’s formulation of the no action alternative deprived NRCS and
the public of a meaningful opportunity to assess the impacts of a regional project against those of
less environmentally destructive projects. Thus, the current alternatives analysis for the interim
rule is fundamentally flawed. To comply with NEPA, the alternatives analysis must be revised to
include a true no action alternative that accurately serves as the baseline for its NEPA analysis.

               2.      Because the Action Alternatives are Substantially Similar, the FEIS
                       Fails to Analyze a Reasonable Range of Alternatives.

        NEPA imposes a clear-cut procedural obligation on NRCS to take a “hard look” at
alternatives that would entail less significant impacts on resources affected by the project. Balt.
Gas & Elec. Co. v. Nat. Res. Def. Council, 462 U.S. 87, 100 (1983). EAs must “[r]igorously
explore and objectively evaluate all reasonable alternatives” and, in particular, “should present
the environmental impacts of the proposal and the alternatives in comparative form, thus sharply
defining the issues and providing a clear basis for choice among options by the decisionmaker
and the public.” 40 C.F.R. § 1502.14. The regulations further mandate that the EA must
“[i]nclude reasonable alternatives not within the jurisdiction of the lead agency,” but that may
nonetheless meet the overall objectives of the action while ameliorating environmental impacts.
Id.

       The EA violates these requirements. The EA purported to consider two alternatives: a No
Action Alternative, under which NRCS would not update its regulations; and the Proposed

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Action Alternative, under which NRCS would make the proposed changes set forth in the
interim rule. As NRCS acknowledges, there is not a major environmental impact difference
among the alternatives. In fact, the alternatives are functionally identical. As a result, NRCS’s
analysis is devoid of any meaningful consideration of alternatives. Even the No Action
Alternative assumed the existence of the interim rule, and deprived the EA of a meaningful
baseline against which to measure the rule’s anticipated impacts. In fact, because the No Action
Alternative and Proposed Action Alternative are functionally identical, the EA essentially
considered only the impacts from a single alternative. Such an approach cannot satisfy the
agency’s obligations under NEPA to examine “all reasonable alternatives,” including those that
lie outside the jurisdiction of the agency. See Citizens for Envtl. Quality v. United States, 731 F.
Supp. 970, 989 (D. Colo. 1989) (“Consideration of alternatives which lead to similar results is
not sufficient under NEPA[.]”); Friends of Yosemite Valley, 520 F.3d at 1038 (finding that SEIS
“lacked a reasonable range of action alternatives” because “the [three action] alternatives are
essentially identical” and thus are “not varied enough to allow for a real, informed choice”).
Indeed, courts have rejected precisely this type of avoidance approach by agencies in the past.
See Muckleshoot Indian Tribe v. U.S. Forest Serv., 177 F.3d 800, 813 (9th Cir. 1999)
(concluding that the EIS violated NEPA when the two action alternatives considered in detail
were “virtually identical”); Friends of Yosemite Valley, 520 F.3d at 1038 (finding that SEIS
“lacked a reasonable range of action alternatives” because “the [three action] alternatives are
essentially identical” and thus are “not varied enough to allow for a real, informed choice”); cf.
Dombeck, 185 F.3d at 1175 (holding that agencies must “provide legitimate consideration to
alternatives that fall between the obvious extremes”)

         While NEPA does not require NRCS to “consider every possible alternative to a
proposed action, nor must it consider alternatives that are unlikely to be implemented or those
inconsistent with its basic policy objectives,” Seattle Audubon Soc’yy v. Moseley, 80 F.3d 1401,
1404 (9th Cir. 1996), it is particularly troubling here that NRCS failed to consider any
alternatives that were more consistent with the basic policy objectives of the wetland
conservation provisions than the single alternative subjected to consideration. As discussed
above, NRCS’s objectives must take into account “the views of Congress, expressed . . . in the
agency’s statutory authorization to act.” Citizens Against Burlington, Inc., 938 F.2d at 196; see
also Theodore Roosevelt Conservation P’ship, 661 F.3d at 72 (defining “reasonable alternative”
to mean one that “is objectively feasible as well as ‘reasonable in light of [the agency’s]
objectives’” (alterations in original) (quoting City of Alexandria v. Slater, 198 F.3d 862, 867
(D.C. Cir. 1999))). With respect to agricultural wetlands, Congress has unequivocally expressed
its intent to preserve agricultural wetlands. See, e.g., H. Rep. 99-271 at 78 (noting that a “major
objective” of the wetland conservation provisions is “to discourage the draining of wetlands or
‘swampbusting’ for the purpose of growing agricultural commodities”); id. at 86 (“Wetlands are
a priceless resource whose contributions have long gone unrecognized.”); accord 7 C.F.R. § 12.1
(listing as a central purpose of the wetland conservation provisions the “remov[al] [of] certain
incentives for persons to produce agricultural commodities on . . . converted wetland and to
thereby [a]ssist in preserving the functions and values of the Nation’s wetlands”). Thus, NRCS’s
failure to rigorously explore a single action alternative (or more than one) that would be more
protective of agricultural wetlands—e.g., alternatives that would resolve the certification issue by
establishing that the only pre-1996 determinations that are considered certified are those that
were certified at the time they were issued, require the use of best available methods when

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making off-site determinations for minimal effects exemptions, or ensure the accuracy of
wetland determinations by implementing measures to better identify seasonal wetlands—is a
flagrant violation of NEPA.

         Moreover, because the EA’s alternatives analysis evaluates only a single alternative,
NRCS’s approach raises grave questions as to whether NRCS is merely using this process not to
genuinely consider alternatives to the action but instead to justify the decision NRCS already
made when it began taking actions in 2014 to implement the regulatory and policy changes
detailed in the 2013 Decision Memorandum ostensibly to reduce the backlog of wetland
determination requests. As the NEPA regulations make clear, utilizing the NEPA process as
nothing more than a ruse to justify or rationalize a decision already made is a patent violation of
the letter and spirit of NEPA. See, e.g., 40 C.F.R. § 1502.2(g) (explaining that the NEPA process
“shall serve as the means of assessing the environmental impact of proposed agency actions,
rather than justifying decisions already made.” (emphasis added)); see also id. § 1502.5
(requiring that NEPA review “shall be prepared early enough so that it can serve practically as
an important contribution to the decisionmaking process and will not be used to rationalize or
justify decisions already made” (emphases added)).

        For all of these reasons, and in order to satisfy the obligations of NEPA and its
implementing regulations, NRCS must consider reasonable action alternatives that would better
protect agricultural wetlands and minimize the adverse impacts on these important habitats. Cf.
Union Neighbors United, Inc. v. Jewell, 831 F.3d 564, 577 (D.C. Cir. 2016) (“Accordingly,
because the Service in these circumstances did not consider any other reasonable alternative that
would have taken fewer Indiana bats than Buckeye’s plan, it failed to consider a reasonable
range of alternatives and violated its obligation under NEPA.”).

               3.     NRCS Should Consider The Following Alternatives In An EIS.

       When developing alternatives to the interim rule for consideration in an EIS, NRCS
should include the following elements.

        First, NRCS should establish a certification standard that accurately reflects
Congressional intent in enacting the wetland conservation provisions. The interim rule defines
“sufficient quality to determine ineligibility for program benefits” to require only that the map
document “be legible to the extent that areas that are determined wetland can be discerned in
relation to other ground features.” 83 Fed. Reg. at 63,051 (emphasis added). Such a relaxed
standard plainly does not satisfy NRCS’s statutory mandates under the wetland conservation
provisions to preserve agricultural wetlands, in part, by ensuring the accuracy of wetland
determinations. Instead, NRCS should define “sufficient quality to determine ineligibility for
program benefits” to require that the map document be based on a field investigation or on off-
site methods that are demonstrated to be accurate. Methods should be selected only after a robust
and publicly available wetland accuracy assessment that ground-truths offsite methods, and
ensures that for the methods selected, the errors of wetland omission do not exceed errors of
wetland commission. Specifically, only methods that have omission and commission error rates
that are both under 5%, and symmetrical should be used to make certified determinations.



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         Second, the certification of pre-1996 determinations should be subject to NRCS’s
longstanding policy that was in place before the agency began implementing the changes set
forth in the 2013 Memorandum. In other words, they are only considered “certified” if they met
procedural and quality mandates when they were issued. Pre-1996 determinations that do not
meet this standard should be replaced with a new certified determination made subject to the
same “sufficient quality” standard outlined above.

       Third, to effectuate Congressional intent in preserving agricultural wetlands and
providing certainty to producers, NRCS should explicitly require the use of best available
science when making off-site determinations, including with respect to hydrology, normal
climatic conditions, minimal effect, and best drained conditions definitions and rule provisions.
Specifically, these methods should incorporate some or all of the following elements:

           •   On-site wetland determinations and/or the enhanced use of spring imagery to
               ensure that seasonal wetlands are not improperly excluded from determinations;

           •   LiDAR technology; and

           •   Precipitation data that more accurately reflects the field conditions during the wet
               portion of the growing season.

Moreover, NRCS should require that its off-site delineation methods be subjected to quality
control studies to ensure that off-site methods are not omitting seasonal wetlands on the
landscape. Other quality control methods NRCS should consider as alternatives include:

           •   Revising the hydrology indicators to incorporate the presence of hydric soil
               inclusions within non-hydric soils fields;

           •   Sliding the decadal precipitation dataset forward and presently using the 1981-
               2010 dataset when determining “normal conditions,” except in specified
               circumstances where the use of the 1971-2000 dataset is determined to be
               appropriate when considering past agricultural conversions that have occurred on
               the tract;

           •   Requiring that the best available data sources be used when making
               determinations to ensure that the wetland determination process is as accurate and
               technically robust as possible, and further, to ensure that seasonal wetlands are not
               improperly omitted from such determinations, including: spring imagery, where
               such imagery is available 11; National Wetlands Inventory data; updated soils

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  This is particularly important because NRCS has now specifically included observations from
aerial imagery as hydrologic indicators. The current wetland determination process does not
consistently utilize spring imagery, and instead largely relies on imagery from late summer. The
vast majority of wetlands in the Prairie Pothole Region are temporary or seasonal in nature, and
are critical to the production of waterfowl and other migratory birds, and the protection of water
quality and flood attenuation. Traditional aerial images obtained in later summer months,
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                maps; LiDAR data; and physical site visits;

            •   Investing in the increased development of spring imagery to make it more widely
                available; and

            •   Requiring the use of a consistent, science-based methodology and process for
                completing off-site assessments of wetlands when making a minimal effects
                determination, as specified above.

       E.       NRCS Failed to Adequately Analyze the Impacts of its Action

        The EA also failed to adequately evaluate the impacts of its action as required by NEPA
and its implementing regulations. As discussed above, under NEPA, an EA must “take[] a hard
look at the problem.” Van Antwerp, 661 F.3d at 1154. “Although the contours of the ‘hard look’
doctrine may be imprecise,” the agency’s analysis must, at minimum, be sufficient to
demonstrate that it “‘has adequately considered and disclosed the environmental impact of its
actions and that its decision is not arbitrary and capricious.’” Nevada v. Dep’t of Energy, 457
F.3d 78, 93 (D.C. Cir. 2006) (quoting Balt. Gas, 462 U.S. at 97–98); see also Brady Campaign to
Prevent Gun Violence v. Salazar, 612 F. Supp. 2d 1, 16 (D.D.C. 2009) (noting that to comply
with the “hard look” requirement, agencies must “consider all direct, indirect, and cumulative
impacts that are foreseeable as a result of the [interim] rule”).

        Because the No Action Alternative and Proposed Action Alternative were functionally
identical, the EA is devoid of any meaningful comparison of the impacts of alternatives. As a
result, NRCS’s impacts analysis must also fail. See W. Watersheds Proj. v. Christiansen, --- F.
Supp. 3d ---, 2018 WL 6715536 (D. Wyo. Sept. 14, 2018) (holding that the Forest Service’s
“failure to consider a reasonable range of alternatives” necessarily meant that the Service had
also “failed to take a hard look at the alternatives to the proposed action, some of which might
mitigate impacts”).

         The EA’s impacts analysis is also insufficient under NEPA because it omits discussion of
several significant impacts from its analysis. See Brady Campaign, 612 F. Supp. 2d at 21
(providing that “[i]gnoring possible environmental consequences” renders an agency’s impact
analysis arbitrary and capricious (quoting Found. on Econ. Trends v. Heckler, 756 F.2d 143,
154-55 (D.C. Cir. 1985)). In particular, the EA does not even mention the significant change in
policy that allowed the agency to accept as certified inaccurate pre-1996 wetland determinations,
nor does it discuss the environmental impacts that are already occurring as a result of the policy
change. As mentioned above, the OIG reported that in its review of several tracts where NRCS
applied its new policy—i.e., where NRCS accepted as certified pre-1996 wetland
determinations—75 % of wetlands that existed were “no longer protected and are subject to
being drained.” Attach. A at 7-8. Yet, NRCS never undertook an analysis of the environmental
impacts that are likely to occur as a result of this wetland loss. Without such a discussion, the EA
fails to satisfy NEPA’s most basic command to “consider every significant aspect of the


however, fail to consistently capture these temporary wetlands. See Attach. H at 3 (noting that
“the number of wetland basins containing water is 73% lower in July than in May”); Attach. I.
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environmental impact of a proposed action,” Balt. Gas, 462 U.S. at 97 (internal quotation
omitted), and consequently, is quintessentially arbitrary under NEPA, see Brady Campaign, 612
F. Supp. 2d at 21.

        Even for the impacts that the EA does mention, the limited discussion only serves to
highlight the deficiencies in NRCS’s evaluation, and underscores the practical value of a full
analysis that takes the required “hard look” at the impacts of the interim rule. For example,
NRCS proposes in its interim rule to determine normal precipitation using a static 30-year
average precipitation dataset (1971-2000). To determine the “normal circumstances” under
which the land is properly classified as a wetland subject to the wetland conservation program,
NRCS uses the National Oceanic and Atmospheric Administration’s (“NOAA”) 30-year average
precipitation dataset, which slides forward every ten years and is scheduled to do so soon—i.e.,
moving from the 1971-2000 dataset to the 1981-2010 dataset. As the EA reports, more acres of
wetlands would be identified under the 1981-2010 dataset than under the 1971-2000 dataset due
to an overall increase in precipitation; “however, the differences would not be evenly distributed
nationwide.” EA at 9. NRCS insists that “[f]uture decadal updates . . . would likely include
periods of widespread and severe drought,” which “would result in fewer acres of wetland
identified as subject to the [wetland conservation] provisions.” Id. at 10. However, NRCS does
not explain why the agency could not account for periods of widespread drought in its analysis.
NRCS concludes without meaningful analysis that “[t]he overall impact of maintaining use of
the 1971-2000 dataset is expected to be negligible over time.” Id. at 10.

         Courts have long held that such “general statements about ‘possible’ effects” as
insufficient to satisfy the “hard look” requirement. See, e.g., Neighbors of Cuddy Mountain v.
U.S. Forest Serv., 137 F.3d 1372, 1380 (9th Cir. 1998). The EA never attempts to quantify the
impact of lost wetlands under either decadal dataset, nor does it offer “a justification regarding
why more definitive information could not be provided.” Id. Rather, it discusses the impacts of
its action using general descriptors—e.g., “negligible,” “fewer”—that are undefined, and as such,
“are wholly uninformative.” Sierra Club v. Mainella, 459 F. Supp. 2d 76, 101-02, 106 (D.D.C.
2006). Despite its lack of data, NRCS nevertheless asserts throughout the EA that the use of the
updated decadal dataset “would result in fewer acres of wetland” subject to the wetland
conservation provisions. However, whether the use of one decadal dataset over another will
result in fewer identified wetlands is only part of the inquiry. The proper evaluation should
identify the environmental impacts of having fewer wetlands subject to the wetland conservation
provisions, in light of the documented losses that have already occurred—and that are reasonably
expected to continue—due to changing agricultural practices, climate change, and development.
See Blue Mountains Biodiversity Proj. v. Blackwood, 161 F.3d 1208, 1213 (9th Cir. 1998)
(finding that the Forest Service failed to take a “hard look” at the impacts of its action where
failed to properly “identify the impact of the increased sediment from the logging and
roadbuilding on the fisheries habitat in light of the documented increases that already have
resulted from the fire”). Without such an analysis, the EA cannot be said to contain “a reasonably
thorough discussion of the significant aspects of the probable environmental consequences,” as
required under NEPA. Idaho Conservation League v. Mumma, 956 F.2d 1508, 1519 (9th Cir.
1992).




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         Nor can the EA be said to “foster both informed decisionmaking and informed public
participation.” (quoting California v. Block, 690 F.2d 753, 761 (9th Cir.1982)). The “hard look”
mandate serves NEPA’s twin goals of ensuring that agencies “consider every significant aspect
of the environmental impact of a proposed action,” and “ensur[ing] that the agency will inform
the public that it has indeed considered environmental concerns in its decisionmaking process.”
Balt. Gas, 462 U.S. at 97. Accordingly, “[a]ccurate scientific analysis, expert agency comments,
and public scrutiny are essential to implementing NEPA.” 40 C.F.R. § 1500.1(b). However,
NRCS’s impacts discussion is devoid of any scientific analysis of the environmental effects of
the interim rule. In fact, its impacts analysis is largely devoid of any acknowledgement that
NRCS’s actions will impact the environment at all. 12 Such information is essential to an
informed evaluation of the merits of the interim rule as compared to alternatives, and, thus, is
critical to meaningful public participation. The EA’s failure to disclose the impacts of its action
“preclude[d] meaningful evaluation of the effectiveness of the agency's proposed action in
achieving its stated goals, as well as the availability of alternatives,” and “belies its claim that it
took the ‘hard look’ required to avoid a finding that [its EA] was arbitrary, capricious, and
contrary to law.” Fund for Animals v. Norton, 281 F. Supp. 2d 209, 227, 229 (D.D.C. 2003)
(finding that the agency’s failure to provide information in the EA process sufficient to foster
public participation violated NEPA’s “hard look” requirement).

        Had NRCS taken a legally adequate “hard look” at the impacts of the interim rule—e.g.,
by comparing the actual impacts of using either decadal dataset on the number of wetlands
identified—both the agency and the public would be better informed of the environmental effects
of the alternatives and would be able to offer meaningful comment on the interim rule. Cf.
Gould, 150 F. Supp. 3d at 1182 (finding that the Forest Service violated NEPA where the
agency’s failure to include environmental information that it relied upon in its decision precluded
plaintiffs from submitting more complete comments). Moreover, the EA’s omission of
information regarding the interim rule’s impacts is particularly troubling in light of the fact that
the policies NRCS has sought to implement with this rulemaking process have already resulted
in significant adverse impacts to agricultural wetlands. Accordingly, NRCS must revise its EA to
include a more robust, objective analysis of the environmental impacts of the interim rule that
allows the public to “ensure that the agency has adequately considered and disclosed the
environmental impact of its actions.” City of Olmsted Falls v. Fed. Aviation Admin., 292 F.3d
261, 269 (D.C. Cir. 2002). At the very least, NRCS must “provide[] sufficient evidence and
analysis” to support its decision not to prepare an EIS. Dep’t of Transp. v. Pub. Citizen, 541 U.S.
752, 757 (2004) (quoting 40 C.F.R. § 1508.9(a)).



12
   For example, returning to the agency’s discussion of the interim rule’s implementation of the
static decadal precipitation dataset, the EA states in general terms that shifting the dataset
forward would result in more wetland acres mapped in some regions, and fewer wetland acres
mapped in others. NRCS does not discuss the environmental impacts that would result from the
increase or decrease in protected wetlands. Likewise, when discussing the agency’s policy
regarding the certification of pre-1996 wetland determinations, NRCS maintains that there are no
environmental impacts because, according to the agency, there has been “no change” to the
“determinations’ regulatory status as being certified or not certified.”


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        NRCS’s failure to take a “hard look” at the impacts of its action is also apparent in its
focus on the administrative impacts of the interim rule on NRCS’s implementation of the
wetlands conservation program, as opposed to the environmental impacts. It is axiomatic that the
purpose of an impacts analysis under NEPA is to evaluate the environmental impacts or effects
of a proposed action. Cf. Metropolitan Edison Co. v. People Against Nuclear Energy, 460 U.S.
766, 772 (1983) (“The theme of § 102 [of NEPA] is sounded by the adjective “environmental”:
NEPA does not require the agency to assess every impact or effect of its proposed action, but
only the impact or effect on the environment.”). However, aside from a few general and
conclusory statements regarding the interim rule’s impacts on the amount of wetland acres that
will be identified as subject to the wetlands conservation provisions, NRCS’s impacts analysis
consists of a discussion of the political and administrative difficulties the agency faces in
administering the program. As a result, the EA reads less as a meaningful comparison of
alternatives and their impacts, and more as an impermissible attempt to “rationalize a decision
already made.” Metcalf v. Daley, 214 F.3d 1135, 1142 (9th Cir. 2000); see also, e.g., 40 C.F.R. §
1502.2(g) (explaining that the NEPA process cannot be used to “justify[] decisions already
made”).

        Moreover, while considerations of administrative difficulty properly inform the agency’s
evaluation of the feasibility of alternatives, see, e.g., Theodore Roosevelt Conservation P'ship,
661 F.3d at 72 (defining “reasonable alternatives” as those that are “objectively feasible as well
as ‘reasonable in light of [the agency's] objectives.’” (alterations in original) (quoting City of
Alexandria, 198 F.3d at 867)), NEPA and its implementing regulations demand that the impacts
analysis provide an evaluation of the environmental effects of the proposed action. 40 C.F.R. §
1508.8 (defining environmental impacts to include “ecological . . . , aesthetic, historic, cultural,
economic, social, or health, whether direct, indirect, or cumulative”). Indeed, nothing in NEPA
prevents NRCS from selecting an alternative based on its own policy considerations, as long as
the agency “has adequately considered and disclosed the environmental impact of its actions.”
Nevada v. Dep’t of Energy, 457 F.3d 78, 93 (D.C.Cir.2006) (quoting Balt. Gas, 462 U.S. at 97–
98); see also Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 351 (1989) (“NEPA
merely prohibits uninformed—rather than unwise—agency action.”). By focusing on policy and
political considerations and giving short shrift to environmental impacts, NRCS’s impacts
analysis fails to meet this most basic requirement. Accordingly, because NRCS’s EA fails to
meaningfully grapple with the impacts of its own action on the environment, it violates NEPA’s
“hard look” standard and is arbitrary and capricious.

         In sum, the failure to fully consider an environmental impact has long been held to be
arbitrary and capricious under the procedures set forth in NEPA. See Brady Campaign, 612 F.
Supp. 2d at 21. NRCS’s EA not only fails to consider the environmental impacts of the interim
rule, it fails to acknowledge that such impacts even exist. However, it is well-established that
“[i]gnoring possible environmental consequences will not suffice.” Found. on Econ. Trends, 756
F.2d at 154 (citing 40 C.F.R. § 1508.27(b)(5)). Accordingly, for all of these reasons, NRCS
arbitrarily and capriciously ignored the environmental impacts that would result from its interim
rule. NRCS must correct these serious deficiencies to comply with its obligations under NEPA.




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       F.      By Failing To Take A “Hard Look” At The Impacts Of, And Alternatives To,
               The Interim Rule, NRCS Precluded Meaningful Public Participation In
               Violation Of NEPA.

        As a practical matter, as discussed below, NRCS’s failure to adequately describe and
evaluate the alternatives and their impacts deprived the public of any meaningful opportunity to
participate in the agency’s decisionmaking process. Indeed, NEPA regulations require federal
agencies to involve the public in the NEPA process “to the fullest extent possible” 40 C.F.R. §
1500.2.

         As discussed above, NRCS failed to provide the public with sufficient information
regarding the proposed action and its potential environmental impacts to allow for meaningful
substantive comment. Although NRCS held public meetings and distributed a slideshow packet
describing the interim rule, the scoping notice did not provide any environmental information
about the rule’s potential environmental impacts. Courts have previously faulted agencies for
“fail[ing] to give the public an adequate pre-decisional opportunity for informed comment”
where they distributed a scoping letter but no draft EA, particularly where “the scoping notice
provided no environmental data concerning impacts to wildlife, cultural resources, watersheds,
soils, fisheries, or aquatics,” nor did it discuss “potential cumulative effects.” Sierra Nev. Forest
Prot. Campaign v. Weingardt, 376 F.Supp.2d 984, 992 (E.D. Cal. 2005). Repeated requests to
NRCS for draft EAs and related documents were refused. As a result, the only opportunity for
the public to participate in the NEPA process was after the EA was finalized. Moreover, the EA
was released on the same day as the interim rule, which became effective immediately. The
public was therefore precluded from providing input on the interim rule, its impacts, and any
alternatives before the rule went into effect. This cannot be squared with NEPA’s command to
begin the environmental review process “early enough so that it can serve practically as an
important contribution to the decisionmaking process and will not be used to rationalize or
justify decisions already made.” 40 C.F.R. § 1502.5; cf. Gould, 150 F. Supp. 3d at 1182).

        After the interim rule was issued, the serious deficiencies in the EA rendered informed
public comment impossible. In preparing its EA, NRCS was obliged to “provide the public with
sufficient environmental information, considered in the totality of circumstances, to permit
members of the public to weigh in with their views and thus inform the agency decision-making
process.” Bering Strait Citizens for Responsible Res. Dev. v. U.S. Army Corps of Eng'rs, 524
F.3d 938, 953 (9th Cir. 2008). As established above, NRCS’s EA utterly failed in this regard. For
example, by adopting a purpose and need statement that failed to account for its statutory
mandate and impermissibly restricted its range of reasonable alternatives, NRCS deprived the
public of any opportunity to evaluate reasonable alternatives that may better protect agricultural
wetlands while still providing certainty to producers.

        The EA’s overarching and fatal flaw, however, arises from NRCS’s mischaracterization
of the interim rule as a mere “clarification” of existing agency policy. This contrived
construction of the agency’s action taints NRCS’s entire analysis, and is at best, disingenuous,
and at worst, amounts to an intentional effort to once again preclude public participation in, and
oversight of, an administrative program that has significant environmental effects. Either way,
neither the procedure nor the substance of the EA were sufficient “to permit members of the

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public to weigh in with their views and thus inform the agency decision-making process.” Bering
Strait Citizens for Responsible Res. Dev. v. U.S. Army Corps of Eng'rs, 524 F.3d 938, 953 (9th
Cir. 2008). Consequently, NRCS’s EA violates NEPA.

III.     The ESA Requires that NRCS Undergo Section 7 Consultation Prior to
         Promulgating its Proposed Interim Rule.

        Completion of the ESA’s consultation process is vital to compliance with the Act’s
substantive mandates. “Absent consultation with [the FWS], there is no confirmation that [the
agency’s action] would avoid jeopardizing threatened or endangered species or adversely
modifying critical habitat.” Nat’l Parks Conservation Ass’n v. Jewell, 62 F. Supp. 3d 7, 21
(D.D.C. 2014) (citations omitted). NRCS must undertake the legally mandated process for
analyzing and addressing impacts to listed species and their habitat before implementing this
final interim rule that will indisputably harm myriad listed species in various ways. Indeed,
because the interim rule is already in effect, NRCS is currently in ongoing violation of the ESA
and its implementing regulations.

        Wetlands are crucial habitat for at least one third of all plants and animals listed as
threatened or endangered under the ESA. See, e.g., Nat’l Park Serv., Why Are Wetlands
Important?, https://www.nps.gov/subjects/wetlands/why.htm. Nearly half of all listed species use
wetlands at some point during their lifecycle. See, e.g., Roddy Scheer & Doug Moss, Why Are
Wetlands So Important to Preserve?, Scientific Am., https://www.scientificamerican.
com/article/why-are-wetlands-so-important-to-preserve/. Since the 1700s, more than half of the
221 million acres of wetlands that once existed in the lower forty-eight states have been
destroyed. See Nat’l Park Serv., supra. Agricultural conversion has destroyed a “very high
percentage” of wetlands. U.S. Fish & Wildlife Serv., Report to Congress: Wetlands Losses in the
United States, 1780s to 1980s at 9 (1990).

        Three quarters of wetlands in the coterminous United States occur on private lands.
NRCS, Shorebirds 6 (July 2000), available at https://directives.sc.egov.usda.gov/Open
NonWebContent.aspx?content =18480.wba. These wetlands are also experiencing severe
degradation and loss due to agricultural practices and programs. See T. E. Dahl, U.S. Fish &
Wildlife Serv., Status and Trends of Wetlands in the Conterminous United States, 2004 to 2009
42 (2011) (attributing the loss of over 100,000 acres of wetlands to agricultural land uses and
practices from the period of 2004 to 2009). In certain regions, the “profound reductions in
wetland extent have resulted in habitat loss, fragmentation, and limited opportunities for
reestablishment and watershed rehabilitation.” Id. at 16. Thus. The degradation and loss of
agricultural wetlands have been cited as continuing threats to listed species and their recovery. 13


13
  See, e.g., FWS, Bog Turtle Fact Sheet (2010), available at https://www.nrcs.usda.gov/
Internet/FSE_DOCUMENTS/nrcs142p2_017978.pdf (citing the loss of essential breeding
wetland habitat and habitat fragmentation due to agricultural practices as “the greatest threats” to
the threatened bog turtle, especially since the majority of remaining bog turtle habitat occurs on
private lands); FWS, Wood Stork (Mycteria americana), 5-Year Review 16 (2006) (noting that
“loss, fragmentation, and modification of wetland habitats continue as threats to [endangered]
wood storks”); NRCS, Massasauga Rattlesnake Conservation, https://www.nrcs.usda.gov/wps
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        By permitting producers to certify inaccurate wetland determinations and convert
improperly delineated wetlands to agricultural use without penalty, NRCS’s actions at the very
least “may affect” listed species by facilitating the destruction of important habitat for
endangered migratory birds and other animals that frequent agricultural wetlands. Indeed,
considering that nearly half of all listed species depend on wetland habitat at some point in their
lifecycles, and further, that three quarters of wetland habitat in the coterminous United States
occurs on private lands, it defies logic to assume that a change in policy reversing the incentive
to preserve such wetlands would not affect listed species. Accordingly, NRCS is obligated to
consult with FWS to “insure” that the implementation of its new policies will avoid jeopardy to
those species. See 16 U.S.C. § 1536; cf. Nat’l Parks Conservation Ass’n, 62 F. Supp. 3d at 12-13
(“The “may affect” threshold for triggering the consultation duty under section 7(a)(2) is low.”);
see also id. at 13 (“Any possible effect, whether beneficial, benign, adverse, or of an
undetermined character, triggers the formal consultation requirement.”). 14

         Additionally, pursuant to Section 9 of the ESA, it is unlawful to undertake or authorize
activities likely to result in the incidental take of listed species without an adequate biological
opinion—and, most importantly, an incidental take statement—in place. 16 U.S.C. §§ 1536,
1538(g). Those who choose to do so despite this prohibition may be subject to criminal and civil
federal enforcement actions, as well as civil actions by citizens for declaratory and injunctive
relief. See 16 U.S.C. § 1540. NRCS’s implementation of the changes proposed in the final
interim rule are reasonably certain to take listed species. Thus, should NRCS proceed to
implement its final interim rule without obtaining authorization from the FWS to take listed
species, NRCS will be in violation of Section 9. 16 U.S.C. § 1538(a)(1)(B).

        Because the destruction of wetlands—incentivized by NRCS—has serious adverse
effects on listed species, NRCS must conduct Section 7 consultation on the proposed interim
rule. Further, because NRCS is obligated to avoid “mak[ing] any irreversible or irretrievable
commitment of resources with respect to the agency action which has the effect of foreclosing
the formulation or implementation of any reasonable and prudent alternative measures,” 16
U.S.C. § 1536(d)(1), ESA consultation must be completed before the interim rule is finalized.



/portal/nrcs/detail/pa/technical/ecoscience/threat/?cid=nrcseprd1289249 (reporting that the
threatened massasauga rattlesnake is “closely linked to wetlands and the areas around them,” and
is vulnerable to wetland habitat loss due to agricultural practices wetlands); FWS, Southwestern
Willow Flycatcher, 5-Year Review 35 (2014) (finding that the “primary cause of the [endangered
southwestern willow] flycatcher’s decline is loss and modification” of the wetland and riparian
habitats on which it depends due to urban and agricultural development); 74 Fed. Reg. 6700,
6703 (Feb. 10, 2009) (noting that the endangered reticulated salamander depends on wetlands for
breeding habitat, and citing “[r]ange-wide historic losses of both upland and wetland habitat . . .
due to conversion of flatwoods sites to agriculture” as a primary threat to the species’ recovery).
14
  To the extent that species under the jurisdiction of the National Marine Fisheries Service
(“NMFS”) will also be impacted by this policy change, the ESA also requires that NRCS consult
with NMFS concerning the effects to those listed species prior to issuing the interim rule.
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                                         CONCLUSION

For the foregoing reasons, NRCS’s proposed changes to the wetland conservation provisions are
legally deficient. We urge NRCS to withdraw the interim final rule and instead propose a rule
that promotes accurate wetland determinations that include all seasonal wetlands and one that is
subject to robust environmental review and public comment. If NRCS nonetheless proceeds to
issue an interim rule promulgating these changes, it will be doing so in clear violation of federal
administrative and environmental laws. In lieu of taking that step, NWF urges NRCS to
withdraw the rule and explore a less environmentally destructive alternative in an EIS and
through ESA consultation.

                                                     Sincerely,

                                                     Jan Goldman-Carter
                                                     Counsel, Wetlands and Water Resources
                                                     National Wildlife Federation
                                                     1200 G St., NW Suite 900
                                                     Washington, DC 20005
                                                     goldmancarterj@nwf.org
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c: Leslie Deavers,
   Jason Outlaw




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        Comment on FR Doc # 2018-26521


The is a Comment on the Natural Resources Conservation
Service (NRCS) Rule: Highly Erodible Land and Wetland
Conservation                                                           ID: NRCS-2018-0010-0050
                                                                    Tracking Number: 1k3-9838-odzk
For related information, Open Docket Folder

                                                                    Document Information
                                                                   Date Posted:
 Comment                                                           Feb 5, 2019
                                                                   RIN:
 Attached please find the comments of the North Carolina           0578-AA65
 Farm Bureau Federation on the interim final rule amending
 the Highly Erodible Land and Wetland Conservation                 Show More Details
 regulations.

                                                                    Submitter Information
                                                                   Submitter Name:
 Attachments (1)                                                   Anne Coan
                                                                   Organization Name:
          Comments of NCFB on HEL and                              NC Farm Bureau Federation
          Wetland Conservation Interim Rule -
          pdf - 2-5-19
          View Attachment:
      Case 1:19-cv-02416-TSC              Document 35-2      Filed 06/18/21      Page 69 of 248         001812

                  FARM
                BUREAU                      NORTH CAROLINA
                                  • „ FARM BUREAU FEDERATION, INC.
                 MORIN CAROLINA




 PO Box 27766, Raleigh, NC 27611 Phone: 919-782-1705 Fax: 919-783-3593 www.ncfb.org

February 5, 2019

Public Comments Processing
Attention: National Leader for Wetland and
 Highly Erodible Land Conservation
USDA, Natural Resources Conservation Service                  filed via regulations.gov
1400 Independence Avenue SW
Washington, DC 20250

Attention: Docket ID No. NRCS-2018-0010

RE:    Highly Erodible Land and Wetland Conservation, 83 Fed. Reg. 63,046 (Dec. 7, 2018)

To Whom It May Concem:

        The North Carolina Farm Bureau Federation (NCFB) is North Carolina's largest general
farm organization representing the interests of farm and rural people in our state. This letter is to
comment on the U.S. Department of Agriculture's ("USDA") interim final rule amending its
Highly Erodible Land and Wetland Conservation regulations at 7 C.F.R. part 12 (collectively,
the "conservation compliance program). The revisions were published in the Federal Register
on December 7, 2018 at 83 Fed. Reg. 63,046 and were made effective that same day. The stated
purpose of these revisions is to "codify many technical portions of the existing agency policy
that have not undergone public review and comment." 83 Fed. Reg. at 63,047.

       NCFB is extremely troubled by this rulemaking due to the fundamental lack of
transparency and due process it affords farmers in our state. Highly Erodible Land and Wetland
Conservation regulations are not incentive programs; rather, they are compliance regulations that
not only impact participation in farm programs but also directly influence the ability of farmers
and ranchers to secure vital operating loans.

        NCFB is concerned with this Interim Rule because it makes program participation
significantly more difficult and fails to provide the notice and opportunity to participate in the
process due regulated entities.

I.     Conservation Compliance Programs Must Provide Farmers with Due Process.

       The following background regarding the conservation compliance program provides
important context for the specific comments on the Interim Rule that follow.

       A.      The Conservation Compliance Program Effectively Regulates American Farms.

       First and foremost, the conservation compliance programs operate fundamentally as
regulatory programs. As such, they should operate with all the duties and rights that such a
regulatory program entails. Farmers are regulated entities because they stand to lose vital
payments, loans, and crop insurance benefits in the event of adverse determinations. But from


                                   Farm Bureau and kcIricuIture...
                                   We keep North Carolina growing!
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        Comment on FR Doc # 2018-26521


The is a Comment on the Natural Resources Conservation
Service (NRCS) Rule: Highly Erodible Land and Wetland
Conservation                                                             ID: NRCS-2018-0010-0051
                                                                     Tracking Number: 1k3-9838-5xm8
For related information, Open Docket Folder

                                                                      Document Information
                                                                     Date Posted:
 Comment                                                             Feb 5, 2019
                                                                     RIN:
 National Wildlife Federation                                        0578-AA65
 National Advocacy Center
 1200 G Street NW, Suite 900                                         Show More Details
 Washington, DC 20005

 February 5, 2019                                                     Submitter Information
                                                                     Submitter Name:
 Public Comments Processing
                                                                     Zachary Evans
 Attention: National Leader for Wetland and Highly Erodible
 Land Conservation, USDA                                             Organization Name:
 Natural Resources Conservation Service                              National Wildlife Federation Action
 1400 Independence Avenue SW                                         Fund
 Washington, DC 20250

 Dear National Leader for Wetland and Highly Erodible Land
 Conservation,

 Attached are 14,446 individually submitted comments from
 National Wildlife Federation members and supporters
 reflecting the following:

 I urge Natural Resource Conservation Service (NRCS), a
 division of the U.S. Department of Agriculture, to withdraw
 the interim final rule on wetland determinations because it
 promotes the exclusion of seasonal wetlands from the Farm
 Bill's wetland conservation compliance safeguards,
 encouraging additional wetland drainage in the Prairie
 Pothole Region and beyond. Instead, NRCS should propose
 a rule that promotes accurate wetland determinations that
 include all seasonal wetlands and one that is subject to
 robust environmental review and public comment.

 The current rule undermines protections for seasonal
                             Case 1:19-cv-02416-TSC          Document 35-2               Filed 06/18/21           Page 71 of 248                                          001955



Diana   Anderson   1489 Oak Hill Rd   Roseburg     OR   97471-   I urge Natural Resource Conservation Service (NRCS), a division of the U.S. Department of Agriculture, to
                                                        9683     withdraw the interim final rule on wetland determinations because it promotes the exclusion of seasonal
                                                                 wetlands from the Farm Bill's wetland conservation compliance safeguards, encouraging additional wetland
                                                                 drainage in the Prairie Pothole Region and beyond. Instead, NRCS should propose a rule that promotes
                                                                 accurate wetland determinations that include all seasonal wetlands and one that is subject to robust
                                                                 environmental review and public comment. The current rule undermines protections for seasonal wetlands,
                                                                 encouraging wetland drainage and ignoring the letter and spirit of the Farm Bill wetland conservation
                                                                 compliance provisions for the following reasons: *The rule systematically excludes seasonal wetlands from
                                                                 wetland maps that form the basis for producer compliance. Of particular concern is the rule's certification of
                                                                 old (pre-1996) wetland determinations that have consistently excluded seasonal wetlands. *The rule relies
                                                                 on satellite imagery from the hottest time of the year (July/August), when seasonal wetlands have likely dried
                                                                 out. It also looks at precipitation data from a historically dry period (1990-2000) further limiting the number
                                                                 and size of seasonal wetlands subject to the wetland conservation compliance requirements. What is worse,
                                                                 there has been no scientific analysis of the impacts of using this outdated information. Seasonal wetlands fill
                                                                 early in the spring, which is when they provide their most important flood storage and wildlife benefits,
                                                                 particularly for migrating and nesting waterfowl. Any NRCS wetland determination rule should account for
                                                                 the use of summer imagery and promote investments in more accurate spring imagery.


Diane   Anderson   1468 Southfield    Birmingham   MI   48009-   I urge Natural Resource Conservation Service (NRCS), a division of the U.S. Department of Agriculture, to
                   Rd                                   3053     withdraw the interim final rule on wetland determinations because it promotes the exclusion of seasonal
                                                                 wetlands from the Farm Bill's wetland conservation compliance safeguards, encouraging additional wetland
                                                                 drainage in the Prairie Pothole Region and beyond. Instead, NRCS should propose a rule that promotes
                                                                 accurate wetland determinations that include all seasonal wetlands and one that is subject to robust
                                                                 environmental review and public comment. The current rule undermines protections for seasonal wetlands,
                                                                 encouraging wetland drainage and ignoring the letter and spirit of the Farm Bill wetland conservation
                                                                 compliance provisions for the following reasons: *The rule systematically excludes seasonal wetlands from
                                                                 wetland maps that form the basis for producer compliance. Of particular concern is the rule's certification of
                                                                 old (pre-1996) wetland determinations that have consistently excluded seasonal wetlands. *The rule relies
                                                                 on satellite imagery from the hottest time of the year (July/August), when seasonal wetlands have likely dried
                                                                 out. It also looks at precipitation data from a historically dry period (1990-2000) further limiting the number
                                                                 and size of seasonal wetlands subject to the wetland conservation compliance requirements. What is worse,
                                                                 there has been no scientific analysis of the impacts of using this outdated information. Seasonal wetlands fill
                                                                 early in the spring, which is when they provide their most important flood storage and wildlife benefits,
                                                                 particularly for migrating and nesting waterfowl. Any NRCS wetland determination rule should account for
                                                                 the use of summer imagery and promote investments in more accurate spring imagery.
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        Comment on FR Doc # 2018-26521


The is a Comment on the Natural Resources Conservation
Service (NRCS) Rule: Highly Erodible Land and Wetland
Conservation                                                        ID: NRCS-2018-0010-0054
                                                                Tracking Number: 1k3-9839-8579
For related information, Open Docket Folder

                                                                 Document Information
                                                                Date Posted:
 Comment                                                        Feb 11, 2019
                                                                RIN:
 Please see the attached comment from the American Farm         0578-AA65
 Bureau Federation.
                                                                Show More Details



 Attachments (1)                                                 Submitter Information
                                                                Submitter Name:
                                                                Lee Bridgett
          2019.02.05 AFBF Comments on USDA
          Wetlands Determinations Interim
          Final Rule
          View Attachment:
      Case 1:19-cv-02416-TSC         Document 35-2         Filed 06/18/21      Page 73 of 248           009319




February 5, 2019

Public Comments Processing
Attention: National Leader for Wetland and
 Highly Erodible Land Conservation
USDA, Natural Resources Conservation Service
1400 Independence Avenue SW
Washington, DC 20250

Attention: Docket ID No. NRCS-2018-0010

RE:     Highly Erodible Land and Wetland Conservation, 83 Fed. Reg. 63,046 (Dec. 7, 2018)

To Whom It May Concern:

        The American Farm Bureau Federation (AFBF) appreciates this opportunity to offer
comments on the U.S. Department of Agriculture’s (“USDA”) interim final rule amending its
Highly Erodible Land and Wetland Conservation regulations at 7 C.F.R. part 12 (collectively,
the “conservation compliance” program). The revisions were published in the Federal Register
on December 7, 2018 at 83 Fed. Reg. 63,046 and were made effective that same day. The stated
purpose of these revisions is to “codify many technical portions of the existing agency policy
that have not undergone public review and comment.” 83 Fed. Reg. at 63,047. The revisions
amend four sections of USDA’s regulations. Farm Bureau is extremely troubled by this
rulemaking due to the fundamental lack of transparency and due process it affords farmers and
ranchers. Highly Erodible Land and Wetland Conservation regulations are not incentive
programs; rather, they are compliance regulations that not only impact participation in farm
programs but also directly influence the ability of farmers and ranchers to secure vital operating
loans.

        AFBF is the nation’s largest general farm organization, representing farm and ranch
families in all 50 states and Puerto Rico. As a farm advocacy organization, AFBF regularly
represents its members’ interests before Congress, federal regulatory agencies and the courts.
AFBF’s members produce a variety of commodities grown or raised commercially in the United
States. Many AFBF members are forced to participate in USDA conservation compliance
programs, meaning they are not eligible for farm programs or crop insurance premium discounts
unless they comply with USDA requirements, which over time has proven to be an increasingly
difficult and unpredictable endeavor. Therefore, many producers are directly affected by the
interim final rule.

        AFBF offers the following comments on specific aspects of USDA’s Interim Rule. To be
clear, AFBF favors significant reforms to the conservation compliance program. We are
concerned with this Interim Rule because it makes program participation significantly more
difficult and fails to provide the notice and opportunity to participate in the process due regulated
entities.

I.      Conservation Compliance Background
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       The following background regarding the conservation compliance program provides
important context for the specific comments on the Interim Rule that follow.

       A.      The Conservation Compliance Program Effectively Regulates American Farms.

        First and foremost, the conservation compliance programs operate fundamentally as
regulatory programs. As such, they should operate with all the duties and rights that such a
regulatory program entails. By standing to lose vital payments, loans, and crop insurance benefits
in the event of adverse determinations, farmers are regulated entities. But from these programs’
inception, USDA has avoided providing farmers the certainty and due process they need and
deserve to be able to determine the extent of their legal obligations and rights under the
programs. More importantly, we find that guidance, policy and even the interim rules fail to
match up with the statute in very substantive ways.

       It is bad enough that USDA’s conservation compliance programs lack clear regulatory
standards; compounding the problem is that binding requirements are difficult to find, located on
often obscure websites. Worse still, binding guidance and policy tend to morph over time
without proper notification or legal justification. This opaque regulatory approach complicates
farmers’ good-faith attempts to comply with the law.

       B.      The Conservation Compliance Program Must Provide Farmers Meaningful
               Involvement in the Wetland Determination Process and Rights to Appeal the
               Same.

        Farm Bureau is concerned that USDA is codifying policy and regulations in a manner
that undermines congressional intent (as expressed in the 1985 farm bill and in subsequent farm
bills) and unjustifiably disadvantages farmers without adequate notice and opportunity to be
heard. While we agree that codifying clear, readily ascertainable program requirements into
regulation is important, it is but an initial step in a much larger task of reforming the
conservation compliance programs as a whole. As the U.S. Department of Justice made clear in
2018 in what has come to be known as the “Brand Memo” (a copy of which is provided along
with these comments as Exhibit A, and available at
https://www.justice.gov/file/1028756/download), federal agencies may not rely on guidance to
enforce purported violations of law. Yet this is effectively what USDA has been doing, by its
own admission. USDA contends that this rulemaking is only attempting to “codify many
technical portions of the existing agency policy that have not undergone public review and
comment.” This statement alone highlights two very significant problems. First, the changes
finalized in this interim rule are not mere technical changes to existing regulations; the changes
are substantive and will directly impact eligibility of program participants. And secondly, the
fact that USDA admits it is codifying “…existing agency policy that ha[s] not undergone public
review and comment…” showcases the fundamental lack of transparency and due process
farmers and ranchers have endured under this regulatory program.

       Program participants both demand and deserve to know “how USDA delineates,
determines, and certifies wetlands,” and “program participants” deserve “to better understand
whether their actions may result in ineligibility for USDA program benefits.” 83 Fed. Reg. at
63,047. Essentially, USDA has been making regulatory determinations with significant legal and


                                                 2
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May 2, 2019

Via Electronic and/or Certified Mail

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       Re:    Notice of Violations of the Endangered Species Act in Connection with Major
              Policy Changes by USDA and NRCS Concerning the Process for Making
              Wetland Determinations for Farm Bill Incentive Eligibility

        On behalf of the National Wildlife Federation (“NWF”) we hereby notify you of
violations of the Endangered Species Act (“ESA”), 16 U.S.C. §§ 1531-1544, in connection with
changes to the implementation of the Natural Resource Conservation Service’s (“NRCS”)
wetland conservation compliance policies, as articulated in the February 12, 2013 Memorandum
titled “Summary of Proposed Wetland Conservation Compliance Changes and Clarifications”
(“2013 Memorandum”), and the January 19, 2017 Amendment to the Food Security Act (“FSA”)
Manual § 514.1(A) (“2017 Amendment”), and formalized in the December 2018 Interim Rule
for the Highly Erodible Land and Wetland Conservation Compliance provisions of the Food
Security Act of 1985, see 83 Fed. Reg. 63,046 (Dec. 7, 2018). The 2013 Memorandum was
implemented in three states—North Dakota, Minnesota, and Iowa—and authorizes NRCS to
accept agricultural wetland determinations made prior to July 3, 1996 (“pre-1996
determinations”) as “certified” for the purposes of the conservation compliance provisions of the
1996 Farm Bill, Pub. L. 104-127, § 322(a), 110 Stat. 888 (Apr. 4, 1996) (codified as amended at
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        On December 7, 2018, NRCS published its proposed changes to the wetland conservation
provisions as an interim rule, effective upon publication, with a request for comments. See
Highly Erodible Land and Wetland Conservation, 83 Fed. Reg. 63,046 (Dec. 7, 2018) (Ex. AA).
The interim rule was accompanied by an Environmental Assessment. There is no indication that
NRCS ever consulted with the U.S. Fish and Wildlife Service under the ESA, either formally or
informally. Nor does the interim rule candidly state how NRCS will treat pre-1996 “official”
determinations. This is particularly concerning because the 2013 internal memorandum
originally proposing these changes noted that “[a]dministrative guidance will be developed” to
allow producers “to either accept their [pre-1996] determination as certified or request a new
certified determination.” Ex. V at 3. The interim rule fails to foreclose this possibility, apparently
leaving NRCS with the option of formalizing through administrative guidance a highly
controversial change in policy that the agency itself previously stated would require a
rulemaking proceeding, that is in direct contravention to Congress’s longstanding and well-
documented intent to improve the accuracy of wetland determinations, and even worse, without
the robust public participation and review that should accompany such a significant shift in
agency policy and practice.15

        Since the 2013 Memorandum and continuing until the Interim Rule, NRCS has taken
consistent actions to formalize its policy of permitting the certification of inaccurate pre-1996
wetland determinations, which effectively removes the economic incentive to preserve
agricultural wetlands. Indeed, by allowing farmers to receive agricultural subsidies when they
destroy wetlands, NRCS has established a perverse incentive that thwarts the congressional
intent behind the Wetland Conservation provisions of the Farm Bill. As the Inspector General
found and reported in the OIG Report, the policy has in fact led to a dramatic reduction in
agricultural wetland acreage. See Ex. S at 6 (“As a result of this change in the implementation of
policy, many acres of wetlands are being inappropriately drained and converted to agricultural
production.”); id. at 7-8 (describing how NRCS’s change in the implementation of its policy led
to the destruction of a total of 75% of the wetlands on thirteen reviewed tracts that had
previously existed and been identified under NRCS’s old policy).

        Despite the fact that the destruction of wetlands in the prairie pothole region—
incentivized by NRCS—has serious adverse effects on listed species, NRCS has not conducted
any Section 7 consultation (either informal or formal) on the policy changes implemented by the
Interim Rule and its associated actions—i.e., the 2013 Memorandum, the 2017 Amendment, and
any certification of inaccurate pre-1996 wetland determinations under the Memorandum,
Amendment, or Interim Rule—despite the fact that many acres of wetlands used by listed species
have been converted to farmland since 2013.




15
  NWF submitted written comments on the Interim Rule on February 5, 2019, which are
incorporated by reference herein. See Ex. Z.
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                                     LEGAL VIOLATIONS

       A.      NRCS is in Violation of Section 7(a)(2) of the ESA by Failing to Consult with
               FWS Regarding its Interim Rule and Associated Actions Implementing
               Significant Changes in its WC Policies and Jeopardizing the Continued
               Existence of Several Endangered and Threatened Migratory Birds that
               Frequent the Prairie Pothole Region.

         Completion of the consultation process is vital to compliance with the ESA’s substantive
mandates. “Absent consultation with [the FWS], there is no confirmation that [the agency’s
action] would avoid jeopardizing threatened or endangered species or adversely modifying
critical habitat.” Nat’l Parks Conservation Ass’n v. Jewell, 62 F. Supp. 3d 7, 21 (D.D.C. 2014)
(citations omitted). Here, NRCS failed to undertake the legally mandated process for analyzing
and addressing impacts to listed species and their habitat, although it is apparent that the policy
changes implemented by the Interim Rule and its associated actions indisputably harm myriad
such species in various ways.

        By permitting producers to certify inaccurate wetland determinations and convert
improperly delineated wetlands to agricultural use without penalty, NRCS’s actions not only
“may affect,” but are presently affecting listed species through the destruction of important
habitat for endangered migratory birds that frequent the prairie pothole states. See, e.g., Ex. S at
7-8 (reporting cases where NRCS rescinded more recent wetland determinations and certified
pre-1996 determinations—which resulted in the drainage of 75% of previously protected
wetlands on examined tracts—and noting that those cases were not “isolated incident[s]”).
Examples of such listed species that are affected by the destruction and degradation of wetland
habitat include the whooping crane, the piping plover, and the least tern. See supra at 5-7.

        Furthermore, the application of this policy nationwide by the Interim Rule threatens the
destruction of even more wetland habitat, and at the very least, “may affect” additional
endangered species that inhabit agricultural wetlands outside of the prairie pothole states. Indeed,
considering that nearly half of all listed species depend on wetland habitat at some point in their
lifecycles, and further, that three quarters of wetland habitat in the coterminous United States
occurs on private lands, it would defy logic for NRCS to decline to undergo consultation on the
basis that a change in policy reversing the incentive to preserve such wetlands would not affect
listed species. Accordingly, prior to promulgating its Interim Rule, NRCS was obligated to
consult with the FWS to “insure” that the implementation of its new policies will avoid jeopardy
to those species. See 16 U.S.C. § 1536; cf. Nat’l Parks Conservation Ass’n, 62 F. Supp. 3d at 12-
13 (“The “may affect” threshold for triggering the consultation duty under section 7(a)(2) is
low.”); see also id. at 13 (“Any possible effect, whether beneficial, benign, adverse, or of an
undetermined character, triggers the formal consultation requirement.”). Yet, NRCS has never
undergone any such consultation, in violation of Section 7(a)(2).

       Moreover, NRCS’s adoption and implementation of a policy that has in fact led to the
destruction of agricultural wetlands that provide important habitat for listed species cannot be
reconciled with the ESA’s command that federal agencies “insure” that their actions avoid
species jeopardy. See Ex. S at 7-8. As the Supreme Court has explained, to “‘insure’ something

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       National Park Service (/)



NPS.gov (/) / Explore This Subject (/subjects/wetlands/index.htm) / About Wetlands (/subjects/wetlands/about.htm)
/ Why are Wetlands Important?




Why are Wetlands Important?




Wetlands are highly productive and biologically diverse systems that enhance water quality, control erosion,
maintain stream flows, sequester carbon, and provide a home to at least one third of all threatened and
endangered species.

Wetlands are important because they:

       improve water quality

       provide wildlife habitat

       maintain ecosystem productivity

       reduce coastal storm damage

       provide recreational opportunities

       improve the water supply
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      provide opportunities for education


Why Are Wetlands Important?

In the not too distant past, wetlands were regarded as wastelands. Most people felt that they were places to be
avoided, and it was common practice to drain them, fill them or treat them as dumping grounds. A study published
by the U.S. Fish and Wildlife Service in 1990 revealed a startling fact: more than half of the 221 million acres of
wetlands that existed in the lower 48 states in the late 1700s have been destroyed.


Today, we know that wetlands provide many important services to the environment and to the public. They offer
critical habitat for fish, waterfowl and other wildlife, they purify polluted waters, and they help check the destructive
power of floods and storms. They also provide a wide variety of recreational opportunities such as fishing, hunting,
photography, and wildlife observation. As these and many other wetland functions and values described below
have become more widely known, wetlands are increasingly seen as productive and valuable resources worthy of
protection and restoration.


      Water Quality: Wetlands act as natural water purifiers, filtering sediment and absorbing many pollutants in
      surface waters. In some wetland systems, this cleansing function also enhances the quality of groundwater
      supplies.




      Reduction of Coastal Storm Damage:         Coastal wetlands help to blunt the force of major storms. For
      example, mangrove forests in south Florida and salt marshes along the Atlantic and Gulf Coasts reduce
      flooding, coastal erosion, and property damage during major storms.




      Flood Control and Streamflow Maintenance          : Wetlands along rivers and streams absorb energy and store
      water during storms, which reduces downstream flood damage and lessens the risk of flash floods. The
      slow release of this stored water over time can help keep streams flowing during periods of drought.




      Streambank Stabilization and Erosion Control:         Wetland vegetation binds the soil on streambanks and
      riparian wetlands, preventing excessive erosion and sedimentation downstream.




      Wildlife Habitat: Wetlands provide
      habitat for many species of
      amphibians, reptiles, birds and
      mammals that are uniquely adapted to
      aquatic environments. Upland wildlife
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like deer, elk and bears commonly use
wetlands for food and shelter.
Wetlands are particularly vital to many
migratory bird species. For example,
wood ducks, mallards, and sandhill
cranes winter in flooded bottomland
forests and marshes in the southern
U.S., and prairie potholes provide
breeding grounds for over 50% of
North American waterfowl.




Fish and Shellfish Habitat:
Freshwater and marine life including
trout, striped bass, pike, sunfish,
crappie, crab, and shrimp rely on
wetlands for food, cover, spawning,           Least Bittern
and nursery grounds. Between 60%
                                              Photo by Thom Curdts
and 90% of U.S. commercial fisheries
depend on wetlands.




Habitat for Threatened and Endangered Species:           About one-third of all plants and animals listed as
threatened or endangered species in the United States depend on wetlands for their survival, including
whooping cranes, American crocodiles, the dwarf lake iris and several orchid species.




Specialized Plant Habitat:     Nearly 7000 plant species live in U.S. wetlands, many of which can only survive
in these wet environments.




Ecosystem Productivity:       Some wetland types are among the most productive ecosystems on earth. A
stand of cordgrass in a salt marsh can produce more plant material and store more energy per acre than
any agricultural crop except cultivated sugar cane. Nutrients and plant material flushed from some wetland
systems during storms provide essential food for plants, fish, and wildlife in estuaries and other downstream
ecosystems.




Recreational Opportunities:      Many wetlands contain a diversity of plants, animals and water features that
provide beautiful places for sightseeing, hiking, fishing, hunting, boating, bird watching, and photography.
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Water Supply: Some wetlands help provide clean, plentiful water supplies. For example, wetlands in
Florida's Everglades help recharge the Biscayne Aquifer, the sole source of drinking water for the Miami
metropolitan area.




Education: Ecological, cultural, and
historic resources run abundant in our
nation's wetlands, and provide
countless opportunities for
environmental education and public
awareness programs.




                                            A staff member at Channel Islands National Park describes a wetlands
                                            restoration project to visitors and the media.




                                                                                             Last updated: May 5, 2016




                                                                             (//www
                                                                             National.nps.gov)
                                                                                       Park Service
                                                                             U.S. Department of the Interior
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            Why Are Wetlands So Important to Preserve?
   Besides recharging groundwater supplies and trapping floodwaters, wetlands serve a variety of
                                 important ecological functions
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decades due to increased global demand for land and water, as well as climate
change.”


The widespread expansion of development in the U.S. in recent decades has brought
the issue of wetlands loss to the forefront of debates on zoning and land use planning.
One of the key and underlying issues is concern about endangered species: More than
a third of species on the U.S. Endangered Species List live only in wetlands and
almost half use them at some time during their lifecycles.


While the issue lingers on in municipal planning meetings around the country, the
federal government does what it can to protect wetlands. It does so through
regulations spelled out in the Clean Water Act, which include providing tax incentives
for selling or giving wetlands to land trusts or other conservation groups, via
cooperative efforts with state and local entities, and by acquiring wetlands outright to
add acreage to public lands systems. And several states have passed laws to regulate
activities in wetlands, and many municipalities include wetlands conservation in their
development permitting and zoning processes.


Readers can do their part by staying current on local zoning laws, keeping an eye on
local wetlands and speaking up if something looks amiss. Potential problems are
much easier to resolve early on than after damage is done, so speaking up soon can
often lead to more successful and less contentious outcomes.


CONTACTS : EPA Wetlands, water.epa.gov/type/wetlands/; Wetlands International,
www.wetlands.org.




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                      Status and Trends of
                      Prairie Wetlands in the
                      United States 1997 to 2009
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Executive Summary


This study examined recent trends in wetland extent         The number of wetland/water basins1 in the PPR was
and habitat type throughout the Prairie Pothole Region      determined using a geospatial model to calculate spatial
(PPR) in the United States. Wetland trends were mea-        dominance of basin area by water regime type. There
sured by the examination of high resolution imagery for     were an estimated 2,624,990 wetland/water basins in
755 randomly selected sample plots covering the prairie     the PPR. Temporarily flooded emergent wetland basins
regions of Montana, North Dakota, South Dakota,             were the most numerous, composing almost half of all
Minnesota and Iowa. The analysis of this imagery in         emergent wetland basins in the PPR. An estimated
combination with field verification provided a scientific   41.7 percent of emergent basins were seasonally flooded,
basis for estimations of wetland extent, type and distri-   6 percent were semi-permanently flooded and farmed wet-
bution that had occurred between 1997 and 2009.             lands made up an estimated 2.4 percent of the emergent
                                                            wetland basins in 2009. There were very few (0.2 percent)
This information provides a quantitative measure of the     saturated emergent wetland areas in the PPR.
areal extent of all wetlands, regardless of ownership, in
the PPR. Wetlands were defined using biological crite-      The maximum density of wetland was 148 basins
ria and standardized nomenclature for the classification    per mi2 (57 basins/km2) in portions of North Dakota.
of wetland types. Recently acquired remotely sensed         Wetland/water basins averaged from 30 per mi2
imagery was used as the principle means to assess           (12 basins/km2) in North Dakota to 4 and 5 basins per
wetland change with a number of geoprocessing and           mi2 (1–2 basins/km2) in Iowa and Minnesota. The mean
quality control measures implemented to ensure data         number of wetland/water basins found in the PPR in
completeness and accuracy. The spatial sample design        2009 was 17.4 basins per mi2 (6.7 basins/km2). The mean
involved randomized sampling of geospatial information      size of these basins was 3.2 acres (1.3 ha).
on 4 mi2 (10.4 km2) plots. This was a well-established
procedure that provided a practical, scientific approach    Wetlands as a percentage of surface area in the PPR
for measuring wetland area extent (status) and change       were most abundant in North Dakota, making up
rates (trends). Statistical estimates provided regionally   9 percent of the surface area in the prairie region of
specific status and change information as well as esti-     that state in 2009. South Dakota was similar with
mates by wetland type. Important procedural enhance-        8.5 percent of the land area identified as wetland.
ments to this study of the PPR included the addition        Minnesota had 6.7 percent wetland by area, Iowa
of wetland and water basin morphology, hydrologic           2.7 percent and wetlands were the least common in
descriptors and the addition of an upland grassland         Montana with 1.9 percent of the land area as wetland.
category to track changes in grassland area. Field
verification was completed for 205 (27 percent) of the      An estimated 94 percent of wetlands were located
sample plots during 2010 to 2013.                           within or adjacent to agricultural lands or grassland.
                                                            Less than 1 percent were within or adjacent to urban
This report provides data regarding trends in wetland       or developed areas and about 5 percent were within or
extent and type; however, it does not draw conclusions      adjacent to other types of uplands or river corridors.
regarding the quality or condition of prairie wetlands.
                                                            Between 1997 and 2009, total wetland area declined by
Results from this study indicated that there were an        an estimated 74,340 acres (30,100 ha) or 1.1 percent in
estimated 6,427,350 acres (2,602,165 ha ± 4.3 percent)      the PPR. This represents an average annual net loss
of wetlands in the PPR in 2009. Emergent wetlands           of 6,200 acres (2,510 ha). However, emergent wetlands
made up about 87.7 percent of the total wetland area        (emergent marshes and farmed wetlands) declined by
and 93 percent of all wetland basins in the PPR. Wet-       an estimated 95,340 acres (38,600 ha). Shrub wetlands
lands classified with woody vegetation (wetland forest      also declined by 46,080 acres (18,660 ha). Forested
or shrubs collectively) composed 8.3 percent of the         wetlands increased in area (61,280 acres or 24,810 ha)
surface area and open water ponds 4 percent. By area,       ameliorating some of the loss of emergent marsh and
seasonally flooded emergent marshes had the great-          shrub wetland area. Open water ponds also increased
est area with 2,313,650 acres (936,700 ha) followed by      in area by 5,800 acres (2,350 ha) over the 12 year
semi-permanently flooded marshes with 1,945,460 acres       period.
(787,636 ha) and temporarily flooded wetland with
1,187,700 acres (480,850 ha).                                1
                                                              Basin numbers include wetland and lake (deepwater) basin types.


                                                                                                                             1
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The Prairie Pothole Region of the United States


The glaciated prairie region is an area of about              The PPR is a grassland ecoregion of regional and
300,000 mi2 (777,000 km2) located in the central              global importance for migratory birds and other fauna
portion of the North American Continent (Smith et al.         (Blann et al. 2009). The North American prairie as it
1964). In the United States, this region encompasses          existed prior to European settlement was dominated
an area of about 150,930 mi2 (390,910 km2) and extends        by grasses, and a scarcity of shrubs and trees except
from central Iowa north to the Canadian border and            along river or stream corridors (Weaver 1954). By the
includes portions of the states of Iowa, Minnesota,           late 1990s less than 1 percent of the historic native
North Dakota, South Dakota and Montana. The region            tall-grass prairie and less than 30 percent of the native
is characterized by glacial or post-glacial derived           mixed-grass prairie remained (Samson et al. 1998;
depressions or basins resulting from the retreat of the       Wright and Wimberly 2013). Grasslands are consid-
Laurentide ice sheet of the Wisconsin Glacial Episode         ered one of North America’s most endangered ecosys-
(Johnson et al. 2008). As a result, there are numerous        tems (Beyersbergen et al. 2004; Hoekstra et al. 2005).
small landscape depressions left behind as the glaciers       Upland grassland in the PPR provides a range of eco-
receded from this part of the continent. These land-          logical benefits including trapping of sediment; slowing
scape depressions, termed “potholes,” collect rainfall        of water runoff; and a source of food, nesting cover and
and snowmelt, forming small shallow wetlands and              habitat corridors for many wildlife species.
ponds (Figure 1).




Figure 1.   Aerial image of numerous wetland basins, Day County, SD, circa 2010.




6  Status and Trends of Prairie Wetlands in the United States 1997 to 2009
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Historically, throughout the PPR the average annual         Wetlands are the cornerstone that support these spe-
precipitation has always been less than the average         cies as well as other populations of North American
annual rate of evaporation (Winter 1989). The amount        waterbirds including Franklin’s Gull (Leucophaeus
and timing of precipitation affects the duration and        pipixcan), Western Grebe (Aechmophorus occidenta-
depth of water in prairie pothole wetlands on a sea-        lis), American Bittern (Botaurus lentiginosus), Sora
sonal or annual basis, and changes in snowfall, rainfall,   (Porzana carolina), Black Tern (Chlidonias niger),
soil moisture, frost, temperature and winds can cause       American White Pelican (Pelecanus erythrorhynchos)
dramatic fluctuations in surface water conditions and       and Sandhill Crane (Grus canadensis) (Figure 4).
alter the number of ponded prairie wetlands at irregu-
lar intervals. There has been a strong tendency for         Prairie pothole wetlands are also extremely important
many pothole wetlands to become dry late in the grow-       to other forms of wildlife. There are over 300 animal
ing season. Smith et al. (1964) estimated that in any       species known to use wetlands in the PPR (Peterson
given year as many as one third of the prairie pothole      et al. 1985; Fritzell 1989; USGAO 2007; Herman and
wetlands will dry up between May and July. Cowar-           Johnson 2008). Many game species such as Ring-necked
din et al. (1988) assumed that only 26 percent of the       Pheasants (Phasianus colchicus) and White-tailed
temporarily flooded wetland basins, 51 percent of the       Deer (Odocoilius virginianus) use pothole wetlands
seasonal and 72 percent of the semi-permanent basins        extensively for habitat cover (Figure 5). Additionally,
may hold water in an average year.                          various state and federally endangered species such
                                                            as the Whooping Crane (Grus americana), Piping
This cyclical pattern of flooding and drying greatly        Plover (Charadrius melodus) and Interior Least Tern
influences wetland ecology in the PPR as it is possible     (Sterna antillarum) use these wetlands as habitat or
for an intact wetland basin to exhibit different hydro-     for forage. Shorebirds such as Long-billed Dowitchers
logic traits along a continuum depending on precipita-      (Limnodromus scolopaceus), Stilt Sandpipers (Calid-
tion from year to year or even season to season. For        ris himantopus) and Wilson Phalaropes (Phalaropus
example, during extended wet periods, some wetland          tricolor) utilize prairie wetlands as staging or stopover
basins classified as temporarily flooded can take on the    sites and seek out wet mud flats and shallow water
characteristics of seasonally flooded (hierarchically       areas during migration (Skagen and Knopf 1994;
wetter) wetlands. The opposite may apply in dry years       Skagen and Thompson 2013).
as semi-permanently flooded wetlands may be the only
basins with surface water and resemble seasonal or          This report provides a comprehensive, scientifically
even temporarily flooded wetlands in both appearance        sound assessment on the status of these wetland
and function (Johnson et al. 2008). These dynamics,         resources that has not been summarized for this region
compounded by anthropogenic alterations (i.e. drain-        as a whole.
age or redirection of water) and potential long-term
climatic changes, complicate efforts to categorize wet-
lands in the PPR by type.

Variations in the hydrology of prairie wetlands also
make their biological characterization challenging          Figure 3. (Right, top). The Prairie Pothole Region is
(Euliss and Mushell 2011) as plant community com-           renowned for waterfowl production. Mallards, pictured here,
position and extent change to reflect current water         are a common species that use prairie pothole wetlands.
conditions.                                                 Figure 4. (Right, bottom). Wetlands in the Prairie Pothole
                                                            Region support many species of wildlife including the
Nationally, waterfowl are the most economically impor-      Sandhill Crane, Logan County, ND.
tant wildlife using prairie pothole wetlands (Figure
                                                            Figure 5. (Right, center). The Ringed-neck Pheasant has
3). At least 15 duck species nest in the prairie region
                                                            become a popular bird for hunters and wildlife enthusiasts.
(Niering 1985) and an estimated 70 to 80 percent of the     The availability of cover during winter months is important
production of Mallard (Anas platyrhynchos), Northern        for the health and survival rate of pheasants in the upper
Pintail (A. acuta), Canvasback (Aythya valisineria)         Midwest. In agricultural landscapes, pockets of wetland
and Redhead (A. americana) are concentrated in the          grasses and sedges provide vegetative cover and may be all
PPR of North America (Smith et al. 1964; Munro 1967).       that is available during the winter season.




8  Status and Trends of Prairie Wetlands in the United States 1997 to 2009
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Next Steps for a Healthy Gulf of Mexico
Watershed
Prairie Potholes

Landscape at a Glance




                 Map of the Prairie Potholes focal area by Roy Hewitt, USFWS.



The broad delineation of the Prairie Pothole Region extends across ﬁve U.S. states and three
Canadian provinces. For our purposes, this focal area includes about one-third (100,000 square
miles) of the overall region, speciﬁcally the northern plains of Iowa, Minnesota, North Dakota, South
Dakota and Montana. It constitutes one the richest wetland systems on earth, characterized by
millions of depressional wetlands known as “potholes.” The complex of highly productive
freshwater wetlands and surrounding grasslands are critically important to nesting waterfowl,
shorebirds and grassland birds. The area is often referred to as North America’s “duck factory”
because it is estimated that about one-third of the continent’s waterfowl breeding population nest
within it, many of which spend the winter months in the coastal marshes along the Gulf.
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Prairie wetlands along North and South Dakota’s Missouri Coteau (plateau) provide valuable spring
and fall stopover habitat for a majority of the endangered whooping cranes in the Wood-
Buffalo/Aransas population. In addition, the focal area also provides breeding habitat for a wide
diversity of wetland- and grassland-dependent birds, as well as stopover habitat for signiﬁcant
numbers of spring and fall avian migrants and native pollinators such as the monarch butterﬂy.




                  Aerial view of depressional wetlands known as “potholes.” Photo
                  by USFWS.



Once a vast grassland system, the Prairie Pothole Region is now an agrarian system dominated by
cropland. Changes in land use practices have, for the most part, negatively impacted the availability
of foraging and nesting habitat for migratory birds using the region. Many wetlands have been
drained or degraded, and wetland losses continue today with technological advances like pattern
tile drainage systems. The extensive loss of native prairie with the conversion to row crop
agriculture, particularly in the eastern portion of the focal area, has further compromised this
region’s ability to provide resources necessary to meet the needs of the vast array of migratory
birds that depend upon it sometime during their annual cycle. Despite these losses, millions of
wetlands and large tracts of native prairie still remain to make the Prairie Pothole Focal Area “one of
the most altered — yet one of the most important — migratory bird habitats in the Western
Hemisphere,” as noted in the Prairie Pothole Joint Venture’s 2005 Implementation Plan. The Service
believes this illustrates that the fundamental needs of local agrarian communities and wildlife are
not mutually incompatible. We believe that by joining partners in addressing factors that impact
both, we can advance the interests of both communities and conservation.


Target Species
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        2017
IMPLEMENTATION PLAN
                     Executive Summary




Prairie
Pothole
Joint
Venture
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EXECUTIVE SUMMARY

T   he Prairie Pothole Joint Venture (PPJV) bound-
    aries include one-third (100,000 square miles)
of North America’s Prairie Pothole Region (PPR). Its
                                                                 other waterbirds, and prairie landbirds at objective
                                                                 levels through targeted wetland and grassland pro-
                                                                 tection, restoration, and enhancement programs.
uniqueness lies in the millions of depressional wet-             The PPJV operates through partnerships to accom-
lands that constitute one of the richest wetland sys-            plish its mission.
tems in the world. These “prairie potholes” and their
                                                                 The U.S. PPR is a dynamic place, socially as well
surrounding grasslands are highly productive and
                                                                 as climatically. Nowhere is that more apparent than
support an incredible diversity of bird life. The PPR
                                                                 in rural communities, which are experiencing dif-
is breeding habitat for myriad wetland and grass-
                                                                 ficult social stresses due, in large part, to depopu-
land birds and also supports significant numbers of
                                                                 lation and changing economies. Several factors are
spring and fall migrants.
                                                                 involved, including human demography, new land
Once a vast grassland, the PPR is now an agrarian                uses, advances in farm equipment, new crops, and
system dominated by cropland. Changes in land                    energy development. These factors affect migratory
use have been, for the most part, detrimental to the             bird resources as well as human populations and
migratory birds that use the PPR. Many wetlands                  economies. The PPJV recognizes these interrelation-
have been drained or degraded, and the loss of                   ships and believes that by addressing factors that
native prairie—particularly in the eastern portion of            impact both people and birds, we can have positive
the PPJV—has been extensive. Despite these losses,               impacts on both communities and avian conserva-
millions of wetlands and large tracts of native prai-            tion. Today, approximately 90% of the entire U.S.
rie still remain. The PPR is one of the most altered—            PPR is privately owned, most of which consists of
yet also one of the most important—migratory bird                working farms and ranches. This overwhelming
habitats in the Western Hemisphere. It is the back-              private landownership underlies the need to work
bone of North America’s “duck factory,” and critical             cooperatively with agricultural producers to achieve
habitat for many wetland- and grassland-dependent                the goals and objectives outlined in this plan.
migratory birds.
                                                                 This plan provides a road map for integrating
The PPR is envisioned as a place where abundant                  the conservation of all migratory birds under one
populations of wetland and grassland birds can be                framework. The process involves stepping down the
sustained in perpetuity for the benefit of all people            objectives of the four, international “species groups”
who enjoy these species. Accordingly, the mission                plans for waterfowl, shorebirds, waterbirds, and
of the PPJV is to implement conservation programs                landbirds as they apply to the PPJV. Population
that sustain populations of waterfowl, shorebirds,               and habitat trends, coupled with knowledge of how




Casey Stemler




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slowed the expansion of tillage agriculture but pres-    suitable only for grazing. However, the development
sures on wetlands and grasslands have escalated.         of drought-tolerant crops has stimulated the plowing
During wet periods when seasonal basins retain           and cultivation of vast tracts of prairie. As in other
water throughout the brood-raising period, the Drift     locales, intensification of agriculture has caused the
Prairie provides valuable migration habitat and          loss and degradation of wetlands. Fortunately, large
may help facilitate periodic “booms” in continental      expanses of native prairie still exist in this region,
waterfowl populations like that which occurred in        which provide an opportunity for grassland and
the 1990s. A mixed approach of habitat protection        wetland easements to protect the remaining habi-
and restoration, complemented by enhancement             tat. In addition, land owned and managed by federal
techniques in a few key areas, characterizes the         agencies receives an added measure of protection
approach of PPJV partners. The positive impact of        because actions are subject to a suite of regulatory
agricultural programs, especially the Conservation       reviews and statutes. The glaciated grasslands of
Reserve Program (CRP) and the Wetlands Reserve           Montana are a priority for conservation/protection
Program (WRP), and successor programs under              since several priority grassland bird species exten-
the Agricultural Conservation Easement Program           sively use this area for breeding, including pintail
(ACEP), cannot be over emphasized.                       during favorable habitat conditions.

Missouri Coteau and Coteau Slope – The Missouri
Coteau was formed in ways similar to the Prairie         The Importance of the U.S. Prairie
Coteau. Comparatively steep terrain and relatively       Pothole Region to Wildlife
poor soils have, until recently, limited tillage agri-   The historic PPR was a mecca for breeding water-
culture. However, new crops and crop varieties,          fowl unparalleled anywhere else in North America.
coupled with favorable commodity support policies,       Ducks produced in the U.S. PPR are harvested in 49
have increased the rate of grassland loss in recent      states of the U.S. (the only exception being Hawaii)
years, particularly in South Dakota. Intact grass-       as well as Canada, Mexico, the Caribbean and
lands and abundant seasonal wetland basins make          northern South America (Figure 4).
the Missouri Coteau a continental mainstay for
many species of waterfowl and other wetland and
grassland birds. The Coteau Slope that borders the
Missouri River has an older glacial history and is
characterized by fewer depressional wetlands and
more coulees and streams, many of which are dry
for most of the year. Consequently, the Coteau Slope
is a lower priority for waterfowl, but is important
habitat for many priority species of grassland land
birds. Grassland and wetland protection are the pri-
mary goals in these physiographic regions.

Montana Glaciated Grasslands – An area of slight to
moderate relief, the Montana Glaciated Grasslands
are dry because of the “rain-shadow effect” of the
Rocky Mountains. This is dry mixed-grass prairie,
adapted to the natural forces of drought, wind, and      Figure 4. Hunter band returns from
                                                         ducks banded in the U.S. PPR
fire. For wetland-dependent birds, it is a boom-
and-bust system. During periods of deluge, wetland       Although every regular breeding species of water-
communities of the Montana grasslands can be             fowl occurs in each state, the diversity of species
extremely productive breeding habitats for ducks.        increases from southeast to northwest. In Iowa and
Several species, most notably northern pintails, set-    Minnesota, mallards (Anas platyrhynchos), blue-
tle to breed in this region when wetlands are flooded    winged teal (Anas discors), and wood ducks (Aix
in early spring. Owing to its droughty nature, the       sponsa) predominate, while in North Dakota, South
Montana Glaciated Grasslands were once thought           Dakota, and Montana the species are more diverse




                                                                                   SECTION 1: Plan Foundation   1.11
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– mallards, blue-winged teal, northern pintail (Anas             well-known, stopover sites. Ironically, removal of
acuta), gadwall (Anas strepera), northern shoveler               residual emergent vegetation by farming in areas
(Anas clypeata) and American wigeon (Anas amer-                  without extensive grazing may have improved
icana) among other dabbling and diving ducks are                 habitat for some shorebirds that use shallow wet-
the common species (see Waterfowl Section Appen-                 lands. However, drainage of these wetlands could
dix A). Despite agricultural conversion of wetlands              be significantly affecting populations of some of
and grasslands, the U.S. PPR remains a national                  these species, especially short-distance migrants
treasure for its waterfowl and other wildlife. In the            that require regular feeding stops to refuel and add
late 2000s, when the entire U.S. PPR was wet, the                weight from high-protein invertebrates to continue
region supported nearly 14 million ducks, and in a               migration. Fortunately, in most years even drained
typical year is believed to be able to sustain up to             wetlands and sheet water provide abundant, food-
10 million ducks. Based on data from the U.S. Fish               rich habitat for shorebirds in the spring, albeit for
and Wildlife Service (USFWS) and Canadian Wildlife               brief periods. Terrain remodeling and sediment
Service (CWS) Waterfowl Breeding Population and                  accumulation in farmed-through shallow wetlands
Habitat Survey (WBPHS), the PPR portion of the                   may be further impairing their value for shorebirds
eastern Dakotas, which comprises just 7% of the                  and other wetland species as shallow depressions
traditional survey area, supported about 22% of the              slowly disappear.
total breeding pairs counted throughout the entire
survey area in the US and Canada. The PPR por-                   U.S. PPR wetlands provide habitat for at least
tions of Minnesota, Iowa, and Montana contribute                 40 species of waterbirds such as terns and gulls,
more to that total.                                              secretive marshbirds like rails and bitterns, and
                                                                 American white pelicans. Black terns are known to
                                                                 use quality seasonal and semi-permanent basins,
                                                                 and, as surveys expand, more species are found or
                                                                 found to be more common than believed. One such
                                                                 example is the king rail, currently found at number
                                                                 of sites in the Iowa PPR where it was thought to be
                                                                 extirpated. Recolonization and range expansion may
                                                                 also be factors in these observations.

                                                                 Grassland birds are a group of North American
Neal & MJ Mishler                                                species of special concern because their populations
                                                                 are declining faster than any other group of birds
                                                                 (Knopf 1994, Sauer and Link 2011). In particular, 4
The historic production of breeding ducks must
                                                                 species of mixed-grass specialists are of conservation
have made these estimates pale by comparison.
                                                                 concern due to ongoing population declines (Sauer
For example, in Iowa, where survey-based models
                                                                 2014): Sprague’s pipit (Anthus spragueii), Baird’s
yield current estimates of about 57,000 breeding
                                                                 sparrow (Ammodramus bairdii), McCown’s longspur
pairs in average years, historical wetlands probably
                                                                 (Rhynchophanes mccownii) and chestnut-collared
once supported over 1.1 million pairs (Bishop 1981,
                                                                 longspur (Calcarius ornatus). Of the three grassland
Tiner 1984). Southern Minnesota production was
                                                                 ecosystems in the U.S. PPR (Figure 5), the tallgrass
similarly impressive.
                                                                 ecosystem has suffered the greatest losses of habi-
The value of the U.S. PPR to wildlife goes far beyond            tat and populations, with many species being extir-
waterfowl, providing breeding or migration stopover              pated, followed by the mixed-grass and dry mix-
habitat for 36 of 50 shorebird species that regu-                grass prairies in order of severity of habitat loss and
larly occur in the US, breeding habitat for 13 of 20             impacts to populations. These losses persist. Dahl
species, and migration stopover habitat for 23 of                (2014) estimated that South Dakota alone had lost
36 species (Skagen and Thompson 2001). Skagen                    600,000 acres of grassland to cropland conversion
et al. (2008) found that in wet years when small                 from 1997-2009 with further losses since then with
basins are ponded, at least 98% of shorebirds use                the return of USDA Conservation Reserve Program
small wetland habitats, rather than large, often                 (CRP) grasslands to cropland.



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Figure 5. Grassland ecoregions of the PPJV               essential links in a chain of migratory habitat that
based on Wright and Bailey (1982).                       runs the length of the Western Hemisphere.
Some grassland bird species are “area sensitive,”        Most recently, monarch butterflies and other
requiring relatively large blocks of grassland to set-   pollinators have received an immense amount of
tle and breed (Johnson and Igl 2001, Davis 2004).        attention because of rapid population declines,
Moreover, nesting success of ground nesting birds        particularly in the tallgrass portion of the U.S. PPR,
including waterfowl may be higher in large grass-        and the potential ramifications of declining pollina-
land patches. Fragmentation of grasslands reduces        tor populations to the security of the world’s food
habitat suitability for many native species and may      supply. For example, producers in U.S. PPR states
reduce production to a level below that needed for       maintained 40% of the U.S. honey bee colonies that
population maintenance.                                  produced 51% of the 2014 national honey produc-
U.S. PPR wetlands are critical for migrating water-      tion (National Agricultural Statistics Service 2016).
fowl, shorebirds, and waterbirds; waves of species       The causal factor for pollinator declines appears to
pass through the region each spring and fall. The        be the continuing loss of native habitat to cropland
only consistent exceptions seem to be in the Iowa        and cropland technology including the use of gly-
and southern Minnesota PPR where birds may               phosphate herbicide and neonicotinoid-treated seed.
encounter widespread habitat loss which has              Loss of these species is a graphic illustration of the
undoubtedly caused a shift in migration patterns,        destabilization of ecosystems and the ecosystem ser-
likely affected migration survival rates of some spe-    vices provided to humans that occurs with extensive
cies, and potentially affected fecundity. Thus, even     habitat loss. If there is a positive note in this emerg-
though the U.S. PPR is at the northern edge of the       ing crisis it is that, in general, what is good for one
country, it is a continental nexus for species migrat-   species of conservation concern is generally good for
ing to and from the southern U.S., Mexico, Central       another, making habitat protection, restoration and
America, and South America. Northern Pintails win-       management in the U.S. PPR even more critical. For
tering in California’s Central Valley often fly though   example, tallgrass prairie restoration efforts provide
the PPR, remaining to breed or reversing direction       habitat for several priority species of grassland birds,
to northern Canada and Alaska (Miller et al. 2005).      while providing nectar source plants and milkweed
Remaining U.S. PPR wetlands and grasslands are           for butterflies and other pollinators.



                                                                                SECTION 1: Plan Foundation   1.13
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The North American Waterbird Conservation Plan
(NAWCP; Kushlan et al. 2002), was developed to
                                                                  The overall goal of the Northern
provide a continental perspective on the status of,
and conservation efforts for, waterbirds in North                   Prairie & Parkland Waterbird
America. The NAWCP covers 210 species of water-                         Conservation Plan is
birds in 23 families that spend at least part of the
                                                                     “To provide guidelines for
year in the NAWCP planning area, which includes
the interests of 29 nations in North America, Central
                                                                      conservation that, when
America, and surrounding pelagic zones. However,                       implemented, result in
the NAWCP specifically addresses colonial and                        maintaining and managing
semi-colonial waterbirds only; solitary breeders                         healthy populations,
were to be addressed in the second version of the                   distributions, and habitats of
NAWCP, which was planned but has not been com-
                                                                     waterbirds throughout the
pleted. Some information about population status,
monitoring, and conservation of solitary-breeding                    Northern Prairie & Parkland
waterbirds is available on the NAWCP web page, but                   Region of North America.”
the material is limited and there do not appear to be
plans to rectify the situation. This information gap
is particularly significant to the PPR, where 38% of         Waterbirds breeding in the PPR spend only a portion
species are generally solitary breeders, as opposed to       of their annual cycle there, and migration corridors,
only 20% of waterbird species across the continent.          staging areas, and wintering grounds are also vital
                                                             to waterbird conservation. Continental planning
The Northern Prairie & Parkland Waterbird Conser-
                                                             efforts must recognize and support conservation of
vation Plan (Beyersbergen et al. 2004) was developed
                                                             linkages between different geographic regions, and
to address waterbird conservation issues specific to
                                                             regional plans should identify and address conser-
the PPR. The Plan describes knowledge, biology, and
                                                             vation issues within their respective boundaries.
conservation efforts for 40 waterbird species (Table
1) in the Plan area, which also includes the Cana-
dian Peace Parklands (Figure 2).                             Landscape Changes and Associated
                                                             Implications to Waterbirds
                                                             Ecological functions are increasingly being lost in
                                                             portions of the PPR as native habitat is altered or
                                                             converted to other uses. Because agriculture is the
                                                             primary land use in the PPR, many of the threats to
                                                             the ecological integrity of the landscape are related
                                                             to agricultural practices and programs. Threats can
                                                             be direct, as in habitat loss from wetland drainage
                                                             and conversion of grassland to cropland, or indirect,
                                                             such as pesticide-induced loss of invertebrate pop-
                                                             ulations necessary for growth and survival of birds.

                                                             Vast numbers of wetlands already have been con-
                                                             verted to other uses in the PPR. Statewide estimates
Figure 2. The Northern Prairie and Parkland Waterbird        of number of wetlands lost through the 1980s are
Conservation Region (green shading) consists of those
                                                             89% for Iowa, 49% for North Dakota, 42% for Minne-
areas covered by the Prairie Pothole Joint Venture (PPJV)
in the United States and the Prairie Habitat Joint Venture   sota, 35% for South Dakota, and 27% for Montana
(PHJV) in Canada and approximates Bird Conservation          (Dahl 1990). The percentage of surface area lost is
Region 11 (black outline) in north-central North America.    smaller than the percentage of number of wetlands,
                                                             as smaller wetlands, which are easier to drain, are
                                                             generally drained first. In addition, consolidation of
                                                             wetlands, where several small wetlands are drained




                                                                                     SECTION 4: Waterbird Plan   4.5
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into one larger wetland, is common (Anteau 2012).                  land out of production by paying farmers to plant
Loss of small wetlands can disrupt habitat connec-                 grass on croplands for a contracted time period, paid
tivity and reduce diversity and function of wetland                farmers in North Dakota approximately $100 million
complexes (Anteau 2012). Wetland loss continues,                   per year during the late 1990s. CRP enrollment is
especially drainage of wetlands in crop fields, which              particularly important in Minnesota and Iowa, where
is particularly high during times of high commodity                68% and 41%, respectively, of grass cover in the
prices (Dahl 2011, Johnston 2013).                                 PPR portion of each state was CRP in 2006 (Doherty
                                                                   et al. 2013). However, CRP enrollment has fallen
                                                                   dramatically in recent years (Table 2) due to reduc-
                                                                   tions in available program acres and non-renewal of
                                                                   contracts during periods of high commodity prices.
                                                                   As CRP contracts expired in the Midwest between
                                                                   2010 and 2013, only a small amount (~3%) of the
                                                                   land shifted into similar, non-CRP land-retirement
                                                                   or easement programs, with approximately 30%
                                                                   returning to primarily corn and soybean production
                                                                   (Morefield et al. 2016).

                                                                   Wetlands in the U.S. presently receive some protec-
                                                                   tion under the Swampbuster provision of the Food
Neal & MJ Mishler                                                  Security Act of 1985 (a.k.a. Farm Bill) and its suc-
                                                                   cessors, which deny federal agricultural benefits to
Conversion of grassland, particularly native prairie,              farmers who drain wetlands, although wetlands can
to cropland in the region is extensive and ongoing                 be farmed in dry years. Swampbuster is important
as agricultural subsidies, new crop varieties, and                 to wetland-dependent wildlife; however, protection
altered climate enable planting of lands that were                 under it is temporary, and may be lost as new Farm
previously considered unsuitable for crop produc-                  Bill legislation is enacted. Wetland protection also
tion (Stephens et al. 2008, Rashford et al. 2011,                  may be jeopardized by other government regulations
Lark et al. 2015). When crop prices are high, farmers              and decisions. For example, the U.S. Supreme Court
are more likely to convert native habitat, including               ruled that isolated, non-navigable, intrastate wet-
grassland and wetlands, to crop fields. However,                   lands (such as those typical of the PPR) are no longer
agriculture can have a tremendous impact on land                   protected under Section 404 of the Clean Water Act
use even in the absence of direct market forces.                   of 1972, which prohibits the dredging or filling of any
For example, the U.S. Department of Agriculture’s                  portion of the waters of the United States without a
Conservation Reserve Program (CRP), which takes                    permit (van der Valk and Pederson 2003).




Table 2. State-wide acres of land enrolled in the USDA Conservation Reserve Program in 2006, acres enrolled in 2015,
change in acres 2006-2015, and percent change 2006-2015. State-level data from http://www.fsa.usda.gov/Assets/USDA-FSA-
Public/usdafiles/Conservation/Excel/statepayments8615.xls

 State                                  2006 acres              2015 acres          Change (acres)          Change (%)
 Iowa                                    1,958,883                1,484,593            -47,4290                -24.2

 Minnesota                               1,796,541                1,151,306            -64,5235                -35.9

 Montana                                 3,481,533                1,499,179            -198,2354               -56.9

 North Dakota                            3,371,661                1,523,997            -184,7664               -54.8

 South Dakota                            1,515,227                926,266              -58,8961                -38.9

 Total                                  12,123,845                6,585,341           -5,538,504               -45.7




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                                                   Swampbuster is important to
                                                    wetland-dependent wildlife;
                                                   however, protection under it is
                                                 temporary, and may be lost as new
                                                   Farm Bill legislation is enacted.




Neal & MJ Mishler




                                                                   SECTION 4: Waterbird Plan   4.7
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Wetlands can be degraded even if they are not                    wetlands over time (i.e., Poiani et al. 1991, Johnson
drained, as cultivation of wetland basins during dry             et al. 2005, Johnson et al. 2010, Steen et al. 2016)
years may reduce quality of wetland habitat during               were based on limited data and scenarios that “did
subsequent wet years when basins hold water.                     not fully incorporate interacting or potentially over-
Marsh plants can survive several years of cultiva-               shadowing impacts of land use on wetland hydrology
tion, but tillage of basins over extended periods can            and ecology” (Anteau 2016). Long-term (1974-2013)
alter wetland plant community composition and                    trends suggest that, contrary to results of scenar-
reduce structure of wetland vegetation. In addition,             io-based models, actual May pond numbers in the
wetlands in agricultural fields may have reduced
                                                                 PPR are stable or increasing and that indirect effects
numbers of invertebrates relative to wetlands in
                                                                 of climate change such as wetland drainage and land
grasslands. Agriculture also has many less obvious,
                                                                 conversion may be greater threats to wildlife in the
indirect effects that threaten the ecological integrity
                                                                 region than direct effects such as drying of wetlands
of the PPR, including siltation and fertilizer and her-
                                                                 (Niemuth et al. 2014). Increased precipitation and
bicide inputs. Pesticides can decrease reproductive
                                                                 changes in precipitation due to climate change could
success as well as cause direct and indirect mortality
                                                                 actually reduce wetland quality for some waterbird
of birds. Pesticides such as carbofuran, chlorpyrifos,
and parathion can cause direct mortality of birds,               species by flooding of emergent vegetation and
kill invertebrates upon which many waterbirds feed,              reductions in nutrient release facilitated by seasonal
and contaminate food resources (Grue et al. 1986,                drying of wetlands.
Forsyth 1989). Use of neonicotinoid pesticides in
                                                                 Exotic species are spreading within the region,
the region is increasing, with considerable transport
                                                                 including terrestrial species such as leafy spurge
of neonicotinoids into wetlands (Main et al. 2014),
                                                                 and spotted knapweed and wetland/riparian species
resulting in many direct and indirect negative effects
                                                                 such as reed canary grass, purple loosestrife and salt
for wildlife (Gibbons et al. 2015).
                                                                 cedar. Many ecosystem functions are lost or altered
Climate change will alter temperature, precipitation             as native species are displaced, nonnative species
amounts and patterns, growing season, plant evapo-               invade, and natural disturbances such as grazing
transpiration, and a host of related factors such as             and fire are altered (Collins and Wallace 1990).
snow cover, timing of migration, timing and duration
of dormancy, species composition of native and                   Not all waterbird species have been negatively
agricultural systems, and urbanization, all of which             affected by human-induced landscape changes.
could have dramatic impacts on many aspects of                   Populations of some gull species have increased
ecology in the PPR. The potential of climate change              locally due to increased availability of food associ-
to reduce wetland water levels, wetland numbers,                 ated with humans. In addition, recent expansion of
and waterbird populations has received considerable              range into the PPR by several heron species may be
attention; however, analyses suggesting declines in              a consequence of climate change.




Neal & MJ Mishler




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                                                         and resources be applied to clearly identified needs
                                                         and questions. Overall, most waterbird popula-
                                                         tions in the PPR are doing well. Of the 40 waterbird
                                                         species that occur, at least occasionally, in BCR
                                                         11, 18 species have trend information with trend
                                                         credibility estimates (95% intervals). Of those, 6
                                                         had positive population trends and 1 had a negative
                                                         population trend (Table 1). The remaining 11 spe-
                                                         cies had trends not differentiated from stable. At the
                                                         continental level, 31 species have trend information
                                                         with trend credibility estimates (95% intervals). Of
                                                         those, 4 had positive continental population trends
                                                         and 6 had negative continental population trends
  Kevin Barnes
                                                         (Table 1). The remaining 21 species had trends not
                                                         differentiated from stable.
Factors Limiting
Waterbird Populations                                    Biological Models for Waterbirds
Primary factors limiting waterbird populations in        Models are generalizations that can help manag-
the PPJV administrative area are largely unknown.        ers understand relationships between species and
Advances in understanding limiting factors have not      habitat, with the end goal of increasing efficiency
progressed quickly due to funding limitations, the       of conservation. Biological models for waterbirds
difficulty of studying often-secretive species, large    vary among species, as well as with spatial and tem-
inter-annual fluctuations in population numbers          poral scales. Waterbird habitat and behaviors vary
and distribution, and low priority of waterbirds rel-    throughout the year. Birds may use one habitat or
ative to many other species. Loss and degradation        area for courtship, another for nesting, another for
of wetland and upland habitats likely limit carrying     brood-rearing, and still others for post-breeding molt
capacity of the landscape. Carrying capacity may not     and pre-migration staging. Availability of wetland
decline linearly with wetland loss, as some waterbird    habitat also may vary among years depending on
species (e.g., Yellow Rail) key in on specific wetland   precipitation. On a spatial scale, waterbird habitat
types and several waterbird species respond to wet-      may be characterized at nest site, wetland, wetland
land complexes and structure of vegetation within        complex, and landscape scales, among others.
wetlands (Kantrud and Stewart 1984, Johnson and
                                                         Colonial waterbirds may be subdivided according to
Dinsmore 1986, Fairbairn and Dinsmore 2001,
                                                         the substrate that they choose for nesting. In gen-
Naugle et al. 2001). Factors influencing nesting
                                                         eral, these species may nest on floating vegetation
success, chick survival, and adult survival certainly
                                                         platforms or islands, or in trees or tall shrubbery.
vary among species, but are simply unknown or
                                                         With few exceptions, most species fall neatly into
have only been studied in short, localized studies. It
                                                         one of these categories. Species using the same nest-
is likely that some of the factors and processes that
                                                         ing substrate often are found nesting in association
affect waterfowl populations also affect waterbirds.
                                                         with other colonial waterbirds. Species nesting on
For instance, composition of landscapes and preda-
                                                         vegetation platforms in marshes include the Eared,
tor communities might influence nesting success of
                                                         Western, and Clark’s Grebes; Black-crowned Night-
waterbirds. However, colonial nesting, mobbing of
                                                         Heron; White-faced Ibis; Franklin’s Gull; and For-
potential predators, and over-water nesting of some
                                                         ster’s and Black Terns. The solitary nesting Ameri-
waterbirds likely produce patterns of nesting suc-
                                                         can Coot may be found nesting with these species.
cess and survival that differ from waterfowl.
                                                         Among the island-nesting species, American White
Given limited knowledge about factors limit-             Pelicans; Double-crested Cormorants; California,
ing waterbird populations and the difficulty and         Herring and Ring-billed Gulls; and Caspian and
expense of understanding limiting factors for these      Common Terns often are found nesting together.
often-secretive species, it is important that research   Tree-nesting species include most of the herons



                                                                                 SECTION 4: Waterbird Plan   4.9
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and Double-crested Cormorants in some areas.                         open water. Wetlands in Group C have emergent
Tree-nesting colonies may be composed of single                      vegetation (e.g., sedges, rushes, Phragmites) with
species, or, especially in the southeastern portion                  extensive areas of open water. Some shallow-water
of the BCR, many species. Non-colonial species may                   marshes are included in this set, but the majority are
nest on floating platforms of vegetation, in emergent                deep-water marshes or lakes. Group D wetlands are
vegetation over water, or on the ground in drier sites               typified by the presence of wooded areas that serve
such as sedge meadows, or even in dry upland vege-                   as nesting sites on islands, flooded stands of trees,
tation. Cranes build a mound of vegetation that may                  or uplands near the wetland; some waterbirds using
be constructed in shallow water on or near the edge                  this group also will nest on barren sites. Finally,
of a wetland. Waterbirds also can be categorized by                  Group E includes wetlands or waterways with an
their preference for a general type of wetland utilized              island (vegetated or barren), sandbar, or exposed
for nesting during the breeding season in the PPR                    shoreline. Although these species are separated into
(Table 3; adapted from Beyersbergen et al. 2004).                    general categories, habitat preferences will overlap
                                                                     across the region. Many wetlands have multiple veg-
Wetlands in Group A generally have extensive                         etation zones based on basin substrate and water
stands of emergent vegetation. These sites range                     depth; distribution and structure of vegetation in a
from flooded sedge meadows to cattail or bulrush                     basin may change depending on variation in water
stands in deep water marshes and may be seasonal                     levels. Maintaining appropriate interspersion of veg-
to permanent wetlands. Group B wetlands include                      etation and wetland complexes is important because
mostly larger, permanent freshwater marshes with                     waterbirds may use multiple zones throughout the
patches of emergent vegetation interspersed with                     year or in different years.



Table 3. General waterbird habitat preferences based on amount of emergent vegetation, open water, and preferred nesting habitat.

                                                             GROUP


              A                         B                      C                          D                           E
 Wetland with              Wetland with              Wetland with               Wetland with             Lake or River with
 -m uch emergent          - emergent vegetation     - emergent vegetation      - emergent vegetation    - open water
   vegetation              - partial open water      - extensive open water     - open water             - barren ground
 - variable open water                                                          - nesting trees          - islands

 American Bittern          Sandhill Crane            Common Loon                Great Blue Heron         American White Pelican
 Least Bittern             Franklin’s Gull           Pied-billed Grebe          Great Egret              Double-crested
 Black-crowned             Bonaparte’s Gull          Horned Grebe               Snowy Egret              Cormorant
 Night-Heron               Forster’s Tern            Red-necked Grebe           Tricolored Heron         Ring-billed Gull
 Yellow Rail               Black Tern                Eared Grebe                Little Blue Heron        California Gull
 Black Rail                                          Western Grebe              Cattle Egret             Herring Gull
 King Rail                                           Clark’s Grebe              Green Heron              Caspian Tern
 Virginia Rail                                       White-faced Ibis           Yellow-crowned           Common Tern
 Sora                                                American Coot              Night-Heron              Least Tern

                                                     Common Moorhen




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Waterbirds also select habitat on a broader spatial      otherwise selected for management based on land-
scale that encompasses characteristics of land-          scape characteristics, local characteristics (e.g., veg-
scapes. Conservation planning at the landscape level     etation composition and structure) within a patch
is appropriate for several reasons. As mentioned         can be modified relatively easily. But it is difficult to
previously, bird habitat selection is hierarchical and   modify the landscape around a patch with suitable
influenced by a variety of biotic and abiotic factors,   local characteristics if landscape characteristics are
with birds first selecting habitat at broad scales,      not suitable. For these reasons, most bird conser-
then making fine-grained selections such as nest         vation initiatives (e.g., North American Waterfowl
and foraging sites (Johnson 1980, Wiens 1989).           Management Plan, Partners In Flight, North Ameri-
Landscape-level conservation thus provides a broad       can Bird Conservation Initiative) explicitly promote
habitat foundation within which birds can select
                                                         a landscape approach to bird conservation.
habitat at a fine-grained scale. Landscape char-
acteristics also are important from logistical and       Habitat selection varies among species, but avail-
management standpoints. If habitat is purchased or       able information indicates that many waterbirds are




Casey Stemler




                                                                                  SECTION 4: Waterbird Plan   4.11
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strongly influenced by proximity to other wetlands,              and South Dakota indicates that Black Terns were
presence of grassland/wetland complexes, and                     positively associated with amount of seasonal wet-
presence or absence of trees (Brown and Dinsmore                 land, semipermanent wetland, and grassland sur-
1986, Naugle et al. 1999, Fairbairn and Dinsmore                 rounding survey points and negatively associated
2001, Naugle et al. 2001, Niemuth et al. 2008).                  with forest cover; detection was also influenced by
Obviously, fine-grained habitat characteristics also             geographic location and observer ability (Figure 3).
influence use of wetlands by waterbirds, but broad-
                                                                 Development of spatially explicit habitat models
scale features can be used to assess suitability of
                                                                 throughout the PPJV administrative area is ongo-
landscapes for waterbird conservation planning.
                                                                 ing; existing models continue to be refined and
For example, Black Terns in South Dakota were
                                                                 new models are developed for additional species as
positively associated with total wetland area, area
                                                                 appropriate data become available (Figure 4).
of semipermanent wetlands within a complex, and
amount of grassland surrounding wetlands (Naugle
et al. 2001). Analysis of BBS data from North Dakota




PROBABILITY
        HIGH


        LOW
                                                                                Decile 10
                                                                                Decile 9
                                                                                Decile 8
                                                                                Deciles 1-7




Figure 3. Estimated probability of detecting Black               Figure 4. Whooping Crane habitat in North and South Dakota
Tern in the Prairie Pothole Region of North Dakota and           was identified and ranked by decile. The landscape was
South Dakota in June of 1995. Model developed using              divided into equal-area units, each covering 10% of the
georeferenced BBS data, digital National Wetlands                analysis region. In this model, the top three deciles captured
Inventory data, and landcover information derived from           78% of 427 independent, unbiased validation observations.
Landsat Thematic Mapper imagery (Niemuth et al. 2005).           The centerline of the migration corridor is shown in yellow.




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Chuck Loesch




PAST TRENDS AND POPULATION DISTRIBUTIONS

P   opulations of many waterbird species are poorly
    understood and available population data are
often imperfect. Nevertheless, available data indi-
                                                        to waterfowl. Numbers of several waterbird species
                                                        are positively correlated with number of May ponds
                                                        (Figure 6; Niemuth and Solberg 2003), and changes
cate population declines for several species, which     in Black Tern populations in the prairie provinces
is a logical outcome of the extensive wetland and       of Canada are correlated with changes in Mallard
upland habitat loss that has taken place in much        populations, both of which vary with availability of
of the PPR. Whooping Crane and the interior pop-        wetlands (Peterjohn and Sauer 1997).
ulation of the Least Tern are listed as endangered
species in the U.S., and the Northern Prairie & Park-   Fluctuations in waterbird numbers in response to
land Waterbird Conservation Plan identifies Western     wetland availability may be particularly important
Grebe, Franklin’s Gull, Black Tern, Horned Grebe,       in the PPR, which is highly susceptible to drought
American Bittern, Yellow Rail, and King Rail as spe-    and harbors a large proportion of the breeding
cies of high concern (Table 1).                         populations of several species of waterbirds. Under-
                                                        standing the relationship between wetland numbers
Wetland numbers in the PPR vary greatly across
space and among years due to high inter-annual          and waterbirds is likely as critical to the monitoring
and regional variation in precipitation (Figure 5;      and management of waterbird populations in the
Kantrud et al. 1989, Woodhouse and Overpeck             PPR as it is for waterfowl. For example, if birds settle
1998). Although the effect of wetland availability      in different areas depending on water availability,
on breeding distribution and density of waterbirds      apparent changes in local and regional populations
is poorly known, limited information indicates          may reflect wetland conditions instead of true pop-
that waterbirds are affected in a manner similar        ulation changes.



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                                              Shorebirds
July 2000                     Fish and Wildlife Habitat Management Leaflet                               Number 17

                                                              Shorebirds are champion migrators, travelling thou-
                                                              sands of miles between Arctic nesting grounds and
                                                              wintering grounds in Central and South America. Mi-
                                                              gration routes typically follow coastlines or interior
                                                              water sources. Staging areas and stopover sites in
                                                              North America provide abundant food resources cru-
                                                              cial for supplying the energy needed to complete mi-
                                                              gration. About 51 species migrate through North
                                                              America each year. However, declining numbers have
                                                              been observed at many staging grounds.

                                                              Wetland habitat alterations have contributed to signifi-
                                                              cant decreases in populations of Eskimo curlews, buff-
American avocet.
                                                              breasted sandpipers, whimbrels, and sanderlings.
                                                              Nearly all Charadrius plover species including moun-
General Information
                                                              tain plovers, piping plovers, killdeer, and snowy plo-
                                                              vers have experienced population declines and have
Shorebirds belong to the diverse avian Order
                                                              serious status concerns. In the lower 48 states, more
Charadriiformes, suborder Charadrii, and members
                                                              than 50% of original wetland habitat suitable for shore-
occupy a wide range of environments. Habitats in-
                                                              birds has been destroyed or degraded since the late
clude coastal, saline, and freshwater wetlands, flooded
                                                              1700s. Coastal and wetland developments have lim-
agricultural fields, interior grasslands, and arctic tun-
                                                              ited foraging and staging areas along migration routes.
dra. Most shorebirds have small bodies with long,
                                                              Inland fresh and salt water habitats continue to be
thin legs for wading. Three unwebbed toes point for-
                                                              threatened by industrial and agricultural land use, agri-
ward and the hind toe is reduced or absent (except in
                                                              cultural runoff, and chemical pollution. Human use of
the partially webbed-toed American Avocet and lobed-
toed phalaropes). Beaks come in a variety of shapes
and sizes, and each is designed for a specific foraging       Family name Species representatives
substrate. Shorebirds such as oystercatchers and
                                                              Haematopodidae Oystercatchers
sandpipers exhibit countershading, where dark colors
                                                              Recurvirostridae Stilts and avocets
on the back balance the shaded light-colors on the
underside. Killdeer and Semipalmated plovers dis-             Charadriidae     Lapwings and plovers
play disruptive coloration—bold patterns break up the         Scolopacidae     Sandpipers, godwits, curlews,
bird’s outline to help avoid detection by predators. If                        willet, yellowlegs, phalaropes,
juvenile birds survive their first year, life spans greater                    dunlin, red knot, turnstones,
than ten years are not uncommon for some shorebird                             dowitchers, and whimbrel
species.                                                      Jacanidae        Jacanas

                                                                                                                          1
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                                                        Shorebirds



                                                                Migrating shorebirds need suitable staging areas to
                                                                complete migration. Inland stopover sites for migrat-
                                                                ing birds are just as important as coastal habitats. Fluc-
                                                                tuating water levels in inland wetlands provide mudflat
                                                                and shallow water sites used by feeding shorebirds.
                                                                Upland areas interspersed with wetlands are also im-
                                                                portant, making the Prairie Pothole Region a major
                                                                stopover area. Most shorebirds favor foraging areas
                                                                with less than 25 percent vegetative cover, whether it
                                                                is sandy beaches or shortgrass prairies.

                                                                     The future of many migrating shorebirds depends on
                                                                     the suitability of wintering and staging sites. Winter
Long-billed dowitcher.                U.S. Fish and Wildlife Service habitats in Central and South America are quickly dis-
                                                                     appearing because of increased human land develop-
                                                                     ment activity. Chemical or oil spills at “super” staging
Wintering and migration staging areas                                sites could significantly reduce food resources and
                                                                     negatively affect migrating shorebird populations. En-
Wintering shorebirds usually gather in large flocks on suring adequate quantity and quality of migrating and
estuarine mudflats, inland shorelines, and other open winter habitats is important, as most shorebirds spend
wetland areas. The spacing of wintering birds de- nine or ten months of the year in these areas.
pends on location, time of day, and density of food
resources. Some migrating birds feed along the mar- Interspersion of habitat types
gins of inland lakes and rivers. Spotted sandpipers,
Wilson’s plovers, and wandering tattlers defend indi- Shorebird habitat management should emphasize main-
vidual feeding territories that have well-defined bound- taining a variety of wetland types to support the needs
aries. Winter territories may be occupied for several of various species. A mixture of aquatic and upland
weeks or months. Stilt sandpipers, red knots, and habitats maximizes habitat quality for some shorebirds.
short-billed dowitchers move in large foraging flocks. Optimal habitat requirements depend on whether the

Shorebird habitat requirements summary table.
Habitat component Habitat requirement
Food                  Aquatic insects and other invertebrates including crustaceans,
                      and mollusks, terrestrial insects, small fish and amphibians.
Water                 Adult food contain sufficient water; chicks need fresh water sourc
                      during the first few weeks of life.
Nesting habitat       Most prefer open, sparsely vegetated sandy habitats along coastal
                      and inland wateeways and wetlands; arctic lowland tundra. Huma
                      disturbance reduces nesting habitat potential.
Wintering and         Wide variety of coastal and inland waterways and wetlands, includ
migrating habitats natural and artificially managed wetlands and flooding agricultura
                      lands.
Habitat interspersion Prefer feeding and nesting sites in close proximity.

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The State of the Birds 2013
  Report on Private Lands
   United States of America
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         Wetlands
                                                                                                                                       Photo by Jason Johnson, USDA-NRCS, Iowa


    At a Glance                                           Wetland Birds on Private Lands
    • Three-quarters of remaining wetlands                Private lands are essential to wetland birds and          areas back into wetlands—has restored 2.6 million
                                                          wetland conservation, as three-quarters of wet-           acres of private wetlands across the nation. In the
      are on private lands, making them vital
                                                          lands in the U.S. occur on private lands. And birds,      Mississippi Alluvial Valley, more than 650,000 WRP
      to wetland bird conservation.                       by their abundance and distribution across regions        acres from southern Illinois to Louisiana play a
    • More than half of the U.S. historic wet-            and seasons, are effective indicators of the health of    key role in sustaining bird populations. The valley,
      land habitat base of 220 million acres              our nation's wetlands. More than 75% of both the          which retains only 20% of its original bottomland
      has been lost.                                      breeding and wintering distributions of American          forested wetlands, is largely in private ownership
                                                          Black Ducks, Blue-winged Teal, Northern Pintails,         and dominated by agriculture. WRP-conserved
                                                          and Wood Ducks are on private wetlands. Herons,           wetlands provide essential breeding habitat for
                                                          egrets, grebes, and rails also all depend on private      waterbirds such as Wood Duck, White Ibis, and
                                                          wetlands throughout the year. Landowners and              Hooded Merganser, wintering habitat for 3.5 to
                                                          their communities likewise depend on wetlands,            4.5 million waterfowl every winter, and migratory
                                                          which provide flood mitigation, coastal buffer-           stopover habitat for shorebirds such as Black-
                                                          ing, ground water replenishment, improved water           necked Stilt and Greater Yellowlegs. WRP benefits
                                                          quality, and wetland-based recreation.                    human residents of the valley, too, as wetlands
                                                                                                                    restored through the program have helped reduce
                                                                                                                    the extent of natural flooding by as much as 88%.
                                                          Conservation Successes                                    In the Central Valley of California, winter-flooded
                                                          Funding from Farm Bill programs (such as the En-          wetlands support 5 to 7 million waterfowl, as well
                                                          vironmental Quality Incentives Program), Migra-           as large populations of shorebirds, rails, and bit-
                                                          tory Bird Hunting and Conservation stamps (also           terns. In this region, more than 90% of the original
                                                          known as Federal Duck Stamps), and the North              winter wetlands have been lost or highly altered,
                                                          American Wetlands Conservation Act has enabled            and only 400,000 acres are left today—more than
                                                          public–private partnerships to conserve millions          60% of which are privately owned and managed.
                    Blue-winged Teal by Ducks Unlimited   of acres on private lands for birds.                      Wetland restoration efforts here, combined with
    • The Wetlands Reserve Program has                    The Wetland Reserve Program—a Farm Bill provi-            the presence of wetland-type habitat provided by
                                                          sion that provides financial incentives for farmers       ricelands, have allowed the White-faced Ibis to
      restored 2.6 million acres of private
                                                          and landowners to convert croplands in drained            bounce back from near extirpation.
      wetlands habitat.
    • Wetlands sustain waterfowl popula-
      tions and therefore duck hunting, which
      contributes more than $2.3 billion in
      total economic output.                                “Restoring marginal cropland on my farm that should have never been cleared
    • Landowners and their communities see                    has been one of the most fulfilling events in my farming career. It has been
      several benefits from wetlands conser-                               good for my business but great for the ducks.”
      vation, such as flood mitigation and
      improved water quality.                                                   —George Dunklin, Jr., Mississippi Alluvial Valley landowner


6                                                                                                                                      Photo by Jason Johnson, USDA-NRCS, Iowa
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Conservation Challenges
Wetland habitat is vital for breeding, migrating,                           Wetlands Reserve Program (WRP) at 20 Years
and wintering birds. More than half of our na-                                                                                                                              Pothole
tion's historic wetland habitat base of 220 million                                                                                                                        Region is
acres has been lost, with losses exceeding 80% in                                                                                                                        critical to the
some regions. Although substantial acres of wet-                                                                                                                       sustainability
lands have been restored and conserved through                                                                                                                       of North Ameri-
programs such as WRP, many of these gains have                                                                                                                     can waterfowl
been offset recently. Wetland protections from the                                                                                                            populations, protect-
Clean Water Act have been reversed. Increasing                                                                                                                ing breeding habitat
crop prices have spurred a new wave of draining                                                                                                               helps sustain the sport
and converting wetlands for agricultural produc-                                                                                                              of duck hunting, which
tion. Residential development and urban expan-                                                                                                                contributes more than
sion are impacting wetlands as well. Due to these                                                                                                             $2.3 billion in total
pressures on our nation’s already greatly reduced                                                                                                             economic output and
supply of wetlands, a diverse mix of programs is                                                                                                              more than 27,000 jobs
needed to encourage and support private land-                                                                                                                 to the U.S. economy.
owners who conserve wetlands.                                                                                                                                 “CRP is a strategy
                                                                 Wood Duck Distribution                                                                       in many parts of the
In the Prairie Pothole Region of the northern Great                                              This map shows more than 13,000 WRP projects on 2.6
                                                                                                                                                              country for growing
Plains, nearly 90% of the land is in private own-                                                million acres. These sites closely match habitats used by
                                                                                                 important waterfowl species, such as Wood Duck. (Breeding    the economy for this
ership, and 40% to 90% of native wetlands have
                                                                                                 season distribution shown at left. Brighter areas on map     reason: habitat is also
been drained, primarily for agricultural produc-
                                                                                                 indicate higher probability of occupancy. Occupancy          tied to an expansion
tion. The key challenge here involves protecting                                                 estimates were based on bird observations from eBird and     of outdoor recreation
small wetlands amid large expanses of grass                                                      characteristics of the local environment from remote sensing and it is an enormous
to support the productivity of prairie–wetland                                                   data.) Wood Duck photo courtesy of Ducks Unlimited.          opportunity for rural
breeding birds. Prairie Pothole wetlands provide
                                                                                                                                                              America,” said U.S.
breeding habitat for dozens of waterbird species,             much of this habitat. Farm Bill Conservation Re-                  Secretary of Agriculture Tom Vilsack.
such as Black Terns. This region is known as the              serve Program payments to farmers and landown-
“Duck Factory,” because the shallow-water basins ers provide economic compensation for reserving                                Along the Gulf Coast, marshes from Mobile Bay,
provide protein-rich invertebrate food resources              lands from planting that are not typically the                    Alabama, to the Rio Grande in Texas are being
for nesting females and growing ducklings. The                most productive for growing crops. CRP lands in                   lost. Historically, the amount of coastal marsh
eastern Dakotas alone supported more than 10                  the Prairie Pothole Region have produced a net                    fluctuated due to elemental factors (such as
million breeding dabbling ducks in recent years.              increase of 2 million waterfowl per year, or a 30%                amount of sediment deposited in deltas), but re-
Successful waterfowl breeding here is dependent               increase in breeding production, over the past two cently the trend has been completely downward,
on the private landowners who are stewards of so              decades. Because duck production in the Prairie                   with net wetland loss in the region currently
                                                                                                                                estimated at about 10,000 acres per year. Although
                                                                                                                                there are many important publicly owned lands
                                                                                                                                across this region, most land is privately owned.
A Gulf Coast wetlands complex east of Corpus Christi, Texas—consisting of                                                       These coastal marsh wetlands constitute a con-
Aransas National Wildlife Refuge and surrounding privately owned wetlands—                                                      tinentally important habitat for migratory birds.
provides winter habitat for the only remaining wild population of Whooping                                                      Up to 13 million waterfowl winter here, including
Cranes. In 2012, The Nature Conservancy, with additional funding from the                                                       about 90% of the continental population of Mot-
Whooping Crane Conservation Association, the U.S. Fish and Wildlife Service,                                                    tled Ducks. Gulf Coast wetlands provide breed-
and other private donors and foundations, purchased a conservation easement                                                     ing, winter, and migration habitat to nearly every
on more than 100 acres at the Falcon Point Ranch to protect this prime parcel of                                                wading bird species, including Roseate Spoonbill
coastal real estate (and important crane wintering habitat) from development.                                                   and Wood Stork.


                             Whooping Crane by Roy Brown; www.flickr.com/people/rbinv                                                                                                      7
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Articles
Consolidation Drainage and Climate Change May Reduce
Piping Plover Habitat in the Great Plains
Lisa A. McCauley,* Michael J. Anteau, Max Post van der Burg

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Abstract
Many waterbird species utilize a diversity of aquatic habitats; however, with increasing anthropogenic needs to
manage water regimes there is global concern over impacts to waterbird populations. The federally threatened piping
plover (Charadrius melodus; hereafter plovers) is a shorebird that breeds in three habitat types in the Prairie Pothole
Region of North Dakota, South Dakota, and Canada: riverine sandbars; reservoir shorelines; and prairie wetlands. Water
surface areas of these habitats fluctuate in response to wet–dry periods; decreasing water surface areas expose
shorelines that plovers utilize for nesting. Climate varies across the region so when other habitats are unavailable for
plover nesting because of flooding, prairie wetlands may periodically provide habitat. Over the last century, many of
the wetlands used by plovers in the Prairie Pothole Region have been modified to receive water from consolidation
drainage (drainage of smaller wetlands into another wetland), which could eliminate shoreline nesting habitat. We
evaluated whether consolidation drainage and fuller wetlands have decreased plover presence in 32 wetlands
historically used by plovers. We found that wetlands with more consolidation drainage in their catchment and
wetlands that were fuller had a lower probability of plover presence. These results suggest that plovers could have
historically used prairie wetlands during the breeding season but consolidation drainage, climate change, or both have
reduced available shoreline habitat for plovers through increased water levels. Prairie wetlands, outside of some alkali
wetlands in the western portion of the region, are less studied as habitat for plovers when compared with river and
reservoir shorelines. Our study suggests that these wetlands may have played a larger role in plover ecology than
previously thought. Wetland restoration and conservation, through the restoration of natural hydrology, may be
required to ensure that adequate habitat exists among the three habitat types in the face of existing or changing
climate and to ensure long-term plover conservation.

Keywords: agriculture drainage; North Dakota; Prairie Pothole Region; shorebirds; waterbirds; wetland alteration;
wetland hydrology
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U.S. Fish and Wildlife Service.
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Drainage and Climate May Reduce Plover Habitat                                                               L.A. McCauley et al.



                                                                  associated with fuller wetlands and wetland drainage in
                                                                  the catchment. The half of our sample wetlands that was
                                                                  previously used by plovers but is no longer used is fuller
                                                                  and surrounded by more drainage than our sample
                                                                  wetlands that remain used by plovers. Prairie wetlands
                                                                  are less studied as plover habitat when compared with
                                                                  river and reservoir shorelines but survey data suggest
                                                                  that the remaining alkali lakes, mostly in the Missouri
                                                                  Coteau, are habitat for more than half of the plovers in
                                                                  this region (Haig and Plissner 1993; Plissner and Haig
                                                                  2000). Monitoring data indicate that plovers bred in
                                                                  wetlands throughout the Glaciated Plains in North
                                                                  Dakota. Our results support the possibility that prairie
                                                                  wetlands may have played a role in plover ecology in the
                                                                  region but consolidation drainage may have caused a
                                                                  range change by eliminating some wetlands as habitat
                                                                  and reducing habitat quality at other wetlands. Our
                                                                  finding that fullness of a wetland is a major driver of
                                                                  plover presence also ties the fate of plover habitat to
                                                                  potential changes in climate, even in areas where
Figure 3. The influence of the percent fullness of a wetland on
                                                                  drainage may be absent.
probability of piping plover Charadrius melodus presence in
wetlands historically used by plovers in North Dakota from
                                                                     Other studies have found that consolidation drainage
2001 to 2011. Model-predicted values calculated by holding        has increased water levels and had a progressive effect
catchment drainage constant at its median. Dashed lines           upon the hydrology of wetlands that receive surface
represent 85% confidence limits.                                  water from drained wetlands (Wiltermuth 2014; McCau-
                                                                  ley et al. 2015). Wiltermuth (2014) found that wetlands
                                                                  with about 2% of their catchment drained become
sample wetlands over all the years was 89.5% 6 11%                larger and will likely continue to increase in size with
(SD). In drier years (drought index , 0.5) the average            every wetting period, even without further drainage,
fullness of our sample wetlands was 79.6% 622% (SD)               until they overspill or stabilize. This was the same level
and in wetter years the average fullness or our sample            of drainage we observed associated with the greatest
wetlands was 92.3% 6 0.09% (SD). The probability of               rate of decrease in probability of plover presence. In
plover presence was 90.1% higher in wetlands that were            drier years, wetlands could be less full and drainage
half full when compared with wetlands that are                    could have less of an effect on plover habitat in the
completely full. On average, wetlands used by plovers             region. However, future climate change projections in
were 88% full, whereas wetlands no longer used by                 the region predict conditions becoming warmer and
plovers were 92% full.                                            wetter, with increases in winter and spring precipita-
                                                                  tion, the main source of precipitation for prairie
                         Discussion                               wetlands (Millett et al. 2009; Melillo et al. 2014).
                                                                  Accordingly, even wetlands that currently have a high
   Our study provides an example of the potential                 probability of plover presence may not be able to
biological impacts of wetland consolidation drainage              continue to support plover productivity in most years or
on wildlife. More specifically, our work shows how                provide habitat for plovers for dispersal if conditions are
consolidation drainage and fuller wetlands have poten-            unsuitable elsewhere. In this case, the northern Great
tially reduced habitat quality of prairie wetlands used by        Plains population of plovers may have already and may
plovers. Previous work on a larger set of wetlands in the         continue to become even more dependent upon the
region showed that wetlands in highly drained catch-              highly modified habitats along reservoir shorelines and
ments had 197% larger water surface areas than those in           sandbars of the Missouri River.
catchments with no drainage (McCauley et al. 2015) and               Our results also corroborate concerns that habitat
that these wetlands get progressively larger with each            loss could be a factor inhibiting recovery of the
wetting cycle (Wiltermuth 2014). However, on the basis            northern Great Plains population of piping plovers
of McCauley et al. (2015), it was unclear if consolidation        (Prindiville Gaines et al. 1988; Root and Ryan 2004).
drainage was occurring on wetlands used by plovers and            Clearly, interannual water levels and flow dynamics are
whether this would affect plover presence on these                responsible for the creation and maintenance of habitat
wetlands. Our results showed that consolidation drain-            in all three principal breeding areas for plovers in the
age was occurring in the catchments of our sample                 Northern Great Plains (Prindiville Gaines et al. 1988; U.S.
wetlands similarly to other wetlands in the region                Fish and Wildlife Service 2003b; Anteau et al. 2014), but
(McCauley et al. 2015 drainage range 0–13%; this study            the bulk of attention about plover conservation has
drainage range 0–11.5%). We found that plovers                    been focused on river and reservoir management (U.S.
historically used prairie wetlands as habitat during the          Fish and Wildlife Service 2003b). Including prairie
breeding season but that plover presence was negatively           wetland restoration and management as part of a

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                          Status and Trends of Wetlands
                          in the Conterminous United States
                          2004 to 2009




                             Report to Congress
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The study indicated that there were                 Collectively, marine and estuarine       Forested wetlands sustained their
an estimated 110.1 million acres                    intertidal wetlands declined by an       largest losses since the 1974 to 1985
(44.6 million ha) of wetlands in the                estimated 84,100 acres (34,050 ha)       time period. Freshwater wetland
conterminous United States in 20094                 or an estimated 1.4 percent between      losses continued in regions of the
(the coefficient of variation of the                2004 and 2009. The majority of           country where there has been
national estimate was 2.7 percent).                 these losses (73 percent) were to        potential for wetlands to come into
An estimated 95 percent of all                      deepwater bay bottoms or open-           conflict with competing land and
wetlands were freshwater and                        ocean. Losses of estuarine emergent      resource development interests.
5 percent were in the marine or                     (salt marsh) and changes in marine
estuarine (saltwater) systems. With                 and estuarine non-vegetated              Between 2004 and 2009,
the exception of minor statistical                  wetlands reflected the impacts of        489,600 acres (198,230 ha) of former
adjustments to the area estimates,                  coastal storms and relative sea          upland were re-classified as wetland.
the overall percentage of wetland                   level rise along the coastlines of the   These increases were attributed
area and representation by saltwater                Atlantic and Gulf of Mexico. The         to wetland reestablishment and
and freshwater components                           majority (99 percent) of all estuarine   creation on agricultural lands and
remained unchanged.                                 emergent losses were associated          other uplands with undetermined
                                                    with processes related to the marine     land use including undeveloped land,
Estuarine emergent (salt marsh)                     environment such as saltwater            lands in conservation programs
wetland was the most prevalent                      inundation and/or coastal storm          or idle lands. The rate of wetland
type of all estuarine and marine                    events. The effects of sea level on      reestablishment increased by an
intertidal wetland. Salt marsh made                 wetlands are subject to considerable     estimated 17 percent from the
up an estimated 66.7 percent of                     uncertainties; however, recent           previous study period (1998 and
all estuarine and marine wetland                    changes in non-vegetated intertidal      2004). Conversely, the estimated
area. Forested wetlands made                        wetlands (beaches, bars and shoals)      wetland loss rate increased
up the single largest category                      along the South Atlantic and Gulf        140 percent during the same time
(49.5 percent) of wetland in the                    of Mexico indicated considerable         period and, as a consequence,
freshwater system. Freshwater                       instability and change. Coastal          national wetland losses have
emergents made up an estimated                      environments continue to face a          outdistanced gains.
26.3 percent, shrub wetlands                        variety of stressors that can interact
17.8 percent and freshwater ponds                   with climate-related processes and       The cumulative effects of losses in
6.4 percent by area.                                potentially increase the vulnerability   the freshwater system have had
                                                    of coastal wetlands.                     consequences for hydrologic and
The difference in the national                                                               ecosystem connectivity. In certain
estimates of wetland acreage                        Overall, freshwater wetlands             regions, profound reductions in
between 2004 and 2009 was not                       realized a slight increase in            wetland extent have resulted
statistically significant. Wetland                  area between 2004 and 2009.              in habitat loss, fragmentation,
area declined by an estimated                       Freshwater ponds have continued          and limited opportunities for
62,300 acres (25,200 ha) between                    to increase although the rate of         reestablishment and watershed
2004 and 2009. The reasons for this                 pond development had slowed              rehabilitation.
are complex and potentially reflect                 from previous reporting periods.
economic conditions, land use trends,               Freshwater vegetated wetlands
changing wetland regulation and                     continued to decline albeit at a
enforcement measures and climatic                   reduced rate. This most recent
changes. Certain types of wetland                   annual rate of loss represented a
exhibited declines while others                     reduction in the loss rate of roughly
increased in area. The result of these              50 percent since 2004. Declines
gains and losses yielded the net                    in freshwater forested wetland
change and it was possible to have                  area (633,100 acres or 256,300 ha)
losses or gains of particular wetland               negated area gains in freshwater
types that exceed the overall net                   emergent and shrub categories.
change for all wetlands.


4
  This estimate has been revised to reflect 2010
wetland status as well as the addition of wetland
area in the coastal zone of the Pacific coast for
WA, OR, and CA as described in the Sample
Design section of this report.




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Freshwater Emergent Marshes             The opposite was true for            Efforts to improve drainage of farm
The acreage of freshwater emergent      shrub wetlands as an estimated       fields as a result of economic and
marsh increased by an estimated         570,600 acres of emergent marsh      climatic conditions were factors that
1.0 percent between 2004 and            became shrub wetland. Natural        influenced the loss of freshwater
2009. There was a net gain of an        succession may account for some      marshes in agricultural areas.
estimated 267,800 acres (108,400 ha).   of this change, however, drier       Increased drainage in portions of
These gains resulted principally        conditions particularly in the       the upper Midwest attempted to
from wetland reestablishment or         southeastern United States likely    eliminate excess water from cropped
creation on upland agricultural         promoted shrub growth. Some          areas and renewed interest and
lands and lands of other                shrub growth in emergent wetlands    installation of subsurface drain tile
unspecified land use (primarily         also was the result of re-planting   as replacement of aging subsurface
idle or set-aside lands with no         pine saplings following clear-cuts   drainage systems effectively
discernible land use type). There       for silviculture. The interchange    drained some wetlands (Blann
were an estimated 367,000 acres         between freshwater emergent marsh    et al. 2009). Additionally, acres
(148,600 ha) of freshwater marsh        wetland and other wetland and        enrolled in agriculture conservation
gain from these two upland land         upland types is shown in Figure 41.  programs were reduced. Land
use categories and these findings                                            area in the Conservation Reserve
coincided with estimates that more      Losses of freshwater marsh also      Program (CRP) shrunk in 2007
than 59 percent of wetland gains        outdistanced gains in certain        and 2008 as farmers opted in
occurred on agricultural lands          portions of the country including    favor of planting crops to take
between 1997 and 2007 (USDA             the prairie pothole region States    advantage of high prices for corn
2010). Although freshwater marshes      of North Dakota, South Dakota,       and soybeans (Miller 2008). In 2007,
sustained some losses to urban and      Minnesota, and Iowa. Emergent        CRP acreage in North Dakota
rural development (collectively         wetland area also declined in        declined by 12.4 percent (North
17,200 acres or 7,000 ha) and           other Midwestern States including    Dakota Game and Fish Dept. 2008).
silviculture operations (28,500 acres   Nebraska, Kansas, Missouri,          Incentives for corn production as
or 11,500 ha), the increases noted      Indiana, Wisconsin, and Michigan.    part of biofuel programs (the vast
above resulted in a net gain in         Losses were observed in the Lower    majority of United States based
acreage. Some of the gains in           Mississippi Alluvial Plain States of ethanol is produced from corn) also
wetland emergents also came             Arkansas, Mississippi, and Louisiana encouraged agricultural producers
from areas previously classified        and the southeastern States of       to put additional acreage into row
as forested wetlands. If forested       North Carolina, South Carolina,      crop production.
wetlands were clear cut but the         Georgia, Florida, and Alabama.
hydrology remained, they were
reclassified as emergent wetland. An
estimated 421,000 acres of forested
wetland were changed to emergent
wetlands between 2004 and 2009.




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U.S. Fish & Wildlife Service

Bog Turtle
Clemmys muhlenbergii



You’ve heard the old phrase, “Good
things come in small packages.”
Consider America’s smallest turtle
– the federally listed threatened bog
turtle – which lives in small, sunny, wet
meadows. The northeast population
is limited to scattered locations in
Connecticut, Delaware, Maryland,
Massachusetts New Jersey, New York
and Pennsylvania.

Our Tiniest Turtle
The bog turtle measures just 3 to 4
inches, no bigger than the palm of your
hand, and can most easily be identified
by a mahogany-colored shell and
bright yellow-orange blotches located
on both sides of the head. Bog turtles
live in a mosaic of open, sunny, spring-




                                                                                                                                      USFWS
fed wetlands and scattered dry areas.
The variety of wet and dry places
meets all the basic bog turtle needs:       Bog turtle
basking, foraging, nesting, hibernating
and finding shelter. Sunny open areas       burrows, logs, mud or tree roots, where     roads. Draining, ditching and other
provide the warmth needed to regulate       they lie dormant through the winter; a      changes that alter the flow of water
the turtle’s body temperature and           dozen or more turtles may overwinter        ruin a wetland’s ability to function.
incubate its eggs. Soft muddy areas         together. A bog turtle may live 40 to       Development breaks up wetlands
allow turtles to escape, both from          50 years and spend its entire life in the   that are connected by small streams.
predators and extreme temperatures.         same wetland where it was born.             These connections serve as potential
Dry areas provide a place to nest.                                                      corridors for bog turtles to travel from
Springs and seeps that flow year-round      Grazing Cattle—Unlikely Friendship          one wetland to another. Fragmenting
ensure that bog turtles will not freeze     Historically, this tiny turtle made its     connected wetlands limits the bog
during the winter.                          living in the sunny, wet meadows that       turtle’s ability to find mates and new
                                            were maintained by fire, beavers and        habitat, and increases the amount of
Bog turtles are active from April           grazers like bison. But these have          edge – the line where open meadow
through October. In the spring, they        declined as the human population has        and surrounding forest meet – around
are busy basking, eating and mating.        grown, leading the habitat to dwindle.      the wetlands. Increased edge provides
Bog turtles eat worms, slugs, beetles,      The good news is that sunny, open           habitat for predators and increases the
snails, millipedes, seeds and carrion.      meadows make good pastureland for           likelihood of invasion by non-native and
During the summer months, bog               small farms. Grazing cattle have taken      non-wetland plants.
turtles build nests in sphagnum moss        on the role of fire, beavers and grazing
or on clumps of sedges above the            bison, and today help keep encroaching      Unscrupulous Predators
water level of the wetland. A female        trees and shrubs from taking over a         The bog turtle’s small size and
turtle lays from 1 to 6 eggs and leaves     wetland.                                    attractive markings make it a target of
them to incubate unattended for 6 to                                                    disreputable pet traders. Bog turtles,
8 weeks. The eggs hatch from late           Cutting Habitat into Pieces                 and all other wild animals, are not pets
August through September. Bog turtle        The greatest threats to the bog turtle      and will not thrive in captivity. It is
eggs and young are prey for mice,           are the loss and fragmentation of           illegal to search, collect or sell them. If
raccoons, skunks, foxes and birds.          its habitat. The places a bog turtle        you ever find a bog turtle, leave it in its
In October, bog turtles nestle into         needs are also attractive to people         place.
abandoned muskrat and meadow vole           for cropland, development and
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       Wood stork (Mycteria americana)
                       5-Year Review:
                    Summary and Evaluation




                   U.S. Fish and Wildlife Service
                          Southeast Region
             Jacksonville Ecological Services Field Office
                        Jacksonville, Florida
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                    the viability of the U.S. breeding population of wood storks may
                    no longer be as closely tied to the health of the Everglades for
                    reproduction as originally believed.

                    Wood storks use man-made wetlands for foraging and breeding
                    purposes. Man-made wetlands include, but are not limited to,
                    storm water treatment areas and ponds, golf course ponds, borrow
                    pits, reservoirs, roadside ditches, agricultural ditches, drainages,
                    flow-ways, mining and mine reclamation areas, and dredge spoil
                    sites. The impacts can be positive in certain scenarios as these
                    wetlands provide forage, protected nesting habitat, and may offset
                    some losses of natural wetlands caused by development. A
                    significant number of wood stork colonies are located where water
                    management practices can impact the nesting habitat negatively.
                    Colonies that are perpetually flooded will have no tree
                    regeneration. Draining surface waters of a colony’s wetland or
                    pond will prevent wood storks from nesting and lowered water
                    levels after nest initiation facilitates raccoon predation. Lowering
                    surface water or water table may occur through water control
                    structures, manipulating adjacent wetlands, or water withdrawals
                    from the local aquifer.

                    In summary, loss, fragmentation, and modification of wetland
                    habitats continue as threats to wood storks. However, the
                    significance of the threat cannot be quantified. Changes in local
                    habitat conditions are known to impact wood storks. However,
                    range-wide information on rates of loss, acquisition, protection,
                    restoration, conversion, fragmentation, and creation of wetlands of
                    value to wood storks is unavailable. Our subjective assessment is
                    that the overall threat to the species is reduced, not necessarily
                    because of habitat conservation programs, but rather due to
                    expansion in the range of the species. Historically, the core of the
                    wood stork breeding population was located in the Everglades of
                    South Florida. Populations there had diminished because of
                    deterioration of the habitat. But the breeding range has now almost
                    doubled in extent and shifted northward along the Atlantic coast as
                    far as southeastern North Carolina. So dependence of wood storks
                    on any specific wetland complex has been reduced. The improved
                    wood stork population statistics also suggest that wetland habitat is
                    not yet limiting the population, at least at the landscape level.
                    However, it is not known whether the current habitat base will
                    support a population at levels sufficient to prevent extinction in the
                    long term.

              b.    Overutilization for commercial, recreational, scientific, or
                    educational purposes:



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                                               DocumentRattlesnake
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   Technical Resources
                                            Massasauga Rattlesnake Conservation
      Conservation Planning
      Data, Maps, & Analysis
      Ecological Science
                                            Massasauga Rattlesnake
           Agronomy
           Biology                          Listing Status: Threatened (1998)
           Cultural Resources
           Invasive Species                                                     The massasauga rattlesnake, a relatively small and well-camouflaged
                                                                                rattlesnake, is very uncommon and rarely seen in Pennsylvania. It has been
           Manure Management
                                                                                listed as Threatened under the Endangered Species Act since 1998, because
           Nutrient Management                                                  of habitat loss and persecution by humans.
           Pest Management
           Threatened & Endangered                                                Massasauga rattlesnakes are closely linked to wetlands and the areas around
           Species                                                                  them, spending virtually all their time in wetlands and upland habitats near
                                                                                     them hunting rodents and other small prey. Many people fear or kill them
      Engineering                               simply because they are poisonous snakes, however, massasaugas are extremely secretive and rarely interact
                                                 with humans at all. In addition, they are surprisingly docile and the few recorded bites by massasaugas have
      Land Use
                                                never caused a fatality in Pennsylvania. Massasaugas prefer to avoid humans whenever possible, and if given
      State Technical Committee                                                                enough habitat and privacy, would rarely conflict with humans.

                                                                                                                Massasauga rattlesnake range map (in orange)


                                            Goals and Objectives for Massasauga Rattlesnakes


                                            NRCS activities to benefit massasauga rattlesnakes focus on the protection of
                                            existing wetlands, restoration of drained or manipulated wetlands, and
                                            enhancing the wildlife habitat of nearby areas.


                                            Through the Environmental Quality Incentives Program (EQIP), NRCS can
                                            provide financial assistance to assist private landowners with the sustainable
                                            management and improvement of their wetlands and wildlife habitat areas. Through Wetland Restoration
                                            Easements (WRE), NRCS can purchase conservation easements on wetlands of importance to massasauga
                                            rattlesnakes. Additional management and conservation practices are also available on those easement acres, as
                                            well. A wide variety of NRCS programs offer other wildlife-friendly practices, like riparian forested buffers,
                                            riparian herbaceous cover, and conservation plantings, which can all provide excellent habitat for massasauga
                                            rattlesnakes and the species associated with them.


                                            Undisturbed wetlands are vital to massasauga rattlesnakes, as well as, the wildlife habitat around them.




                                            Conservation Practices that Benefit Massasauga Rattlesnakes


                                            Wetland Restoration (657)


https://www.nrcs.usda.gov/wps/portal/nrcs/detail/pa/technical/ecoscience/threat/?cid=nrcseprd1289249                                                                   1/2
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                    Southwestern Willow Flycatcher
                      (Empidonax traillii extimus)

                            5-Year Review:
                         Summary and Evaluation




               Photo of southwestern willow flycatcher resting in willow
                         Photographer: Susan Sferra, USFWS



                      U.S. Fish and Wildlife Service
                       Arizona Ecological Services
                            Phoenix, Arizona



                                August 15, 2014


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        Habitat Loss and Modification
        The primary cause of the flycatcher’s decline is loss and modification of habitat.
        Its riparian nesting habitat tends to be uncommon, isolated, dispersed, and
        dynamic due to natural disturbance and regeneration events such as floods,
        drought, and to a lesser extent, fire. These habitat characteristics have been
        exacerbated over time through alteration of river function from land and water
        management actions. With increasing human populations and related agricultural
        and urban development, riparian areas have largely been modified, reduced, and
        destroyed by various mechanisms. In some instances, there have also been site-
        specific and temporal increases in riparian habitat. Overall, riparian ecosystems
        in the Southwest have declined from reductions in water flow and groundwater,
        interruptions in natural hydrological events and cycles, physical modifications to
        streams, direct removal of riparian vegetation, and an increase in fire events, due
        to water management and land use practices.

        Dams and Reservoirs
        Most of the larger and many of the minor southwestern streams that likely
        supported flycatcher habitat are now dammed. Operation of dams modifies,
        reduces, destroys, or (in some instances) increases riparian habitats both
        downstream and upstream of the dam site. Below dams, changing the amplitude,
        magnitude, frequency, duration, timing, and rate of change of hydrologic
        conditions strongly influences the structure and function of riparian ecosystems
        (Poff et al. 1997, pp. 269-274). As a result of the operation of dams, maximum
        and minimum flow events can both be altered; base flows can be increased or
        decreased; and flood flows are reduced in size and frequency. Below dams
        managed for downstream water supply, high flows are often reduced or shifted
        from that of the natural hydrograph. Daily water fluctuations can be very high
        below dams operated for hydroelectric power. The more or less annual cycle of
        base flow punctuated by short duration floods is frequently lost.

        In altering these downstream flows, dams inhibit the natural cycles of flood-
        induced sediment transport and deposition, floodplain hydration and flushing,
        groundwater aquifer replenishment, and timing of seed dispersal necessary for
        establishment and maintenance of native riparian habitats. Lack of flooding also
        allows a buildup of debris, resulting in less substrate available for seed
        germination and an increase in the frequency of fires. Because of the lack of
        flushing flood flows, natural levels of salt and other minerals are often artificially
        elevated in downstream alluvial soils. Changes in soil and water chemistry (as
        well as overall stream flow) can affect plant community makeup, often preventing
        native plants and trees from flourishing, but favoring more adaptable exotic
        vegetation, such as tamarisk.

        Immediately upstream of dam sites, riparian habitats are inundated by water
        within the conservation space of the reservoir. In some areas, the effect to
        riparian habitat and flycatchers is partially reduced by large fluctuations in lake
        size. Reservoir fluctuations can mimic the dynamics occurring along rivers,



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                                                                                                                             Tuesday,
                                                                                                                             February 10, 2009




                                                                                                                             Part II

                                                                                                                             Department of the
                                                                                                                             Interior
                                                                                                                             Fish and Wildlife Service

                                                                                                                             50 CFR Part 17
                                                                                                                             Endangered and Threatened Wildlife and
                                                                                                                             Plants; Determination of Endangered
                                                                                                                             Status for Reticulated Flatwoods
                                                                                                                             Salamander; Designation of Critical
                                                                                                                             Habitat for Frosted Flatwoods Salamander
                                                                                                                             and Reticulated Flatwoods Salamander;
                                                                                                                             Final Rule
erowe on PROD1PC63 with RULES_2




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                                       over the last 4 decades because of                      Threats to breeding sites include                      predict how long adults could persist in
                                       habitat degradation on lands currently                  alterations in hydrology, agricultural                 the landscape without a successful
                                       managed as pine plantations. In                         and urban development, road                            breeding event to replenish the
                                       addition, ponds surrounded by pine                      construction, incompatible silvicultural               population. However, Taylor et al.
                                       plantations and protected from the                      practices, shrub encroachment,                         (2005, pp. 792, 796) constructed a
                                       natural fire regime may become                          dumping in or filling of ponds,                        model, based on extensive population
                                       unsuitable as reticulated flatwoods                     conversion of wetlands to fish ponds,                  data available for the marbled
                                       salamander breeding sites due to canopy                 domestic animal grazing, soil                          salamander (Ambystoma opacum), to
                                       closure and the resultant reduction in                  disturbance, and fire suppression                      look at how many years of reproductive
                                       emergent herbaceous vegetation needed                   (Vickers et al. 1985, pp. 22–26; Palis                 failure would be required to result in
                                       for egg deposition and larval                           1997, p. 58; Ashton and Ashton 2005, p.                local extinction of pond-breeding
                                       development sites (Palis 1997, p. 62). In               72). Hydrological alterations, such as                 salamanders (with varying lifespans)
                                       addition, lack of fire within the pond                  those resulting from ditches created to                and found that even without total
                                       during periods of dry-down may result                   drain flatwoods sites or fire breaks and               reproductive failure, populations
                                       in chemical and physical (vegetative)                   plow lines, represent one of the most                  required moderate to high upland post-
                                       changes that are unsuitable for the                     serious threats to reticulated flatwoods               metamorphic survival to persist.
                                       salamander (Palis 1997, p. 62). Lack of                 salamander breeding sites. Lowered                     Catastrophic failure in this study
                                       fire in the ecotone may result in the                   water levels and shortened                             created fluctuations in the population,
                                       development of a thick shrub zone                       hydroperiods at these sites may prevent                raised the threshold of survival required
                                       making it physically difficult or                       successful flatwoods salamander                        to achieve persistence, and imposed the
                                       impossible for adult salamanders to                     recruitment because larval salamanders                 possibility of extinction even under
                                       enter the breeding ponds (Ripley and                    require 11 to 18 weeks to reach                        otherwise favorable environmental
                                       Printiss 2005, pp. 1–2, 11).                            metamorphosis and leave the ponds                      conditions. Reproductive failure was
                                          Land use conversions to urban                        (Palis 1995, p. 352).                                  closely tied to hydrologic conditions;
                                       development and agriculture eliminated                     Drought conditions exacerbate other                 insufficient or short hydroperiod was
                                       large areas of pine flatwoods in the past               threats and, although they represent a                 the primary cause for complete failure.
                                       (Schultz 1983, pp. 24–47; Stout and                     natural phenomenon, can lower the                      In addition, early filling of the ponds
                                       Marion 1993, pp. 422–429; Outcalt and                   resiliency of populations to withstand                 could also facilitate the establishment of
                                       Sheffield 1996, pp. 1–5; Outcalt 1997,                  other man-made threats. The U.S.                       invertebrate or vertebrate predators
                                       pp. 1–6). Urbanization and agriculture                  Geological Survey (USGS) has                           before hatching of the eggs (Taylor et al.
                                       have resulted in the loss of one                        documented multiple drought periods                    2005, p. 796).
                                       reticulated flatwoods salamander                        in the southeastern United States since                   Palis et al. (2006, p. 6–7) discussed
                                       population from each of the following                   the 1890s (USGS 2000, p. 1). Significant               the necessity of protecting clusters of
                                       counties: Mobile and Baldwin Counties,                  drought periods documented in the last                 flatwoods salamander breeding sites,
                                       Alabama; Escambia, Jackson, and                         three decades are: 1980–1982, 1984–                    especially those with different
                                       Washington Counties, Florida; and Early                 1989, 1998–2002, 2005–2008 (USGS                       hydrologic regimes, to guard against
                                       County, Georgia. Two known                              1991, p. 163; USGS 2000, p. 1; Seager                  population declines at any one breeding
                                       populations have been extirpated from                   et al. 2008, pp. 2, 22). Although a                    site resulting from random events, such
                                       Santa Rosa County, Florida. State forest                naturally occurring condition, drought                 as droughts (Palis 2006, p. 7). A cluster
                                       inventories completed between 1989                      presents additional complications for a                of breeding sites represents a
                                       and 1995 indicated that flatwoods losses                species, like reticulated flatwoods                    metapopulation, which is defined as
                                       through land use conversion were still                  salamander, which has been extirpated                  neighboring local populations close
                                       occurring (Outcalt 1997, pp. 3–6).                      from most of its historic range and for                enough to one another that dispersing
                                       Urbanization in the panhandle of                        which populations are represented by                   individuals could be exchanged (gene
                                       Florida and around major cities is                      single ponds. Palis et al. (2006, p. 5–6)              flow) at least once per generation.
                                       reducing the available pine forest                      conducted a study in Florida on a                      Currently, the only place where a
                                       habitat. Wear and Greis (2002, pp. 47,                  population of the closely related frosted              metapopulation exists for the reticulated
                                       92) identify conversion of forests to                   flatwoods salamander during a drought                  flatwoods salamander is on Eglin Air
                                       urban land uses as the most significant                 from 1999–2002. This study found three                 Force Base.
                                       threat to southern forests. They predict                consecutive years of reproductive                         Habitat fragmentation of the longleaf
                                       that the South could lose about 12                      failure and a steadily declining adult                 pine ecosystem resulting from habitat
                                       million ac (4.9 million ha) of pine forest              immigration to breed at the site as the                conversion threatens the survival of the
                                       habitat to urbanization between 1992                    drought progressed.                                    reticulated flatwoods salamander. Large
                                       and 2020. Several relatively recent                        Taylor et al. (2005, p. 792) noted that             tracts of intact longleaf pine flatwoods
                                       discoveries of previously unknown                       wide variation in reproductive success                 habitat are fragmented by pine
                                       reticulated flatwoods salamander                        is common among pond-breeding                          plantations, roads, and unsuitable
                                       breeding sites in Santa Rosa County,                    amphibians that depend on seasonal                     habitat. Most reticulated flatwoods
                                       Florida, have been made in conjunction                  filling of these areas, but that adult                 salamander populations are widely
                                       with wetland surveys associated with                    persistence may buffer against                         separated from each other by unsuitable
                                       development projects (Cooper 2008a).                    fluctuations in that success, particularly             habitat. This has been verified through
                                       No reticulated flatwoods salamanders                    for species that are long-lived. Although              recent reviews of aerial photography
                                       have been observed at these degraded                    Palis et al. (2006, p. 6) suggested that the           and site visits to localities of historical
                                       sites since completion of the projects                  flatwoods salamander may only live                     and current records for the species.
                                       (Cooper 2008a).                                         about 4 years (based on captive                        Studies have shown that the loss of
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                                          In addition to the loss of upland                    animals), we are currently unsure of the               fragmented populations is common, and
                                       forested habitat, the number and                        exact lifespan of wild individuals. Other              recolonization is critical for their
                                       diversity of small wetlands where                       sources have suggested 10 years may                    regional survival (Fahrig and Merriam
                                       reticulated flatwoods salamanders breed                 represent a maximum lifespan (Jensen                   1994, pp. 50–56; Burkey 1995, pp. 527–
                                       have been substantially reduced.                        2008). As a result, it is difficult to                 540). Amphibian populations may be


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Conservation Compliance and
U.S. Farm Policy

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Summary
The Food Security Act of 1985 (P.L. 99-198, 1985 farm bill) included a number of significant
agricultural conservation provisions designed to reduce farm production and conserve soil and
water resources. Many of the provisions remain in effect today, including the two compliance
provisions—highly erodible land conservation (sodbuster) and wetland conservation
(swampbuster). The two provisions, collectively referred to as conservation compliance, require
that in exchange for certain U.S. Department of Agriculture (USDA) program benefits, a producer
agrees to maintain a minimum level of conservation on highly erodible land and not to convert
wetlands to crop production.
Conservation compliance affects most USDA benefits administered by the Farm Service Agency
(FSA) and the Natural Resources Conservation Service (NRCS). These benefits can include
commodity support payments, disaster payments, farm loans, and conservation program
payments, to name a few. If a producer is found to be in violation of conservation compliance,
then a number of penalties could be enforced. These penalties range from temporary exemptions
that allow the producer time to correct the violation, to a determination that the producer is
ineligible for any USDA farm payment and must pay back current and prior years’ benefits.
A controversial issue in the 2014 farm bill (P.L. 113-79) debate was whether federal crop
insurance subsidies should be included on the list of program benefits that could be lost if a
producer were found to be out of compliance with conservation requirements on highly erodible
land and wetlands. Ultimately the 2014 farm bill did add federal crop insurance subsidies to the
list of benefits that could be lost, but created separate considerations when addressing compliance
violations and the loss of federal crop insurance premium subsidies compared with the loss of
other farm program benefits. How compliance is calculated, where compliance provisions apply,
and traditional exemptions and variances were not amended. The 2014 farm bill also extended
limited protection for native sod in select states.
The levels of interest and debate generated by the changes to conservation compliance in the
2014 farm bill are likely to continue with implementation, raising additional questions and
oversight in Congress. Recent concerns about a growing backlog of wetland determinations in the
Northern Plains and approaching compliance deadlines for crop insurance policyholders have
been raised. Additionally, the reduction in soil erosion from highly erodible land conservation
continues, but at a slower pace than following the enactment of the 1985 farm bill. The leveling
off of erosion reductions leaves broad policy questions related to conservation compliance,
including whether an acceptable level of soil erosion on cropland has been achieved; whether
additional reductions could be achieved, and, if so, at what cost; and how federal farm policy
could encourage additional reductions in erosion.




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mitigated wetland is required to replace one acre of wetland lost). This is allowed by statute if “more acreage is
needed to provide equivalent functions and values that will be lost as a result of the wetland conversion to be
mitigated.” The provisions remained unchanged in the 2014 farm bill. The conference report (H.Rept. 113-333),
however, included language encouraging USDA to use a wetland mitigation ratio not to exceed 1-to-1 acreage.
The 2014 farm bill also provided $10 million in mandatory funding for mitigation banking efforts. In August 2016,
NRCS awarded over $7 million for agricultural wetland mitigation bank projects through the Wetland Mitigation
Banking Program. NRCS received over 24 applications and funded 10 projects located in the Midwest and Northern
Great Plains states. Projects were selected based on the applicants’ experience with wetland mitigation banking and
geographic location to potential agricultural wetland conversion.9



Sodsaver
The 2014 farm bill amended and expanded the “sodsaver” provision, which reduces benefits for
crops planted on native sod. The provision applies only to native sod acres in Minnesota, Iowa,
North Dakota, South Dakota, Montana, and Nebraska.10 If a producer chooses to plant an
insurable crop on native sod, then crop insurance premium subsidies are reduced by 50
percentage points during the first four years of planting.11 Crops planted on native sod also will
have higher fees under the noninsured crop disaster assistance program (NAP)12 and reduced
yield guarantees.13 This provision is expected to reduce the federal incentive to produce on native
sod.

Affected Program Benefits
As it exists today, conservation compliance applies to most farm program payments, loans, or
other benefits administered by FSA and NRCS. Table 2 includes the statutory description and
examples of specific USDA program benefits that are affected if a producer is found to be out of
compliance with the highly erodible land and wetland conservation provisions.




9
  For additional information on the Wetland Mitigation Banking Program, see http://www.nrcs.usda.gov/wps/portal/
nrcs/detail/national/programs/farmbill/?cid=NRCSEPRD362686.
10
   Section 11014 of the crop insurance title (title XI). Sodsaver was originally authorized in the 2008 farm bill and only
applied to the Prairie Pothole National Priority Area. The provision was never activated and is discussed further in
Appendix.
11
   In 2016, an average of 63% of the total crop insurance premium is paid for by the federal government, and the
remainder by the participating farmer. Therefore, a 50 percentage point reduction would lower a premium subsidy rate
of 63% to 13%.
12
   For additional information on crop insurance and NAP, see CRS Report R40532, Federal Crop Insurance:
Background; CRS Report RS21212, Agricultural Disaster Assistance; or CRS Report R43494, Crop Insurance
Provisions in the 2014 Farm Bill (P.L. 113-79).
13
   The yield guarantee for a crop insurance policy is a producer’s “normal” crop yield based on actual production
history (APH). In the absence of actual yield data (e.g., production on native sod or no yield documentation on existing
fields), a “transition yield” (T-yield) is assigned, which is based on a portion of 10-year average county yields for the
crop. The 2014 farm bill sets the T-yield factor on native sod equal to 65% of the 10-year average county yield for
production on native sod. For other cropland, the percentage can be higher depending on the number of years of actual
data included in the APH. Also, “yield substitution” is not allowed; that is, low farm yields must be used in the APH
rather than replacing them with potentially higher T-yields as allowed for other cropland.




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words, if producers are found out of compliance on one portion of their land, they are deemed out
of compliance for all land owned or associated with them, regardless of where it is located.14

Implementation
Both NRCS and FSA implement conservation compliance as part of USDA farm programs. FSA
has primary responsibility for making producer eligibility determinations about conservation
compliance. NRCS has primary responsibility for technical determinations associated with
conservation compliance.
NRCS conducts compliance status reviews on farm and ranch lands that have received USDA
benefits and which are subject to the conservation compliance provisions (highly erodible land,
wetland compliance, or both). A compliance status review is an inspection of a cropland tract to
determine whether the USDA farm program beneficiary is in compliance with the conservation
compliance provisions (Table 3). NRCS selects a random sample of tracts for annual compliance
reviews from data supplied by FSA. Other tracts may be selected for review based on
recommendations from other USDA agencies, whistleblower complaints, observed potential
violations by NRCS, and tracts with prior year variances.15 The review process requires an NRCS
employee to make an on-site determination when a violation is suspected, and ensures that only
qualified NRCS employees report violations. Ultimately, penalties for noncompliance are
determined by FSA. Penalties may range from a good faith exemption that allows producers up to
one year to correct the violation, to a determination that the producer is ineligible for any
government payment and must pay back current and prior years’ benefits.
               Table 3. Summary of Conservation Compliance Status Reviews
                                                       2010           2011           2012            2013           2014
Total Tracts Reviewed                                  18,704         22,210         24,309         23,627          22,127
Total Acres Reviewed (approx.)                       3.3 million    2.8 million    3.6 million    3.6 million     3.2 million
Tracts Out of Compliance                                344            530            744             680            606
     Wetland Conservation Violation Only                177            158            343             216            240
     Both Highly Erodible Land and Wetland              167            372            401             21              22
     Conservation Violations
Percentage Out of Compliance                            1.8%           2.4%           3.1%           2.9%            2.7%
Number of States Recording Non-Compliance                28             32             30             34              38
Variances or Exemptions Issued                          732            887           1,081           1,354          1,121

     Source: USDA, NRCS, complied by CRS.
     Note: Information for 2014 is the most recent available.


14
   One exception to this was created in the 2014 farm bill. If a tenant is considered ineligible for benefits under
conservation compliance and USDA determines that the tenant has made a good faith effort to comply with restoration
or mitigation requirements and the landowner continues to refuse to comply, then the denial of benefits may be limited
to the farm that is the basis of the ineligibility. The 2015 rule clarified that because federal crop insurance policies are
not constructed on a “farm” basis, tenant relief provisions will be achieved through a prorated reduction of premium
subsidies on all of a person’s policies and plans of insurance. Similarly, a landlord’s premium subsidy on all policies
and plans of insurance will be prorated in the same manner when a landlord is in violation because of the actions (or
inactions) of their tenant or sharecropper (7 C.F.R. 12.9).
15
   Additionally, compliance reviews are required at least once every three years on tracts owned or operated by USDA
employees who receive USDA payments. National Food Security Act Manual, 5 th edition, Part 518, Subpart A, §518.1
(A)(1)(viii), November 2010.




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 INFORMATION FOR USDA
 PARTICIPANTS Fact Sheet
How does a USDA participant meet their                         What if there is no existing NRCS issued
wetland compliance responsibilities?                           wetland inventory of my land?
Farmers that participate in USDA programs can achieve          USDA participants do not need prior approval from USDA
their wetland compliance responsibilities by taking these      to install drainage improvements. Participants can as-
actions:                                                       sume the risk that their drainage activities will not result in
• Indicate your intention to perform any drainage activi-      altering and converting a protected wetland area. If you
    ties that have not been previously evaluated by NRCS.      plan to install drainage improvements without a wetland
    This is done by completing the AD-1026 form.               determination you need to be aware that any drainage in a
• Self certify that you will comply with the USDA wet-         high risk area could result in altering a wetland and a sub-
    land protection requirements by not performing any         sequent violation of the USDA wetland conservation provi-
    additional drainage activity in protected wetland areas.   sions. High risk areas include any site without a previous
    This is done by signing the AD-1026 form.                  crop history and cropped areas that are consistently wet.
• Limit all drainage activity so that protected wetland        What happens if USDA determines that a
    areas are not adversely impacted by additional drain-      wetland violation has occurred on land where
    age activities.                                            I installed drainage?
Is USDA approval required before drainage                      When USDA identifies that a wetland violation has oc-
activities can be installed?                                   curred the person responsible for converting the wet-
No – the USDA wetland compliance provisions are not ad-        land is at risk to lose USDA benefits for their entire farm
ministered through an approval process. USDA does not          operation, dating back to the time when the wetland was
issue drainage permits. Wetland compliance is adminis-         altered. If the drainage activity which resulted in the wet-
tered through farmer self certification and does not require   land violation was unintentional the participant can request
USDA prior approval of proposed drainage activity. By          that FSA grant Good Faith. In order for FSA to approve
providing certified wetland determinations NRCS is proac-      Good Faith the person responsible for the wetland viola-
tively assisting farmers by indicating which specific areas    tion must agree to restore or mitigate the converted wet-
are wetlands that are protected from new or additional         land area. These actions will either restore or replace the
drainage activity.                                             wetland values that were altered through drainage. FSA
                                                               deals with requests for Good Faith on a site specific basis.
USDA has no authority to delay or shut down drainage ac-       How can a farmer find out which areas on their
tivity. Participating farmers are responsible to limit their   land USDA considers to be wetlands that need
drainage activities to insure protected wetland areas are      to be protected from additional drainage?
not adversely impacted.                                        USDA requires farmers to disclose their intention to con-
What happens if I install drainage prior to                    duct drainage improvements on the AD-1026 form. Farm-
receiving a certified wetland determination                    ers that indicate their proposed plans for new drainage will
and NRCS subsequently determines that a                        be receiving a certified wetland determination from NRCS.
protected wetland area has been altered?                       These certified determinations indicate the location of
If a USDA participant has taken the following actions          areas subject to protection through the USDA wetland
their risk of being found in violation with the wetland        compliance provisions. These determinations are issued
conservation provisions will be minimized;                     to farmers via certified mail and contain a full explanation
• Update your AD-1026 and disclose to USDA your                of the procedures for farmers to request agency reconsid-
    planned drainage activities.                               eration of any disputed wetland area.
• Use your existing USDA issued wetland inventory as           What is a certified (final) wetland determina-
    a guide and avoid drainage activities in any identified    tion?
    wetland area.                                              USDA has had wetland protection provisions since 1985.
• Avoid drainage activity in any area which is an              Initially, many NRCS offices provided farmers with wetland
    “obvious” wetland, regardless of whether the obvious       inventory maps indicating those wetland areas which re-
    wetland has been identified on your wetland inventory.     quired protection from new drainage activities. In the 1996
                                                               Farm Bill, Congress decided that the inventory maps, while
                                                               providing good information, were not completely accurate
                                                               and since then these inventory maps have been in the pro-
                                                               cess of being replaced by certified wetland determinations
5/2/2019                         Producers, enviros
                 Case 1:19-cv-02416-TSC             keep close eye
                                                 Document          on Swampbuster
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    Farmers, enviros alarmed by USDA’s new
    wetlands rules
    01/23/19 6:30 AM
    By Steve Davies (/authors/2-steve-davies)
    KEYWORDS American Farm Bureau Federation (/keywords/344-american-farm-bureau-
    federation) Andrew Schmidt (/keywords/8372-andrew-schmidt) Ducks Unlimited
    (/keywords/8378-ducks-unlimited) Jan Goldman-Carter (/keywords/677-jan-goldman-carter) Jason
    Outlaw (/keywords/8370-jason-outlaw) Kellis Moss (/keywords/8377-kellis-moss) National Wildlife
    Federation (/keywords/8375-national-wildlife-federation) Natural Resources Conservation Service
    (/keywords/8374-natural-resources-conservation-service) NRCS (/keywords/8369-nrcs) Scott
    VanderWal (/keywords/8376-scott-vanderwal) Swampbuster (/keywords/8373-swampbuster)
    wetlands (/keywords/8371-wetlands)
    (http://www.facebook.com/sharer/sharer.php?u=https://www.agri-pulse.com/articles/11831-
    farmers-enviros-alarmed-by-usdas-new-wetlands-rules)
    (https://twitter.com/intent/tweet?url=https://www.agri-pulse.com/articles/11831-farmers-enviros-
    alarmed-by-usdas-new-wetlands-rules)
    (https://www.reddit.com/submit?url=https://www.agri-pulse.com/articles/11831-farmers-enviros-
    alarmed-by-usdas-new-wetlands-rules)
    (https://www.linkedin.com/cws/share?url=https://www.agri-pulse.com/articles/11831-farmers-
    enviros-alarmed-by-usdas-new-wetlands-rules)
    (/articles/print/11831-farmers-enviros-alarmed-by-usdas-new-wetlands-rules)




https://www.agri-pulse.com/articles/11831-farmers-enviros-alarmed-by-usdas-new-wetlands-rules                               1/7
    For its part,
5/2/2019      CaseNRCS says it isProducers,
                                 simply trying
                    1:19-cv-02416-TSC       enviros
                                                     to make 35-2everything
                                                    keep close eye
                                                 Document                      clearer
                                                                   on Swampbuster
                                                                          Filed   changes
                                                                                  06/18/21for  producers
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                                                                                                    Page       trying
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    out what’s on their lands.

    The Dec. 7 interim nal rule (https://www.regulations.gov/document?D=USDA_FRDOC_0001-1950),
    which asks for comments by Feb. 5, would allow determinations made between 1990-96 to be
    “certi ed” for purposes of determining those bene ts.

    But groups such as Ducks Unlimited and the National Wildlife Federation say the rule deviates from
    longstanding NRCS practice and would allow conversion of many wetlands to cropland.

    Their concern is the accuracy of maps developed before 1996. In 1997, NRCS itself said the agency
    “had made over 3 million wetland determinations using these maps and that 60 percent of these
    determinations were inaccurate,” according to an O ce of Inspector General report
    (https://www.usda.gov/oig/webdocs/10601-0003-31.pdf) issued in January 2017.

    The report started with a complaint from within NRCS that the agency had decided on its own in
    2013 to start certifying pre-1996 determinations to deal with a backlog of requests. The backlog
    resulted from farmers seeking to bring land into production a er commodity prices began to
    increase in 2009. NRCS o ces in Minnesota, Iowa and North Dakota implemented the new policy,
    but other states did not.

    “A er 1996 and the completion of many internal studies, NRCS policy was not to consider wetland
    determinations completed from 1990-96 certi ed unless the determination was appealed and
    upheld, a process which required eld visits and supporting documentation,” OIG said. “NRCS
    published many factsheets explaining wetland conservation compliance that stated that most
    wetland determinations completed prior to July 3, 1996, are not considered certi ed.”

    Congress has rejected attempts that would let NRCS use the pre-1996 determinations, Ducks
    Unlimited’s Director of Public Policy Kellis Moss and its Director of Agriculture Policy, Andrew
    Schmidt, say.

    They point out amendments to allow certi cation of the pre-1996 determinations failed in the 2014
    and 2018 farm bills.

    “In our opinion, congressional intent is pretty clear that the pre-96 wetlands maps are insu cient,”
    Moss says.

    And the National Wildlife Federation, in a July letter (https://agri-
    pulse.com/ext/resources/pdfs/s/Swampbuster-Interim-Final-Rule-Comment-Letter72718.pdf) that
    anticipated the now-issued interim nal rule, said Congress in the 1996 farm bill “intended . . . to
    require greater methodological rigor and substantive accuracy in wetlands certi cations in order to
    correct NRCS’s prior failure to accurately identify wetlands.”

    “We know that a lot of those pre-96 determinations missed a lot of wetlands,” says Jan Goldman-
    Carter, NWF senior director for wetlands and water resources.

    The OIG report said in 13 of 17 cases it examined in North Dakota, protection of wetland acreage was
    reduced by 75 percent. Accepting the pre-96 determinations succeeded in reducing the backlog
https://www.agri-pulse.com/articles/11831-farmers-enviros-alarmed-by-usdas-new-wetlands-rules                                       3/7
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Wetlands and
Conservation
Compliance
WHAT EVERY GEORGIA FARMER NEEDS TO KNOW



                           W           etland conservation has been an integral part of Georgia
                                       agriculture since the passage of the Food Security Act
                                       in 1985 (1985 Farm Bill). High rates of wetland conver-
                           sion and increased public awareness of the environmental beneﬁts
                           associated with wetlands prompted Congress to enact this legislation.

                           Historically, wetlands have largely been perceived as wasted space
                           and many acres of high quality wetlands have been converted to oth-
                           er uses considered to be more beneﬁcial at the time. A 1990 U.S. Fish
                           and Wildlife study estimates that less than 80 percent of Georgia’s
                           original wetlands still existed by the early 1980s.

                           Through the wetland conservation provisions of the 1985 Farm Bill,
                           and restoration efforts through other federal programs, Georgia con-
                           tinues to make progress in protecting and restoring wetlands in the
                           state.

                           This document is intended to give a brief overview of the wetland
                           conservation provisions of the 1985 Farm Bill, as amended; and per-
                           tains to USDA - Natural Resources Conservation Service (NRCS)
                           wetland determinations only. It is not intended to cover all possible
                           situations, but can be used as a quick reference to familiarize yourself
                           with USDA wetland compliance provisions.


              Natural Resources Conservation Service
                      Helping People Help the Land.
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    Exemptions to Swampbuster
                                                          Most wetlands, including “Artiﬁcial
            Provisions                                    Wetlands” and wetlands converted
                                                          for non-agricultural activities, fall un-
Several exemptions have been included in the wet-
                                                          der U.S. Army Corps of Engineers’ (US-
land conservation provisions. Consult with your
                                                          ACE) jurisdiction under Section 404 of
NRCS wetland specialist to determine if any apply
to your farm. A few that are commonly used are:           the Clean Water Act. Contact the US-
                                                          ACE before conducting any planned ac-
Prior Converted (PC):                                     tivities in or around potential wetlands.
Wetlands converted prior to December 23, 1985,
on which an agricultural commodity was produced
                                                                  Wetland Determinations
at least once prior to this date, and as of this date,   It is the landowner’s or program participant’s responsi-
did not support woody vegetation. No restrictions        bility to contact USDA if he or she plans to do any type
on use.                                                  of work in wet areas. Prior to starting any work, the
                                                         landowner should visit the local USDA Service Cen-
Artiﬁcial Wetlands (AW):                                 ter to review any existing wetland determinations and
Wetland areas created due to the activities of man.      ﬁll out an AD-1026 form at the Farm Service Agency
No restrictions on use.                                  (FSA) ofﬁce if a determination is needed.

Manipulated Wetlands (WX):                               Most wetland determinations completed prior to July
Wetlands that have been manipulated but not for          3, 1996, are not considered “certiﬁed”, and therefore
the purpose of, or making possible, the production       may not be valid for determining compliance with the
of an agricultural commodity.                            provisions.

Mitigation Exemption (MIW):                              NRCS will determine if a producer’s land has wetlands
Compensation through wetland restoration, en-            that are subject to the Swampbuster provisions.
hancement, or creation for wetland functions that        Depending on the circumstances, the agency may con-
are lost on a converted wetland. Mitigation areas        duct an off-site or an on-site determination.
are generally located on the same property as the
converted wetland and often require a greater ratio
of restored wetland to converted wetland acres.

             Other Provisions
Scope and Effect:
In some cases, drainage may be maintained as it
existed prior to December 23, 1985. No added
drainage may be achieved after this date.

Non-Agricultural Activities:
Swampbuster does not regulate non-agricultural
activities, such as road or home site construction.      If you disagree with the NRCS determination, you
                                                         will be provided the opportunity to appeal the deter-
                                                         mination before it becomes ﬁnal.
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Wetlands
 and
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Compliance
WHAT EVERY IOWA FARMER NEEDS TO KNOW




                             W
                                         etland Conservation has been an integral part of
                                         Iowa agriculture since the passage of the Food
                                         Security Act of 1985. High rates of wetland conversion
                             and increased national awareness of environmental benefits associated
                             with wetlands prompted congress to enact the legislation.

                             Historically, many acres of high quality wetlands have been perceived
                             as wasted space and were converted to other uses considered to be
                             more beneficial. It is estimated that by the early 1990s, only about
                             400,000 acres of Iowa’s original 4 to 6 million acres of wetlands still
                             existed. However, thanks to wetland-related programs, Iowa continues
                             to make progress in restoring its wetlands. The state’s landowners
                             have added more than 100,00 acres of wetlands in the past 15 years.

                             This document is intended to cover United States Department of
                             Agriculture (USDA), Natural Resources Conservation Service
                             (NRCS) wetland determinations only. It is not intended to cover all
                             possible situations, but can be used as a quick reference to familiarize
                             yourself with USDA wetland compliance provisions.



Helping People Help the Land.
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Variances And Exemptions To
Swampbuster Provisions                                         REMEMBER:
Numerous variances and exemptions are included in              All wetlands, including AWs and wetlands
the wetland conservation provisions. Work with your            converted for non-agricultural activities,
local NRCS office to determine if they apply to your           may fall under U.S. Army Corps of Engi-
farm.                                                          neers’ (COE) jurisdiction under Section
                                                               404 of the Clean Water Act. Contact the
Prior Converted (PC):                                          COE before conducting any planned ac-
A wetland converted to a non-wetland state prior to            tivities in or around potential wetlands.
December 23, 1985, on which an agricultural commodity
was produced at least once prior to this date, and as of
this date, did not support woody vegetation. No Farm
Bill restrictions on use.                                  Wetland Determinations
                                                           It is the landowner’s or program participant’s
Artificial Wetlands (AW):                                  responsibility to comply with the Swampbuster
Wetland areas created due to the activities of man. No     provisions. NRCS can assist you by completing a
restrictions on use.                                       wetland determination for your farm. You can request
                                                           a wetland determination at your local USDA service
Farmed Wetlands (FW):                                      center.
These cropland areas were manipulated and planted
prior to December 23, 1985, but still meet Farm Bill       NRCS will determine if a producer’s land contains wet-
wetland criteria. They can continue to be farmed as        lands that are subject to the provisions. NRCS employ-
long as no additional manipulation is conducted, such      ees have been trained to identify, deliniate and certify
as adding additional surface or subsurface drainage,       wetlands. These “certified” determinations stay in effect
and the area is not abandoned.                             as long as the land is used for agricultural purposes or
                                                           until the producer requests a review.
Minimal Effect:
May be granted when NRCS determines that the               If you disagree with NRCS’ determination, you will be
proposed wetland conversion activity or manipulation       provided the opportunity to appeal the determination
only minimally impacts wetland functions.                  before it becomes final.

Mitigation (Offsetting Losses):
Compensation through wetland restoration, enhance-
ment, or creation for wetland functions that are lost
on a converted wetland. Mitigation areas are generally
located on the same property as the converted wetland
and may require a greater ratio of restored wetland to
converted wetland acres. Plan must be implemented
within 12 months of NRCS approval.

Maintenance:
Drainage may be maintained as it was prior to Decem-
ber 23,1985. No improvement to drainage systems in
or near wetlands or to the mains into which they outlet
may be completed after this date.

Non-Agricultural Activities:
                                                           Frequently Asked Questions
Swampbuster does not regulate non-agricultural activi-     Is there a minimum wetland size exemption?
ties, such as road or home site construction.              No. If a site meets wetland criteria, regardless of its
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    size, it is subject to Swampbuster requirements.

                                                                 Can my planned flood protection levee be constructed
    Can I clear trees from a wetland area?
                                                                 across a wetland?
    Normal timber harvesting practices are generally not
                                                                 No. Placing fill material in a wetland may result in
    affected by Swampbuster if the site remains in timber
                                                                 ineligibility for USDA program benefits. In certain
    production and stumps remain above ground level.
                                                                 cases, variances such as mitigating the converted
    Land clearing on a wetland involving stump grinding
                                                                 wetland may be possible. Contact NRCS for the
    or stump removal making agricultural production
                                                                 necessary determinations and mitigation plan
    possible may result in ineligibility for USDA program
                                                                 development.
    benefits.

                                                                 When purchasing or renting a farm, what questions
    Can I install subsurface drain tile or surface drainage
                                                                 should be asked about wetlands?
    ditches on an existing crop field?
                                                                 Have certified wetland determinations been
    In most cases, drainage systems that existed prior
                                                                 completed? What types of wetlands are present and
    to December 23, 1985, can be maintained. Before
                                                                 what are the restrictions? Are there any
    installing or maintaining any drainage system, you
                                                                 wetland conversions that occurred on the property after
    should contact NRCS. Installing any drainage system
                                                                 December 23, 1985? If there are converted wetlands,
    in or adjacent to a regulated wetland may result in
                                                                 what options are available to resolve the situation?
    ineligibility for USDA program benefits. Note: Fields
    determined by NRCS to be PC cropland are exempt
                                                                 What types of wetlands could be present on my
    from wetland regulations. After confirming the PC
                                                                 property?
    determination, planned activities can be completed
                                                                 Wetlands occur in many different forms and on a wide
    without further delay, as long as adjacent wetland areas
                                                                 range of land uses. They commonly occur in wooded
    are unaffected.
                                                                 areas, pastures, hayfields, cropland, and odd areas
                                                                 around the farm. An example of a cropland wetland
    Are old creek channels wetlands?
                                                                 type is Farmed Wetlands (FW). These cropland areas
    In most cases, yes. Old creek channels (oxbow sloughs)
                                                                 were manipulated and planted prior to December 23,
    separated from the original stream usually meet wet-
                                                                 1985, but still meet wetland criteria of hydric soils,
    land criteria and are subject to wetlands regulations.
                                                                 hydrology and ability to grow hydrophytic plants. They
    If you plan to manipulate any old channel, you should
                                                                 can continue to be farmed as long as no additional
    contact NRCS to request a certified wetland determi-
                                                                 manipulation is conducted, such as adding additional
    nation.
                                                                 surface or subsurface drainage, and the area is not
                                                                 abandoned. NRCS can assist you to determine what
                                                                 wetland determinations have been completed on your
                                                                 property and if a certified wetland determination
                                                                 might be needed.




                                                                 How to Contact NRCS
                                                                 To get more information about wetlands, contact
                                                                 your local NRCS office. Look in the phone book under
                                                                 “U. S. Government, Department of Agriculture” or
                                                                 access the Iowa NRCS website at
USDA is an Equal Opportunity Employer and Provider.              www.ia.nrcs.usda.gov and click on “Contact Us.”

                                                                 Follow us on                             : IowaNRCS
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Wetlands
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                          W
                                     etland conservation has been an integral part of
                                     Wisconsin agriculture since the passage of the Food
                                     Security Act of 1985. High rates of wetland conversion
                          and increased national awareness of the environmental benefits
                          associated with wetlands prompted Congress to enact the legislation.

                          Historically, many acres of high quality wetlands had been perceived
                          as wasted space and were converted to other uses considered to be
                          more beneficial. It is estimated that by the early 1980s, only about
                          5.3 million acres of Wisconsin’s original 10 million acres still existed.
                          However, thanks to wetland-related programs, Wisconsin continues
                          to make progress in restoring its wetlands. The state is currently
                          restoring wetlands at a greater rate than loss is occurring.

                          This document is intended to cover United States Department of
                          Agriculture (USDA), Natural Resources Conservation Service
                          (NRCS) wetland determinations only. It is not intended to cover all
                          possible situations, but can be used as a quick reference to familiarize
                          yourself with USDA wetland compliance provisions.
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    Variances And Exemptions To
    Swampbuster Provisions
    Numerous variances and exemptions have been
    included in the wetland conservation provisions.
    Work with your local NRCS office to determine if
    they apply to your farm.

    Prior Converted (PC):
    A wetland converted prior to December 23,
    1985, on which an agricultural commodity was
    produced at least once prior to this date, and as of
    this date, did not support woody vegetation. No
    restrictions on use.

    Artificial Wetlands (AW):
    Wetland areas created due to the activities of man.
    No restrictions on use.

    Minimal Effect:
    May be granted when NRCS determines that
    the wetland conversion activity only minimally
    impacts wetland functions.                                 Wetland Determinations
                                                               It is the landowner’s or program participant’s
    Mitigation (Offsetting Losses):                            responsibility to contact USDA if he or she plans
    Compensation through wetland restoration,                  to do any type of work in wet areas. The best way is
    enhancement, or creation for wetland functions             to go to the local USDA Service Center to review
    that are lost on a converted wetland. Mitigation           any existing wetland determinations and fill out
    areas are generally located on the same property           an AD-1026 form at the Farm Service Agency
    as the converted wetland and often require a               (FSA) office if a new determination is needed.
    greater ratio of restored wetland to converted
    wetland acres. Plan must be implemented within             Most wetland determinations completed prior to
    12 months.                                                 July 3, 1996, are not considered “certified”, and
                                                               therefore are not valid for determining compliance
    Scope and Effect:                                          with the provisions.
    In some cases, drainage may be maintained as it
    existed prior to December 23, 1985. No added               NRCS will determine if a producer’s land has
    drainage may be achieved after this date.                  wetlands that are subject to the swampbuster
                                                               provisions. The agency maintains lists of soils
    Non-Agricultural Activities:                               and plants typically found in wetlands. Along
    Swampbuster does not regulate non-agricultural             with assessing the hydrology of the area, NRCS
    activities, such as road or home site construction.        uses this list to conduct wetland determinations.
                                                               These determinations stay in effect as long as the
    REMEMBER:                                                  land is used for agricultural purposes or until the
                                                               producer requests a review.

All wetlands, including AWs and wetlands converted             If you disagree with the NRCS determination, you
for non-agricultural activities, fall under U. S. Army         will be provided the opportunity to appeal the
Corps of Engineers’ (COE) jurisdiction under Section           determination before it becomes final.
404 of the Clean Water Act. Contact the COE and
WDNR before conducting any planned activities in or
around potential wetlands.
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                     FINDING OF NO SIGNIFICANT IMPACT
               FROM FINAL REGULATIONS IIVIPLEMENTATING THE
      HIGHLY ERODIBLE LAND CONSERVATION AND WETLAND CONSERVATION
          PROVISIONS OF THE FOOD SECURITY ACT OF 1985, AS AMENDED

The National Environmental Policy Act (NEPA) requires Federal agencies to prepare an Environmental
Impact Statement (EIS) for major Federal actions significantly affecting the quality of the human
environment. To determine whether the impact of a proposed federal action will be significant enough to
warrant an EIS, the agency may prepare an Environmental Assessment (EA). If, based on the EA, the
agency concludes that the proposed action will not significantly impact the environment, it issues a
Finding of No Significant Impact (FONSI) in lieu of an EIS.

In 2018, the Natural Resources Conservation Service (NRCS) prepared an EA assessing the
environmental effects of its promulgation of an interim rule revising the Highly Erodible Land
Conservation (HELC) and Wetland Conservation (WC) regulations at 7 CFR Part 12. The interim rule
made the following clarifying amendments to the regulations at 7 CFR Part 12:

    1. Precipitation data used in wetland determinations: The WC provisions define "wetland" in
       reference to normal circumstances, but wetlands are dynamic systems that can vary based on
       changing climatic conditions. NRCS uses a precipitation data set based on U.S. Climate Normals
       during the 1971-2000 period in reference to determining "normal circumstances." NRCS
       believes the use of this specific precipitation dataset ensures the consistency of determinations
       over time and represents normal climatic conditions at enactment of the 1985 Act, especially
       when evaluating the scope and effect of any drainage features that were installed prior to 1985.
       Previously, the regulation did not identify the use of any particular precipitation dataset.
       However, the 1971-2000 precipitation data set has been used by NRCS for nearly 20 years and
       in the interim rule, USDA identified that it is the data set used for determining normal climatic
       conditions.

   2. Definitions of pothole, playa, pocosin and other terms: Due to their residual function, unique
      hydrology criteria are applied to depressional wetlands identified as potholes, playas, and
      pocosins that were manipulated prior to 1985, though such wetland landforms were not defined
      in regulation. In the interim rule, USDA put into regulation the definitions that were established
      in policy in 1996, which provided increased consistency in their identification and greater
      transparency and predictability for the public.

       USDA also added definitions of the terms "best drained condition," "normal climatic
       conditions," and "wetland hydrology" to clarify how these terms have long been used in policy,
       training, and application; and revised the definition of "wetland determination" to clarify how
       hydrology indicators are used in assigning WC provision labels of Prior Converted Cropland,
       Farmed Wetland, and Farmed Wetland Pasture.

   3. Certification of wetland determinations: NRCS began making wetland determinations in
      1986, but the Food, Agriculture, Conservation, and Trade Act of 1990 (1990 Act) required
      NRCS to certify wetland determinations. The 1990 Act directs USDA to delineate wetlands on a
      map, provide notice to affected producers, certify each map as sufficient evidence to determine
      ineligibility, and provide producers an opportunity to appeal the mapped delineation prior to the
      certification becoming final. As stated in the 1990 Act's Conference Report, the certification
      proces-s was "to provide farmers with certainty as to which of their lands are to be considered
      wetlands" for purposes of the WC provisions. These 1990 Act requirements were incorporated
      into the April 23, 1991 version of 7 CFR Part 12. As required by The Federal Agriculture

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        Improvement and Reform Act of 1996 (1996 Act), certified wetland determinations remain valid
        and in effect as long as the land is in agricultural use or until the producer makes a valid request
        for review of the determination.

        The 1996 interim rule at §12.3 identified that "[a]ctions taken and determinations made prior to
        July 3, 1996, are subject to regulations set forth in this part as of July 2, 1996, except as
        otherwise provided in this part." While the 1996 interim rule in §12.30(c) specified that wetland
        determinations made after July 3, 1996 would be considered certified, it did not specifically
        identify the certification status of pre-July 3, 1996 wetland determinations. However, under the
        pre-July 3, 1996 version of the regulations, a wetland determination was certified if it was
        delineated on a map, notice was provided to the producer that such determination was sufficient
        for determining ineligibility, and the producer was given an opportunity to appeal the
        determination. In the interim rule, USDA updated the regulations to clarify that wetland
        determinations completed between November 28, 1990 and July 3, 1996 under the regulations in
        effect from April 23, 1991 through July 2, 1996 are certified if they meet the requirements for
        certification in the 1990 Act and associated regulation. This additional language in §12.30(c) is
        for clarification purposes and does not change the legal status of any wetland determination
        made between November 28, 1990 and July 3, 1996, nor does NRCS have discretion to change
        certified wetland determinations except under the limited circumstances identified in the current
        regulations. Thus, the clarifying language in the interim rule did not change in any way how
        NRCS administers the certified wetland determination portion of the WC provision, the
        regulatory basis for certified wetland determinations, nor how such determinations are certified
        as a matter of law.

    4. Simplification of hydrology criteria: Previous regulatory language provides hydrology criteria
       with reference to the "number of days" of inundation or soil saturation for the wetland types of
       farmed wetland, farmed wetland pasture, and prior converted cropland. The wetland scientific
       community has moved away from establishing any such "number of days" standard which
       cannot reasonably be applied over broad geographic regions. In the interim rule, USDA provided
       greater technical detail on the indicators used to determine if hydrology criteria are met when
       assigning WC provision labels for Prior Converted Cropland, Farmed Wetland, and Farmed
       Wetland Pasture. As documenting 'a certain number of days of inundation or saturation is a
       difficult and seldom-used practical standard, this change was not expected to affect the number
       or extent of wetlands identified as farmed wetlands and farmed wetland pasture.

    5. Wetland minimal effect exemption: The 1985 Act provides for an exemption for wetland
       conversions which have only a minimal effect on the functional hydrological and biological
       value of the wetland and other wetlands in the area. Previous regulatory language required the
       minimal effect determination be based upon a functional assessment made during an on-site
       evaluation, even for other wetlands in the area. This requirement was overly burdensome and on-
       site evaluations could not always be made on property not controlled by the subject person. The
       interim rule removed this requirement which better allows USDA to provide this statutory
       exemption to USDA program participants but was not expected to provide a substantially
       different decision than the previous language, as effective functional assessments can also be
       conducted remotely.

    6. Other minor technical corrections. Other minor technical corrections were made, such as
       adjusting the tense of hydrology terms in the definition of wetland determination at §12.2 and
       providing a more descriptive title to §12.31.

Based on the analysis in the EA, NRCS Chief, the responsible Federal official, determined there would

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not be a significant impact to the human environment from the interim rule and issued a FONSI. The
2018 EA, together with other assessments prepared for to analyze the impacts of implementing the
HELC and WC provisions in 1986, 1990, and 1996, are incorporated herein by reference.

NRCS reviewed public comment on the interim rule, including comment received on the EA, and
responded to all comment in the preamble of the final rule.

The final rule adopts the interim rule published on December 7, 2018 amending 7 CFR part 12 with few
changes: 1) minor changes to the definitions of farmed wetland and farmed-wetland pasture in §12.2 to
provide clarification to their hydrology criteria; 2) relocates an interim rule clarification in §12.30 that
wetland determinations may be made on a tract, field, or sub-field basis; 3) incorporates a non-
discretionary amendment from the Agricultural Improvement Act of 2018 that requires USDA to make a
reasonable effort to include the affected person in an on-site investigation made prior to a determination
of ineligibility; and 4) clarifies in §12.31 that consideration of best-drained conditions in NRCS' wetland
identification procedures requires the site did not support woody vegetation on December 23, 1985, such
that production of an agricultural commodity was possible.

NRCS considered the minor changes being made in the fmal rule and determined that they will not result
in substantially different environmental impacts from those described in the 2018 EA As detailed in the
final rule preamble, the changes to the defmition of non-playa, pocosin or pothole farmed wetlands are
simply to replace the use of hydrology indicators of inundation from the regional supplements to the U.S.
Army Corps of Engineers Wetlands Delineation Manual with indicators identified in the local NRCS
Field Office Technical Guide (FOTG). Because the local NRCS FOTG will still identify hydrology
indicators representing inundation, the slight change in the definition will not result in notable changes in
the determinations made by NRCS. The changes to the defmitions of fanned wetland and farmed-
wetland pasture including saturation requirements are consistent with long-standing NRCS practice that
these wetlands simply meet the wetland hydrology factor. The relocation of the clarification regarding
wetland determinations being made on a tract, field, or sub-field basis is entirely administrative in nature.
Similarly, the incorporation of the provision requiring the inclusion of the affected person in an on-site
investigation does not have the potential to have any environmental effect. Finally, the clarification to the
consideration of best-drained conditions is in keeping with the long-standing definition of prior-
converted cropland and fanned wetland, in that both have always required the absence of woody
vegetation on December 23, 1985.

As stated in 7 CFR §12.1(b), the purposes of the provisions are to remove certain incentives for persons
to produce agricultural commodities on highly erodible land or converted wetland and to thereby—
        (1) Reduce soil loss due to wind and water erosion;
        (2) Protect the Nation's long-term capability to produce food and fiber;
        (3) Reduce sedimentation and improve water quality; and
        (4) Assist in preserving the values, acreage, and functions of the Nation's wetlands.

The NRCS Chief, as the responsible Federal official, must make a finding on whether promulgation of
this final rule, as determined to be substantially similar to that described in Alternative B of the EA for
the interim rule, constitutes a major Federal action significantly affecting the quality of the human
environment such that an EIS should be prepared.

The EA accompanying the interim rule has provided the analysis needed to assess the significance of the
impacts of the proposed action. I have determined, for the reasons outlined below, that there will be no
significant individual or cumulative impacts on the quality of the human environment as a result of
implementing the BELC and WC provisions or the clarifications to the HELC and WC provisions made
by the fmal rule. Therefore, neither an EIS nor an additional EA is required.

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1. The final rule will not result in significant adverse effects on public health or safety. The
   application of the HELC and WC provisions is expected to discourage USDA program
   participants from converting sensitive lands to agricultural production which will tend to reduce
   soil loss from wind erosion that can result in airborne particulate matter and improve water
   quality.

2. NRCS has no evidence indicating there will be any significant adverse effects to historic or
   cultural resources, park lands, prime farmlands, wetlands, wild and scenic rivers, or ecologically
   critical areas from the final rule, particularly on a national basis. Implementation of the HELC
   and WC provisions has been shown to benefit soil and water resources, including wetlands. As
   cited in the interim rule EA, the 1991 National Resources Inventory (NRI) completed a wetlands
   survey that confirmed wetland conversions to agricultural commodity crop production had
   slowed compared to those occurring before the 1985 Farm Bill and noted that agricultural
   activities seemingly had less impact on wetland conversions than expected (Schnepf 2008). The
   EA also cites the 2010 NRI Summary Report (Sucik and Marks 2014) analysis of data showing
   the status and recent trends of wetlands in four regions of the U.S. The report documents
   wetland losses in the northeast and southeast, primarily resulting from urban development, not
   conversion to agriculture. Further, the central and western regions have experienced a gain in
   wetland acres, primarily on agricultural lands. hi addition, the U.S. Fish and Wildlife Service's
   Status and Trends of Wetlands in the Conterminous United States 2004 to 2009 Report to
   Congress showed a net gain of 100,020 acres of wetland in the agriculture land use category.

3. The effects of the HELC and WC provisions on the quality of the human environment are not
   controversial. The EA and the public comments received demonstrate that there is no substantial
   dispute as to the size, nature or effects of the interim rule, and therefore it is not highly
   controversial for purposes of NEPA. While there may be public opposition and controversy
   regarding HELC and WC provisions because they relate to wetlands and potential eligibility for
   USDA benefits, that public opposition does not rise to a controversy over the effects of the final
   rule, and does not affect the expected environmental effects of the rule. As stated above, NRI
   reports and other sources have consistently demonstrated the effectiveness of the HELC and WC
   provisions in reducing soil erosion and discouraging producers from converting wetlands to
   make production of agricultural commodities possible. These effects are widely recognized and
   are not controversial.

4. The effects of the final rule are not considered highly uncertain and do not involve unique or
   unknown risks. USDA was first authorized to implement the HELC and WC provisions by the
   Food Security Act of 1985 (1985 Act). As previously mentioned, NRI data collected in 1991
   showed the WC provisions slowed the conversion of wetlands to commodity crop production
   after the 1985 Act as intended by Congress. In addition, the NRI Summary Report from 2015
   shows soil erosion rates on cropland decreased 34 percent between 1982 and 2015. The final rule
   does not substantially change the procedures by which USDA identifies wetlands subject to the
   WC provisions according to long-standing internal agency policy; it merely clarifies and codifies
   those procedures in the regulations, therefore it will not result in a significant difference in the
   acreage of highly erodible land or wetlands subject to the HELC and WC provisions.

5. The final rule will not establish a precedent for future actions with significant adverse effects,
   nor does it represent a decision in principle about future considerations. The final rule makes
   minor changes to the interim rule's updates to the regulations to codify the wetland
   determination procedures used by NRCS and make minor administrative changes. Future
   updates to the regulations may result from changes Congress makes to the HELC and WC
   provisions or another decision by USDA that further clarifications are needed.

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    The final rule provides the public with transparency, provides certainty to USDA program
    participants, and improves the consistency of how the WC provisions are implemented by USDA
    in all 50 States, including the Caribbean and Pacific Island Areas. Publication of the interim rule
    provided comments to help USDA better explain the wetland identification procedures used by
    NRCS. The final rule is not expected to substantially change the extent of agricultural lands
    subject to the HELC and WC provisions over time, and will not have any significant direct,
    indirect, or cumulative impact on the environment, particularly when focusing on the significant
    adverse impacts that NEPA is intended to help decisionmakers avoid, minimize, or mitigate.

6. The final rule will not adversely affect districts, sites, highways, structures, or objects listed in or
   eligible for listing in the National Register of Historic Places or cause loss or destruction of
   significant scientific, cultural, or historical resources. Historic properties are not affected by
   USDA's implementation of the HELC and WC provisions. HELC and WC conservation is
   voluntary on the part of agricultural producers who wish to be eligible for USDA program
   benefits, and as such is not an undertaking with the potential to affect historic properties.

7. The final rule is not related to other actions with individually insignificant but cumulatively
   significant impacts. NRCS uses the procedures described in the rule to make technical
   determinations regarding the presence or absence of highly erodible land or wetlands subject to
   the HELC and WC provisions on lands owned or operated by producers participating in USDA
   programs and whether exemptions to the HELC and WC provisions apply. Much of the
   determination work is done in the office using remote sources of data. When on-site data
   collection is necessary, it is limited to pedestrian surveys of subject land to identify plants and
   indicators of hydrology and hydric soils. The only ground-disturbing activity associated with
   technical determinations is the taking of small soil samples from a few representative
   observation points using hand tools. Actions taken by producers subsequent to NRCS' technical
   determinations are not federal actions under the control of NRCS, as compliance with the HELC
   and WC provisions is voluntary and NRCS has no authority to either permit or prohibit
   producer's actions.

8. The final rule will have no effect on endangered or threatened species or critical habitat. Species
   and habitat protected under the Endangered Species Act are not affected by USDA's
   implementation of the HELC and WC provisions. Conservation compliance is voluntary on the
   part of agricultural producers who wish to be eligible for USDA program benefits, and as such is
   not a federal action with the potential to affect protected species or habitat. Further, as
   established by a memorandum (FWS/AES/DCHR/007178) dated April 2, 2001 from the U. S.
   Fish and Wildlife Service's Acting Deputy Director to the Regional Directors, "consultation
   under section 7(a)(2) of the Endangered Species Act is not required when the Natural Resources
   Conservation Service conducts official wetland determinations or delineations on private lands
   under the Food Security Act of 1985, as amended." The proposed action would indirectly, by
   continuing to discourage conversion of wetlands to commodity crop production, aid in the
   conservation of endangered and threatened species that use wetland habitats. Additionally, the
   interim and final rule are codifying long-standing policy and this codification does not alter the
   status quo. Thus, NRCS has determined that the rule would have no effect on any listed species.

9. The final rule does not threaten the violation of Federal, State, or local requirements imposed for
   protection of the environment. HELC and WC conservation is voluntary on the part of
   agricultural producers who wish to be eligible for USDA program benefits and no federal action
   results from an agricultural producer's decision to comply. Compliance with other Federal, State,
   or local requirements remains the responsibility of individual agricultural producers.

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